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                                                                                              8
                                                                                                                       UNITED STATES DISTRICT COURT
                                                                                              9
                                                                                                                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                             10

                                                                                             11   JUKIN MEDIA, INC., a California             CASE NO. 2:16-cv-6800
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                                  corporation,
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                                                    LOS ANG ELES, CA 900 67
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                                                                                                                            Plaintiff,        COMPLAINT FOR:
                                                                                             13
                                                                              310-229-9900




                                                                                                                       v.                     1) COPYRIGHT
                                                                                             14                                               INFRINGEMENT; AND
                                                                                                  QWORLDSTAR, INC., a California
                                                                                             15   corporation, d/b/a Worldstar, Worldstar     2) FEDERAL TRADEMARK
                                                                                                  Hip Hop, Worldstar Candy, and/or            INFRINGEMENT
                                                                                             16   Worldstar Agency; WORLDSTAR
                                                                                                  MANAGEMENT, LLC a California
                                                                                             17   limited liability company; and DOES 1       DEMAND FOR JURY TRIAL
                                                                                                  through 10,
                                                                                             18
                                                                                                                            Defendants.
                                                                                             19

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                                                                                                                                                                   COMPLAINT
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                                                                                              1            Plaintiff Jukin Media, Inc., for its complaint, alleges the following:
                                                                                              2                                      INTRODUCTION
                                                                                              3            1.    Jukin Media, Inc. (“Jukin”) is a digital media company headquartered
                                                                                              4   in Los Angeles, California. Jukin provides content and licensing resources for
                                                                                              5   internet video content and has a library of over 30,000 pieces of original user-
                                                                                              6   generated content. To build this library, Jukin employs fifteen people full time to
                                                                                              7   discover trending and valuable content. These employees devote their time to
                                                                                              8   identifying content that will be popular and valuable – determinations that depend
                                                                                              9   on their data analysis and experience in the digital media industry. Jukin then
                                                                                             10   commits its resources to finding the correct owner of the content and acquiring or
                                                                                             11   licensing it. Once Jukin and the owner enter into a deal, Jukin actively markets the
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                                                                                             12   video to increase its value to the benefit of the creator and Jukin.
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                                                                                             13            2.    Jukin provides private individuals a way to monetize their videos by
                                                                              310-229-9900




                                                                                             14   accessing a historically difficult-to-enter market for media content, and has become
                                                                                             15   a market leader in the discovery, acquisition, monetization, licensing, and
                                                                                             16   distribution of short-form viral video content. In fact, Jukin is consistently ranked
                                                                                             17   among the top watched media properties. Jukin offers a proprietary platform that
                                                                                             18   allows its partners access to its library for use in various commercial applications.
                                                                                             19   Jukin also offers curated video collections via its themed YouTube channels and
                                                                                             20   content-focused websites, and independently produces or co-produces content
                                                                                             21   displayed on broadcast television and other traditional means of media distribution.
                                                                                             22            3.    Jukin also employs a rights management team to actively mitigate the
                                                                                             23   effects of lost revenue to its video owners by seeking licenses or advertising
                                                                                             24   revenue monetization from infringing parties.
                                                                                             25            4.    Despite notice of Jukin’s proprietary rights, Defendants QWorldstar,
                                                                                             26   Inc. and Worldstar Management, LLC (“Defendants” or “Worldstar”) have and
                                                                                             27   continue to willfully infringe Jukin’s rights by copying Jukin’s videos without
                                                                                             28   permission or a license to do so.
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                                                                                              1                                       THE PARTIES
                                                                                              2            5.    Plaintiff Jukin Media, Inc. is a California corporation with its
                                                                                              3   principal place of business in Los Angeles, California.
                                                                                              4            6.    On information and belief, Defendant QWorldstar, Inc. is a California
                                                                                              5   corporation with its principal place of business at 1880 Century Park East, Suite
                                                                                              6   200, Los Angeles, CA 90067.
                                                                                              7            7.    On information and belief, Defendant Worldstar Management, LLC is
                                                                                              8   a California corporation with its principal place of business at 1880 Century Park
                                                                                              9   East, Suite 200, Los Angeles, CA 90067.
                                                                                             10            8.    Defendants operate websites at www.worldstarhiphop.com,
                                                                                             11   www.worldstaruncut.com, and www.worldstarcandy.com that display articles,
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                                                                                             12   photographs, and videos uploaded by Defendants’ staff. Defendants also display
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                                                                                             13   videos from their Facebook, Instagram and Twitter accounts (collectively referred
                                                                              310-229-9900




                                                                                             14   to herein as the “Worldstar Social Media Accounts”).
                                                                                             15            9.    Jukin is currently unaware of the identities of Defendants Does 1–10,
                                                                                             16   and therefore, sues such Defendants by such pseudonyms. Upon information and
                                                                                             17   belief, discovery will reveal the true identities of those Defendants and Jukin will
                                                                                             18   then amend this Complaint to identify those Defendants by name.
                                                                                             19            10.   Upon information and belief, there now exists, and at all relevant
                                                                                             20   times herein there existed, a unity of interest and ownership between and among
                                                                                             21   Defendants, such that any individuality and separateness between and among them
                                                                                             22   has ceased to exist, and Defendants, and each of them, are the alter egos of each
                                                                                             23   other. Upon information and belief, at all material times herein, each Defendant
                                                                                             24   was the agent, employee, partner, or representative of every other Defendant, and
                                                                                             25   each has the authority to bind the others in transactions with third parties. Upon
                                                                                             26   information and belief, each Defendant named herein committed acts and
                                                                                             27   omissions leading to Jukin’s damages, were acting in concert and active
                                                                                             28   participation with each other in committing the wrongful acts alleged herein, and in
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                                                                                              1   so doing acted within the scope and course of their agency with every other
                                                                                              2   Defendant named herein and each of them authorized, directed, accepted, ratified,
                                                                                              3   and approved of such actions.
                                                                                              4

                                                                                              5                              JURISDICTION AND VENUE
                                                                                              6            11.   This Complaint arises under the Copyright Act, 17 U.S.C. § 101 et
                                                                                              7   seq. and the Lanham Act, 15 U.S.C. §§ 1051 et seq. Accordingly, this Court has
                                                                                              8   subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338.
                                                                                              9            12.   Worldstar is subject to the personal jurisdiction of this Court because,
                                                                                             10   among other things, Worldstar is doing business in the state of California, and the
                                                                                             11   acts of infringement complained of in this Complaint took place in the state of
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                                                                                             12   California.
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                                                                                             13            13.   Venue is proper in this judicial district pursuant to 28 U.S.C. §
                                                                              310-229-9900




                                                                                             14   1391(b)(2) because a substantial part of the events that give rise to this Complaint
                                                                                             15   occurred in this judicial district and Worldstar resides in this judicial district.
                                                                                             16                               FACTUAL ALLEGATIONS
                                                                                             17            14.   Jukin invests in substantial research and analytical efforts to discover
                                                                                             18   short-form viral videos that it believes may be interesting to the public. Jukin’s
                                                                                             19   fifteen full time employees research and evaluate videos, on a case-by-case basis,
                                                                                             20   that are likely to be popular and valuable, i.e., have the potential to go viral. For
                                                                                             21   every 400 videos it reviews, only about 20 are considered for acquisition. Jukin
                                                                                             22   then either licenses or acquires the right to use the videos, or portions thereof, in
                                                                                             23   various commercial applications. Jukin often acquires these rights on an exclusive
                                                                                             24   basis. Jukin monetizes these videos through advertising revenue and by licensing
                                                                                             25   to various distribution channels for use in advertisements, entertainment
                                                                                             26   productions, news programs, and other productions desirous of short-form content.
                                                                                             27   For purposes of this Complaint, videos acquired or licensed by Jukin will be
                                                                                             28   referred to as the “Jukin Original Videos” or simply the “Original Videos.”
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                                                                                              1            15.   Jukin also monetizes the Original Videos via broadcast on Jukin’s
                                                                                              2   own branded YouTube channels, on several of its websites including
                                                                                              3   www.JukinVideo.com, and through other partners such as Verizon’s Go90
                                                                                              4   platform and The Huffington Post. Jukin may also re-publish certain videos in
                                                                                              5   order to increase their distribution. When Jukin republishes the Original Videos, it
                                                                                              6   typically does so almost immediately after acquiring the rights to these videos so
                                                                                              7   that it can expand the virality of the videos and increase its revenue generated
                                                                                              8   therefrom.
                                                                                              9            16.   Jukin’s in-house rights management team spends significant time
                                                                                             10   searching the internet for infringing copies of its Original Videos and identifying
                                                                                             11   persistent infringers. Once infringing content has been identified, the rights
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                                                                                             12   management team contacts the infringer and works diligently to try resolving the
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                                                                                             13   infringement through a licensing agreement.
                                                                              310-229-9900




                                                                                             14            17.   By acquiring the rights to these Original Videos in exchange for a
                                                                                             15   license fee or a share of net proceeds earned from the videos, Jukin provides a way
                                                                                             16   for individuals to maximize the potential of their videos in a manner that they
                                                                                             17   would not be able to otherwise do on their own. Individual video owners are
                                                                                             18   unlikely to have the full resources, knowledge, or contacts to fully monetize their
                                                                                             19   videos, increase views of their videos (from which increased revenue may be
                                                                                             20   derived), or enforce their rights against infringers like Defendants.
                                                                                             21                                         Worldstar
                                                                                             22            18.   Defendants operate a website known as Worldstarhiphop.com and
                                                                                             23   Worldstar Social Media Accounts.
                                                                                             24            19.   Worldstarhiphop.com operates as a content aggregation site, where its
                                                                                             25   editors upload videos, images, and news content. The bulk of the content featured
                                                                                             26   on Worldstarhiphop.com, and the Worldstar Social Media Accounts, consists of
                                                                                             27   video. The Worldstarhiphop.com site is accessible via the web, including
                                                                                             28   Facebook, Instagram, and Twitter, and other similar methods of distribution. With
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                                                                                              1   respect to the infringing videos on Worldstarhiphop.com, and the Worldstar Social
                                                                                              2   Media Accounts, each method of distribution constitutes a new and different
                                                                                              3   infringement of the same Jukin Original Video.
                                                                                              4            20.   Many of Worldstarhiphop.com’s videos, including its videos posted to
                                                                                              5   the Worldstar Social Media Accounts, are Jukin Original Videos.
                                                                                              6            21.   Defendants are solely responsible for selecting the videos to be posted
                                                                                              7   on Worldstarhiphop.com and the Worldstar Social Media Accounts. While
                                                                                              8   Defendants accept user generated video submissions, users cannot post videos to
                                                                                              9   Worldstarhiphop.com, and the Worldstar Social Media Accounts. See
                                                                                             10   http://www.worldstarhiphop.com/videos/vsubmit.php.
                                                                                             11            22.   Additionally, Defendants’ infringing videos sometimes contain the
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                                                                                             12   Jukin trademarks, watermarks and/or Jukin end credits. This is of significance for
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                                                                                             13   two reasons: (1) Defendants knew they were copying videos owned by Jukin; and
                                                                              310-229-9900




                                                                                             14   (2) Defendants were misleading viewers to believe there is an affiliation,
                                                                                             15   connection, or association or Defendants with Jukin, or as to the origin
                                                                                             16   sponsorship, or approval of Defendants’ websites and or videos by Jukin.
                                                                                             17            23.   Defendants have a pattern and practice of infringing Jukin’s videos.
                                                                                             18   Defendants’ pattern and practice is timed in many cases to capture the most value
                                                                                             19   from Jukin Original Videos due to the timely nature of the videos, and because the
                                                                                             20   most of the value generated from Jukin Original Videos occurs in the initial days
                                                                                             21   and weeks of the content’s virality when the videos are their most popular and
                                                                                             22   most in-demand by third parties.
                                                                                             23            24.   Beginning in January 2015, Jukin began to send take-down requests to
                                                                                             24   Defendants, which put Defendants on further notice of their infringing activity, and
                                                                                             25   requested Defendants remove the infringing videos from Worldstarhiphop.com.
                                                                                             26            25.   In October 2015, however, the volume of Defendants’ infringing
                                                                                             27   videos needing to be reported via the DMCA process became overwhelming, and
                                                                                             28   DMCA notices did not appear to hamper Defendants’ infringing activities.
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                                                                                              1   Furthermore, Defendants were still able to take advantage of and profit from its
                                                                                              2   infringement of a Jukin Original Video for the several days preceding their
                                                                                              3   processing of a DMCA take-down request. In many instances, Defendants were
                                                                                              4   taking advantage of the most valuable period of time since the first days and weeks
                                                                                              5   of a video’s posting is typically when it is most viewed.
                                                                                              6            26.   Sometime after Jukin notified Defendants of their infringements in
                                                                                              7   and August 18, 2016 letter, Defendants removed many of the infringing videos.
                                                                                              8   This removal does not compensate Jukin for the harm caused by past infringements
                                                                                              9   of the Jukin Original Videos, nor does it safeguard against new infringements. To
                                                                                             10   date, Defendants have continually uploaded new infringing videos to
                                                                                             11   Worldstarhiphop.com and the Worldstar Social Media Accounts despite Jukin’s
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                                                                                             12   frequent objections and notices of infringement.
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                                                                                             13            27.   Defendants infringed upon over 300 Original Videos.
                                                                              310-229-9900




                                                                                             14            28.   Defendants’ actions with respect to their infringements on
                                                                                             15   Worldstarhiphop.com and the Worldstar Social Media Accounts are not good-faith
                                                                                             16   misunderstandings of the source of the infringed content. The Jukin Original
                                                                                             17   Videos often include licensing information in the description of the video on
                                                                                             18   YouTube, e.g. “Jukin Media Verified (Original) *For licensing/ permission to use:
                                                                                             19   Contact: licensing@jukinmedia.com.” Jukin Original Videos often also contain a
                                                                                             20   Jukin trademark, Jukin watermark, and/or Jukin end credits.
                                                                                             21                                 Jukin’s Infringed Videos
                                                                                             22            29.   Defendants have a clear pattern and practice of copying Jukin’s
                                                                                             23   Original Videos, as detailed below. The videos listed below will collectively be
                                                                                             24   referred to herein as the “Infringing Videos”. As evidenced below, Defendants
                                                                                             25   often publish the Infringing Videos within days of Jukin’s publication of the Jukin
                                                                                             26   Original Videos.
                                                                                             27            30.   INFRINGEMENT #1: Jukin acquired the rights to “Amazing
                                                                                             28   octopus camoflage” on February 3, 2015, available at
                                                                                              1                                              6
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                                                                                              1   https://www.youtube.com/watch?v=l2UeR2pvoMA, and incorporated by reference
                                                                                              2   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                              3   obtained copyright registration number PA0001941541 for this video.
                                                                                              4            31.   On February 8, 2015, Defendants posted the video entitled “Scary
                                                                                              5   Surprise: Incredible Octopus Camouflage!” at
                                                                                              6   http://www.worldstarhiphop.com/videos/video.php?v=wshhPap3cPjMrg9jJLKJ
                                                                                              7   and incorporated by reference herein. “Scary Surprise: Incredible Octopus
                                                                                              8   Camouflage!” copies significant portions of the “Amazing octopus camoflage”
                                                                                              9   video.
                                                                                             10            32.   INFRINGEMENT #2: Jukin acquired the rights to “My truck has no
                                                                                             11   reverse. This is what I built so that I can back up if I have to” on February 6, 2015,
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                                                                                             12   available at https://www.youtube.com/watch?v=SjV0iO-6vK8, and incorporated
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                                                                                             13   by reference herein. Jukin subsequently republished this video on its own channel.
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                                                                                             14   Jukin also obtained copyright registration number PA 1-941-438 for this video.
                                                                                             15            33.   On February 6, 2015, Defendants posted the video entitled “Struggle
                                                                                             16   Life Hack: Quick Fix For An SUV With No Reverse!” at
                                                                                             17   http://www.worldstarhiphop.com/videos/video.php?v=wshhPap3cPjMrg9jJLKJ
                                                                                             18   and incorporated by reference herein. “Struggle Life Hack: Quick Fix For An SUV
                                                                                             19   With No Reverse!” copies significant portions of the “My truck has no reverse.
                                                                                             20   This is what I built so that I can back up if I have to” video. Upon information and
                                                                                             21   belief, Defendants did not obtain permission from the video creator to post the
                                                                                             22   video. Defendants never obtained permission from Jukin to post the video.
                                                                                             23            34.   INFRINGEMENT #3: Jukin acquired the rights to “Fat Lady Gets
                                                                                             24   Out of BMW” on February 9, 2015, available at
                                                                                             25   https://www.youtube.com/watch?v=GBoJlIYF2Z4, and incorporated by reference
                                                                                             26   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             27   obtained copyright registration number PA 1-941-434 for this video.
                                                                                             28            35.   On November 22, 2015, Defendants posted a video at the following
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                                                                                              1   link, incorporated by reference herein: https://www.instagram.com/p/-
                                                                                              2   Zi6KXhZp7/?taken-by=realwshh.
                                                                                              3            36.   On November 27, 2015, Defendants posted a video under the
                                                                                              4   following title and at the following link, incorporated by reference herein: “Vine
                                                                                              5   Comp Of The Week Part 141! ” at
                                                                                              6   http://www.worldstarhiphop.com/videos/video.php?v=wshhw42vY65H69PXr419.
                                                                                              7            37.   Defendants’ video, at both links, copies significant portions of the
                                                                                              8   “Fat Lady Gets Out of BMW” video.
                                                                                              9            38.   INFRINGEMENT #4: Jukin acquired the rights to “Physics Teacher
                                                                                             10   gets hit in the nuts” on April 3, 2015, available at
                                                                                             11   https://www.youtube.com/watch?v=FyDiH_JC68w, and incorporated by reference
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                                                                                             12   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                    LOS ANG ELES, CA 900 67
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                                                                                             13   obtained copyright registration number PA0001967924 for this video.
                                                                              310-229-9900




                                                                                             14            39.   On April 1, 2015, Defendants posted the video entitled “All Bad:
                                                                                             15   Physics Teacher’s Demonstration Ends In The Worst Possible Way!” at
                                                                                             16   http://www.worldstarhiphop.com/videos/video.php?v=wshhC33JdB0EZEc3P0D0
                                                                                             17   and incorporated by reference herein. “All Bad: Physics Teacher’s Demonstration
                                                                                             18   Ends In The Worst Possible Way!” copies significant portions of the “Physics
                                                                                             19   Teacher gets hit in the nuts” video. Upon information and belief, Defendants did
                                                                                             20   not obtain permission from the video creator to post the video prior to its
                                                                                             21   acquisition by Jukin. Defendants never obtained permission from Jukin to post the
                                                                                             22   video.
                                                                                             23            40.   INFRINGEMENT #5: Jukin acquired the rights to “When a
                                                                                             24   Silverback attacks” on April 16, 2015, available at
                                                                                             25   https://www.youtube.com/watch?v=KK67kaMWN-8, and incorporated by
                                                                                             26   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             27   Jukin also obtained copyright registration number PA0001967921 for this video.
                                                                                             28            41.   On April 17, 2015, Defendants posted a video under the following
                                                                                              1                                               8
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                                                                                               1   title and at the following link, incorporated by reference herein: “When Silverback
                                                                                               2   Gorillas Goes Apeshit!” at
                                                                                               3   http://www.worldstarhiphop.com/videos/video.php?v=wshh93KAyk000Z13392R.
                                                                                               4            42.   On April 24, 2015, Defendants posted a video at the following link,
                                                                                               5   incorporated by reference herein: “https://instagram.com/p/13lgjCBZtt/?taken-
                                                                                               6   by=realwshh.
                                                                                               7            43.   Defendants’ video, at both links, copies significant portions of the
                                                                                               8   “When a Silverback attacks” video.
                                                                                               9            44.   INFRINGEMENT #6: Jukin acquired the rights to “Homeless Guy
                                                                                              10   Spits Some Truth” on June 2, 2015, available at
                                                                                              11   https://www.youtube.com/watch?v=RfU8TUZRtZg, and incorporated by reference
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                                                                                              12   herein. Jukin subsequently republished this video on its own channel. Jukin also
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                                                                                              13   obtained copyright registration number PA0001956219 for this video.
                                                                              310-229-9900




                                                                                              14            45.   On June 1, 2015, Defendants posted the video entitled “Homeless
                                                                                              15   Man Spits Nothing But The Truth!” at
                                                                                              16   http://www.worldstarhiphop.com/videos/video.php?v=wshh2KoazvvLA3SwD3U9
                                                                                              17   and incorporated by reference herein. “Homeless Man Spits Nothing But The
                                                                                              18   Truth!” copies significant portions of the “Homeless Guy Spits Some Truth” video.
                                                                                              19   Upon information and belief, Defendants did not obtain permission from the video
                                                                                              20   creator to post the video prior to its acquisition by Jukin. Defendants never
                                                                                              21   obtained permission from Jukin to post the video.
                                                                                              22            46.   INFRINGEMENT #7: Jukin acquired the rights to “Boat toss fail”
                                                                                              23   on July 7, 2015, available at https://www.youtube.com/watch?v=bvhaerEsAd8,
                                                                                              24   and incorporated by reference herein. Jukin subsequently republished this video
                                                                                              25   on its own channel. Jukin also obtained copyright registration number
                                                                                              26   PA0001967902 for this video.
                                                                                              27            47.   On July 30, 2015, Defendants posted a video under the following title
                                                                                              28   and at the following link, incorporated by reference herein: “Vine Comp Of The
                                                                                               1                                               9
                                                                                                                                                                             COMPLAINT
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                                                                                               1   Week Part 125!” at
                                                                                               2   http://www.worldstarhiphop.com/videos/video.php?v=wshhj0aaiPDUjUw9Lc5I.
                                                                                               3            48.   On August 6, 2015, Defendants posted a video under the following
                                                                                               4   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                               5   The Week Part 125!” at
                                                                                               6   https://www.facebook.com/worldstarhiphop/videos/vb.253968658003230/8998825
                                                                                               7   16745171/?type=2&theater.
                                                                                               8            49.   Defendants’ video, at both links, copies significant portions of the
                                                                                               9   “Boat toss fail” video.
                                                                                              10            50.   INFRINGEMENT #8: Jukin acquired the rights to “Groomsman
                                                                                              11   Backflips Into Bridesmaid at Wedding” on July 21, 2015, available at
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   https://www.youtube.com/watch?v=fZShaaPRUNg, and incorporated by reference
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                              310-229-9900




                                                                                              14   obtained copyright registration number PA0001967901 for this video.
                                                                                              15            51.   On July 16, 2015, Defendants posted the video entitled “Too Turnt
                                                                                              16   Up: Groomsman Backflips And Knocks Out Bridesmaid!” at
                                                                                              17   http://www.worldstarhiphop.com/videos/video.php?v=wshh1k1H866Z2q6WF8DX
                                                                                              18   and incorporated by reference herein. “Too Turnt Up: Groomsman Backflips And
                                                                                              19   Knocks Out Bridesmaid!” copies significant portions of the “Groomsman
                                                                                              20   Backflips Into Bridesmaid at Wedding” video. Upon information and belief,
                                                                                              21   Defendants did not obtain permission from the video creator to post the video prior
                                                                                              22   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                              23   post the video.
                                                                                              24            52.   INFRINGEMENT #9: Jukin acquired the rights to “Truck Destroys
                                                                                              25   Highway Sign” on August 18, 2015, available at
                                                                                              26   https://www.youtube.com/watch?v=mmTMmuT7fdI, and incorporated by
                                                                                              27   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                              28   Jukin also obtained copyright registration number PA0001967897 for this video.
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                                                                                               1            53.   On August 19, 2015, Defendants posted a video under the following
                                                                                               2   title and at the following link, incorporated by reference herein: “Next Time
                                                                                               3   You’re Having A Bad Day, Just Remember It Could Be Worse!” at
                                                                                               4   https://www.facebook.com/worldstarhiphop/videos/vb.253968658003230/9124473
                                                                                               5   55488687/?type=2&theater.
                                                                                               6            54.   On August 20, 2015, Defendants posted a video under the following
                                                                                               7   title and at the following link, incorporated by reference herein: “When your day
                                                                                               8   goes from bad to worse” at https://instagram.com/p/6n1YrDhZsc/?taken-
                                                                                               9   by=realwshh.
                                                                                              10            55.   On August 21, 2015, Defendants posted a video under the following
                                                                                              11   title and at the following link, incorporated by reference herein: “Vine Comp Of
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   The Week Part 128!” at
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   http://www.worldstarhiphop.com/videos/video.php?v=wshh1OXeP2Yg15W9mpG
                                                                              310-229-9900




                                                                                              14   v.
                                                                                              15            56.   On August 24, 2015, Defendants posted a video under the following
                                                                                              16   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                              17   The Week Part 128!” on Facebook at
                                                                                              18   https://www.facebook.com/worldstarhiphop/videos/vb.253968658003230/9165131
                                                                                              19   41748775/?type=2&theater.
                                                                                              20            57.   Defendants’ video, at all four links, copy significant portions of the
                                                                                              21   “Truck Destroys Highway Sign” video.
                                                                                              22            58.   INFRINGEMENT #10: Jukin acquired the rights to “Motorcyclist
                                                                                              23   Grabs Feet” on the Freeway on November 16, 2015, available at
                                                                                              24   https://www.youtube.com/watch?v=bNKHcJocvSQ, and incorporated by reference
                                                                                              25   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              26   also filed an application for copyright registration with the United States Copyright
                                                                                              27   Office for this video, application case number 1-3916922464, and is awaiting
                                                                                              28   issuance of the registration.
                                                                                               1                                              11
                                                                                                                                                                              COMPLAINT
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                                                                                               1            59.   On November 20, 2015, Defendants posted a video entitled “Vine
                                                                                               2   Comp Of The Week Part 140!” at
                                                                                               3   http://www.worldstarhiphop.com/videos/video.php?v=wshhzLl73cSUrNBEjCRS
                                                                                               4   and incorporated by reference herein. “Vine Comp Of The Week Part 140!”
                                                                                               5   copies significant portions of the “Motorcyclist Grabs Feet on the Freeway” video.
                                                                                               6            60.   INFRINGEMENT #11: Jukin acquired the rights to “Gorilla Teaches
                                                                                               7   Toddler How To Use Her Middle Finger” on November 22, 2015, available at
                                                                                               8   https://www.youtube.com/watch?v=AW-C9XsAFUE and incorporated by
                                                                                               9   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                              10   Jukin has also filed an application for copyright registration with the United States
                                                                                              11   Copyright Office for this video, application case number 1-3916922429, and is
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   awaiting issuance of the registration.
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            61.   On November 26, 2015, Defendants posted a video entitled “Lol:
                                                                              310-229-9900




                                                                                              14   Gorilla Teaches a Little Girl How To Swear!” at
                                                                                              15   http://www.worldstarhiphop.com/videos/video.php?v=wshh2EpD3kih95c2y0NP
                                                                                              16   and incorporated by reference herein. “Lol: Gorilla Teaches a Little Girl How To
                                                                                              17   Swear!” copies significant portions of the “Gorilla Teaches Toddler How To Use
                                                                                              18   Her Middle Finger” video.
                                                                                              19            62.   INFRINGEMENT #12: Jukin acquired the rights to “How to
                                                                                              20   Properly Insert a Card into an ATM” on December 11, 2015, available at
                                                                                              21   https://www.youtube.com/watch?v=Mg_6rlje6Ao and incorporated by reference
                                                                                              22   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              23   also filed an application for copyright registration with the United States Copyright
                                                                                              24   Office for this video, application case number 1-3916922224, and is awaiting
                                                                                              25   issuance of the registration.
                                                                                              26            63.   On December 18, 2015, Defendants posted a video under the
                                                                                              27   following title and at the following link, incorporated by reference herein: “Vine
                                                                                              28   Comp Of The Week Part 144!” at
                                                                                               1                                            12
                                                                                                                                                                            COMPLAINT
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                                                                                               1   http://www.worldstarhiphop.com/videos/video.php?v=wshhVIRIZHw2XpQJzs77.
                                                                                               2            64.   On December 20, 2015, Defendants posted a video under the
                                                                                               3   following title and at the following link, incorporated by reference herein: “Vine
                                                                                               4   Comp Of The Week Part 144!” at
                                                                                               5   https://www.facebook.com/worldstarhiphop/videos/978692075530881.
                                                                                               6            65.   Defendants’ video, at both links, copies significant portions of the
                                                                                               7   “How to Properly Insert a Card into an ATM” video.
                                                                                               8            66.   INFRINGEMENT #13: Jukin acquired the rights to “Broken Urinal
                                                                                               9   Shoots out Water” on December 14, 2015, available at
                                                                                              10   https://www.youtube.com/watch?v=YzZS8CH2jYI and incorporated by reference
                                                                                              11   herein. Jukin subsequently republished this video on its own channel. Jukin has
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   also filed an application for copyright registration with the United States Copyright
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13   Office for this video, application case number 1-3916904149, and is awaiting
                                                                              310-229-9900




                                                                                              14   issuance of the registration.
                                                                                              15            67.   On December 18, 2015, Defendants posted a video under the
                                                                                              16   following title and at the following link, incorporated by reference herein: “Vine
                                                                                              17   Comp Of The Week Part 144!” at
                                                                                              18   http://www.worldstarhiphop.com/videos/video.php?v=wshhVIRIZHw2XpQJzs77.
                                                                                              19            68.   On December 20, 2015, Defendants posted a video under the
                                                                                              20   following title and at the following link, incorporated by reference herein: “Vine
                                                                                              21   Comp Of The Week Part 144!” at
                                                                                              22   https://www.facebook.com/worldstarhiphop/videos/978692075530881.
                                                                                              23            69.   Defendants’ video, at both links, copies significant portions of the
                                                                                              24   “Broken Urinal Shoots out Water” video.
                                                                                              25            70.   INFRINGEMENT #14: Jukin acquired the rights to “Lamborghini
                                                                                              26   Drives Through Flood” on January 14, 2016, available at
                                                                                              27   https://www.youtube.com/watch?v=DJM7AEUBmkk and incorporated by
                                                                                              28   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                               1                                              13
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                                                                                               1   Jukin has also filed an application for copyright registration with the United States
                                                                                               2   Copyright Office for this video, application case number 1-3916904014, and is
                                                                                               3   awaiting issuance of the registration.
                                                                                               4            71.   On January 7, 2016, Defendants posted a video under the following
                                                                                               5   title and at the following link, incorporated by reference herein: “Live
                                                                                               6   Dangerously: Guy Drives His Lambo Through Flooded Streets in San Diego!” at
                                                                                               7   http://www.worldstarhiphop.com/videos/video.php?v=wshh3IO2cr412h5ptIT6.
                                                                                               8            72.   On July 19, 2016, Defendants posted a video at the following link,
                                                                                               9   incorporated by reference herein: https://www.instagram.com/p/BIEMAYkAaKI.
                                                                                              10            73.   On July 22, 2016, Defendants posted a video under the following title
                                                                                              11   and at the following link, incorporated by reference herein: “v Of The Week Part
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   175!” at
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   http://www.worldstarhiphop.com/videos/video.php?v=wshhS4S605zGebgT6894.
                                                                              310-229-9900




                                                                                              14            74.   Defendants’ video, at all three links, copies significant portions of the
                                                                                              15   “Lamborghini Drives Through Flood” video. Upon information and belief,
                                                                                              16   Defendants did not obtain permission from the video creator to post the video prior
                                                                                              17   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                              18   post the video.
                                                                                              19            75.   INFRINGEMENT #15: Jukin acquired the rights to “Ex-Girlfriend
                                                                                              20   Nearly Runs over Man with Car” on January 13, 2016, available at
                                                                                              21   https://www.youtube.com/watch?v=XqxZldc-dSk, and incorporated by reference
                                                                                              22   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              23   also filed an application for copyright registration with the United States Copyright
                                                                                              24   Office for this video, application case number 1-3916903819, and is awaiting
                                                                                              25   issuance of the registration.
                                                                                              26            76.   On January 15, 2016, Defendants posted a video under the following
                                                                                              27   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                              28   The Week Part 148!” at
                                                                                               1                                               14
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                                                                                               1   http://www.worldstarhiphop.com/videos/video.php?v=wshhfQ9gWHVBt27h5Rs
                                                                                               2   W.
                                                                                               3            77.   On January 16, 2016, Defendants posted a video under the following
                                                                                               4   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                               5   The Week Part 148!” at
                                                                                               6   https://www.facebook.com/worldstarhiphop/videos/993274664072622.
                                                                                               7            78.   Defendants’ video, at both links, copies significant portions of the
                                                                                               8   “Ex-Girlfriend Nearly Runs over Man with Car” video.
                                                                                               9            79.   INFRINGEMENT #16: Jukin acquired the rights to “Kid Goes into
                                                                                              10   Statue Mode when in Trouble” on February 6, 2016, available at
                                                                                              11   https://www.youtube.com/watch?v=3StVVvBajRg, and incorporated by reference
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   also filed an application for copyright registration with the United States Copyright
                                                                              310-229-9900




                                                                                              14   Office for this video, application case number 1-3916872969, and is awaiting
                                                                                              15   issuance of the registration.
                                                                                              16            80.   On February 7, 2016, Defendants posted a video entitled “Lol: Kid
                                                                                              17   Goes Into ‘Statue Mode’ After Getting in Trouble!” at
                                                                                              18   http://www.worldstarhiphop.com/videos/video.php?v=wshhQ7CjaTg197AEYK3V
                                                                                              19   and incorporated by reference herein. “Lol: Kid Goes Into ‘Statue Mode’ After
                                                                                              20   Getting in Trouble!” copies significant portions of the “Kid Goes into Statue Mode
                                                                                              21   when in Trouble” video.
                                                                                              22            81.   INFRINGEMENT #17: Jukin acquired the rights to “Woman Pole
                                                                                              23   Dances with Baby” on January 20, 2016, available at
                                                                                              24   https://www.youtube.com/watch?v=snBYPuajEdE&feature=youtu.be, and
                                                                                              25   incorporated by reference herein. Jukin subsequently republished this video on its
                                                                                              26   own channel. Jukin has also filed an application for copyright registration with the
                                                                                              27   United States Copyright Office for this video, application case number 1-
                                                                                              28   3916872874, and is awaiting issuance of the registration.
                                                                                               1                                              15
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                                                                                               1            82.   On January 11, 2016, Defendants posted a video at the following link,
                                                                                               2   incorporated by reference herein: https://www.instagram.com/p/BAa7csVBZsc.
                                                                                               3            83.   On January 15, 2016, Defendants posted a video under the following
                                                                                               4   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                               5   The Week Part 148!” at
                                                                                               6   http://www.worldstarhiphop.com/videos/video.php?v=wshhfQ9gWHVBt27h5Rs
                                                                                               7   W.
                                                                                               8            84.   On January 16, 2016, Defendants posted a video under the following
                                                                                               9   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                              10   The Week Part 148!” at
                                                                                              11   https://www.facebook.com/worldstarhiphop/videos/993274664072622.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            85.   Defendants’ video, at all three links, copies significant portions of the
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   “Woman Pole Dances with Baby” video. Upon information and belief, Defendants
                                                                              310-229-9900




                                                                                              14   did not obtain permission from the video creator to post the video prior to its
                                                                                              15   acquisition by Jukin. Defendants never obtained permission from Jukin to post the
                                                                                              16   video.
                                                                                              17            86.   INFRINGEMENT #18: Jukin acquired the rights to “Girlfriend Gets
                                                                                              18   a Math Lesson” on March 27, 2016, available at
                                                                                              19   https://www.youtube.com/watch?v=4D1d8ipjblE, and incorporated by reference
                                                                                              20   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              21   also filed an application for copyright registration with the United States Copyright
                                                                                              22   Office for this video, application case number 1-3916872839, and is awaiting
                                                                                              23   issuance of the registration.
                                                                                              24            87.   On March 27, 2016, Defendants posted a video entitled “Lol: Dude
                                                                                              25   Stumps His Girlfriend With A Simple Math Question!” at
                                                                                              26   http://www.worldstarhiphop.com/videos/video.php?v=wshhuozyjgP4IL4qqvGd
                                                                                              27   and incorporated by reference herein. “Lol: Dude Stumps His Girlfriend With A
                                                                                              28   Simple Math Question!” copies significant portions of the “Girlfriend Gets a Math
                                                                                               1                                               16
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                                                                                               1   Lesson” video. Upon information and belief, Defendants did not obtain permission
                                                                                               2   from the video creator to post the video prior to its acquisition by Jukin.
                                                                                               3   Defendants never obtained permission from Jukin to post the video.
                                                                                               4            88.   INFRINGEMENT #19: Jukin acquired the rights to “Bird Pops Out
                                                                                               5   and Scares Friends” on March 28, 2016, available at
                                                                                               6   https://www.youtube.com/watch?v=YW_ukPH3juw, and incorporated by
                                                                                               7   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                               8   Jukin has also filed an application for copyright registration with the United States
                                                                                               9   Copyright Office for this video, application case number 1-3916872784, and is
                                                                                              10   awaiting issuance of the registration.
                                                                                              11            89.   On March 27, 2016, Defendants posted a video at the following link,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   incorporated by reference herein:
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   https://www.facebook.com/worldstarhiphop/videos/1039624559437632.
                                                                              310-229-9900




                                                                                              14            90.   On April 1, 2016, Defendants posted a video under the following title
                                                                                              15   and at the following link, incorporated by reference herein: “Vine Comp Of The
                                                                                              16   Week Part 159!” at
                                                                                              17   http://www.worldstarhiphop.com/videos/video.php?v=wshh0AW5WLxl9I8g9tI7.
                                                                                              18            91.   Defendants’ video, at both links, copies significant portions of the
                                                                                              19   “Bird Pops Out and Scares Friends” video. Upon information and belief,
                                                                                              20   Defendants did not obtain permission from the video creator to post the video prior
                                                                                              21   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                              22   post the video.
                                                                                              23            92.   INFRINGEMENT #20: Jukin acquired the rights to “Dropped
                                                                                              24   Barbell Rolls into and Shatters Window” on April 2, 2016, available at
                                                                                              25   https://www.youtube.com/watch?v=-98JPz5JReE, and incorporated by reference
                                                                                              26   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              27   also filed an application for copyright registration with the United States Copyright
                                                                                              28   Office for this video, application case number 1-3916872739, and is awaiting
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                                                                                               1   issuance of the registration.
                                                                                               2            93.   On April 7, 2016, Defendants posted a video at the following link,
                                                                                               3   incorporated by reference herein: https://www.instagram.com/p/BD5_TcxhZia.
                                                                                               4            94.   On April 8, 2016, Defendants posted a video under the following title
                                                                                               5   and at the following link, incorporated by reference herein: “Vine Comp Of The
                                                                                               6   Week Part 160!” at
                                                                                               7   http://www.worldstarhiphop.com/videos/video.php?v=wshhH545B2C2e6UOZD1
                                                                                               8   c.
                                                                                               9            95.   Defendants’ video, at both links, copies significant portions of the
                                                                                              10   “Dropped Barbell Rolls into and Shatters Window” video.
                                                                                              11            96.   INFRINGEMENT #21: Jukin acquired the rights to “Brothers
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   Convince Little Sister of Zombie Apocalypse” on April 11, 2016, available at
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   https://www.youtube.com/watch?v=-hVWEefD5ag and incorporated by reference
                                                                              310-229-9900




                                                                                              14   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              15   also filed an application for copyright registration with the United States Copyright
                                                                                              16   Office for this video, application case number 1-3916872644, and is awaiting
                                                                                              17   issuance of the registration.
                                                                                              18            97.   On April 12, 2016, Defendants posted a video entitled “Lol: Brothers
                                                                                              19   Convinced Their Sister That There Was A Zombie Apocalypse After She Had
                                                                                              20   Wisdom Teeth Surgery!” at
                                                                                              21   http://www.worldstarhiphop.com/videos/video.php?v=wshhN6Dx6ZnKMjTlxb8w
                                                                                              22   and incorporated by reference herein. “Lol: Brothers Convinced Their Sister That
                                                                                              23   There Was A Zombie Apocalypse After She Had Wisdom Teeth Surgery!” copies
                                                                                              24   significant portions of the “Brothers Convince Little Sister of Zombie Apocalypse”
                                                                                              25   video.
                                                                                              26            98.   INFRINGEMENT #22: Jukin acquired the rights to “Son Likes to
                                                                                              27   Scare Dad” on April 21, 2016, available at
                                                                                              28   https://www.youtube.com/watch?v=wCgGX6z_2yM and incorporated by
                                                                                               1                                              18
                                                                                                                                                                             COMPLAINT
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                                                                                               1   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                               2   Jukin has also filed an application for copyright registration with the United States
                                                                                               3   Copyright Office for this video, application case number 1-3916872439, and is
                                                                                               4   awaiting issuance of the registration.
                                                                                               5            99.   On April 21, 2016, Defendants posted a video entitled “Son Scares
                                                                                               6   His Father Over & Over Again!” at
                                                                                               7   http://www.worldstarhiphop.com/videos/video.php?v=wshh9fli6s16uDs2fTv3 and
                                                                                               8   incorporated by reference herein. “Son Scares His Father Over & Over Again!”
                                                                                               9   copies significant portions of the “Son Likes to Scare Dad” video. Upon
                                                                                              10   information and belief, Defendants did not obtain permission from the video
                                                                                              11   creator to post the video prior to its acquisition by Jukin. Defendants never
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   obtained permission from Jukin to post the video.
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            100. INFRINGEMENT #23: Jukin acquired the rights to “Little Girl
                                                                              310-229-9900




                                                                                              14   Argues with Dad over Future Boyfriend” on April 26, 2016, available at
                                                                                              15   https://www.youtube.com/watch?v=EkmGLBQX6Cg and incorporated by
                                                                                              16   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                              17   Jukin has also filed an application for copyright registration with the United States
                                                                                              18   Copyright Office for this video, application case number 1-3916872404, and is
                                                                                              19   awaiting issuance of the registration.
                                                                                              20            101. On April 29, 2016, Defendants posted a video entitled “Dad Gives
                                                                                              21   Hilarious Reasons Why His Daughter Can’t Have A Boyfriend!” at
                                                                                              22   http://www.worldstarhiphop.com/videos/video.php?v=wshhSfn3r4x4Ojy1ZeV7
                                                                                              23   and incorporated by reference herein. “Dad Gives Hilarious Reasons Why His
                                                                                              24   Daughter Can’t Have A Boyfriend!” copies significant portions of the “Little Girl
                                                                                              25   Argues with Dad over Future Boyfriend” video.
                                                                                              26            102. INFRINGEMENT #24: Jukin acquired the rights to “Raccoon Snaps
                                                                                              27   at Man” on April 26, 2016, available at
                                                                                              28   https://www.youtube.com/watch?v=Yl8CpkxyBmM and incorporated by reference
                                                                                               1                                             19
                                                                                                                                                                            COMPLAINT
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                                                                                               1   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                               2   also filed an application for copyright registration with the United States Copyright
                                                                                               3   Office for this video, application case number 1-3916872359, and is awaiting
                                                                                               4   issuance of the registration.
                                                                                               5            103. On April 29, 2016, Defendants posted a video entitled “Ouch: Man
                                                                                               6   Gets Bit By A Raccoon While Feeding It!” at
                                                                                               7   http://www.worldstarhiphop.com/videos/video.php?v=wshhtD5v7LV2f6Nbbdei
                                                                                               8   and incorporated by reference herein. “Ouch: Man Gets Bit By A Raccoon While
                                                                                               9   Feeding It!” copies significant portions of the “Raccoon Snaps at Man” video.
                                                                                              10            104. INFRINGEMENT #25: Jukin acquired the rights to “Guy Tries to
                                                                                              11   Front Flip off Swegway” on May 3, 2016, available at
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   https://www.youtube.com/watch?v=NmnB_llbbaY and incorporated by reference
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                              310-229-9900




                                                                                              14   also filed an application for copyright registration with the United States Copyright
                                                                                              15   Office for this video, application case number 1-3916872244, and is awaiting
                                                                                              16   issuance of the registration.
                                                                                              17            105. On May 6, 2016, Defendants posted a video entitled “Vine Comp Of
                                                                                              18   The Week Part 164!” at
                                                                                              19   http://www.worldstarhiphop.com/videos/video.php?v=wshhh09rs1jCoRL8bjEN
                                                                                              20   and incorporated by reference herein. “Vine Comp Of The Week Part 164!”
                                                                                              21   copies significant portions of the “Guy Tries to Front Flip off Swegway” video.
                                                                                              22            106. INFRINGEMENT #26: Jukin acquired the rights to “Pole Fitness
                                                                                              23   Dancer Falls on Head” on May 5, 2016, available at
                                                                                              24   https://www.youtube.com/watch?v=fydguquSIWg and incorporated by reference
                                                                                              25   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              26   also filed an application for copyright registration with the United States Copyright
                                                                                              27   Office for this video, application case number 1-3913838991, and is awaiting
                                                                                              28   issuance of the registration.
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                                                                                               1            107. On June 3, 2016, Defendants posted a video entitled “Vine Comp Of
                                                                                               2   The Week Part 168!” at
                                                                                               3   http://www.worldstarhiphop.com/videos/video.php?v=wshh6jT0kXWVsR1KSptM
                                                                                               4   and incorporated by reference herein. “Vine Comp Of The Week Part 168!”
                                                                                               5   copies significant portions of the “Pole Fitness Dancer Falls on Head” video.
                                                                                               6            108. INFRINGEMENT #27: Jukin acquired the rights to “Vape Tricks at
                                                                                               7   Work” on May 12, 2016, available at
                                                                                               8   https://www.youtube.com/watch?v=JBYpKbTDQ8M and incorporated by
                                                                                               9   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                              10   Jukin has also filed an application for copyright registration with the United States
                                                                                              11   Copyright Office for this video, application case number 1-3913838666, and is
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   awaiting issuance of the registration.
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            109. On May 11, 2016, Defendants posted a video entitled “They Call This
                                                                              310-229-9900




                                                                                              14   Guy The Vape Wizard!” at
                                                                                              15   http://www.worldstarhiphop.com/videos/video.php?v=wshhaw8XS8ZJuKleo90r
                                                                                              16   and incorporated by reference herein. “They Call This Guy The Vape Wizard!”
                                                                                              17   copies significant portions of the “Vape Tricks at Work” video. Upon information
                                                                                              18   and belief, Defendants did not obtain permission from the video creator to post the
                                                                                              19   video prior to its acquisition by Jukin. Defendants never obtained permission from
                                                                                              20   Jukin to post the video.
                                                                                              21            110. INFRINGEMENT #28: Jukin acquired the rights to “Drunk Guy
                                                                                              22   Drives onto Beach” on May 12, 2016, available at
                                                                                              23   https://www.youtube.com/watch?v=T2L08dzkg_g and incorporated by reference
                                                                                              24   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              25   also filed an application for copyright registration with the United States Copyright
                                                                                              26   Office for this video, application case number 1-3913838440, and is awaiting
                                                                                              27   issuance of the registration.
                                                                                              28            111. On May 12, 2016, Defendants posted a video under the following title
                                                                                               1                                            21
                                                                                                                                                                            COMPLAINT
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                                                                                               1   and at the following link, incorporated by reference herein: “Fail: Guy Tries To
                                                                                               2   Show Off Trying To Off-road On Water & Ruins His Jeep!” at
                                                                                               3   http://www.worldstarhiphop.com/videos/video.php?v=wshhno9A7C5aPfd6pr66.
                                                                                               4            112. On May 13, 2016, Defendants posted a video at the following link,
                                                                                               5   incorporated by reference herein: https://www.instagram.com/p/BFVokLgBZtH.
                                                                                               6            113. Defendants’ video, at both links, copies significant portions of the
                                                                                               7   “Drunk Guy Drives onto Beach” video. Upon information and belief, Defendants
                                                                                               8   did not obtain permission from the video creator to post the video prior to its
                                                                                               9   acquisition by Jukin. Defendants never obtained permission from Jukin to post the
                                                                                              10   video.
                                                                                              11            114. INFRINGEMENT #29: Jukin acquired the rights to “Snakes Eats
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   Eggs in Nest” on May 14, 2016, available at
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   https://www.youtube.com/watch?v=uzHwsW5EVvw and incorporated by
                                                                              310-229-9900




                                                                                              14   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                              15   Jukin has also filed an application for copyright registration with the United States
                                                                                              16   Copyright Office for this video, application case number 1-3913838375, and is
                                                                                              17   awaiting issuance of the registration.
                                                                                              18            115. On May 14, 2016, Defendants posted a video entitled “Damn, Nature:
                                                                                              19   Guy Puts A GoPro In A Bird Nest & Captures Some Crazy Footage!” at
                                                                                              20   http://www.worldstarhiphop.com/videos/video.php?v=wshh6BgM934QNXPoC6Z
                                                                                              21   0 and incorporated by reference herein. “Damn, Nature: Guy Puts A GoPro In A
                                                                                              22   Bird Nest & Captures Some Crazy Footage!” copies significant portions of the
                                                                                              23   “Snakes Eats Eggs in Nest” video. Upon information and belief, Defendants did
                                                                                              24   not obtain permission from the video creator to post the video prior to its
                                                                                              25   acquisition by Jukin. Defendants never obtained permission from Jukin to post the
                                                                                              26   video.
                                                                                              27            116. INFRINGEMENT #30: Jukin acquired the rights to “Woman Happy
                                                                                              28   to Wear Hairy Character Mask” on May 20, 2016, available at
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                                                                                                                                                                             COMPLAINT
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                                                                                               1   https://www.youtube.com/watch?v=MQFbTQzGnq4 and incorporated by
                                                                                               2   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                               3   Jukin has also filed an application for copyright registration with the United States
                                                                                               4   Copyright Office for this video, application case number 1-3913838300, and is
                                                                                               5   awaiting issuance of the registration.
                                                                                               6            117. On May 20, 2016, Defendants posted a video entitled “Woman
                                                                                               7   Laughs Uncontrollably After She Puts On A Talking Chewbacca Mask!” at
                                                                                               8   http://www.worldstarhiphop.com/videos/video.php?v=wshhGE4zp5RDXE0lfyP5
                                                                                               9   and incorporated by reference herein. “Woman Laughs Uncontrollably After She
                                                                                              10   Puts On A Talking Chewbacca Mask!” copies significant portions of the “Woman
                                                                                              11   Happy to Wear Hairy Character Mask” video. Upon information and belief,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   Defendants did not obtain permission from the video creator to post the video prior
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                              310-229-9900




                                                                                              14   post the video.
                                                                                              15            118. INFRINGEMENT #31: Jukin acquired the rights to “Guy Eats Shirt
                                                                                              16   after Losing Bet” on May 31, 2016, available at
                                                                                              17   https://www.youtube.com/watch?v=uErlwXY25Ms incorporated by reference
                                                                                              18   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              19   also filed an application for copyright registration with the United States Copyright
                                                                                              20   Office for this video, application case number 1-3913754135, and is awaiting
                                                                                              21   issuance of the registration.
                                                                                              22            119. On May 31, 2016, Defendants posted a video entitled “Kept His
                                                                                              23   Word: Cavs Fan Said He’d Eat His Shirt If The Warriors Won The Thunder
                                                                                              24   Series!” at
                                                                                              25   http://www.worldstarhiphop.com/videos/video.php?v=wshhKp6n4JFJrFx5G2Dy
                                                                                              26   and incorporated by reference herein. “Kept His Word: Cavs Fan Said He’d Eat
                                                                                              27   His Shirt If The Warriors Won The Thunder Series!” copies significant portions of
                                                                                              28   the “Guy Eats Shirt after Losing Bet” video. Upon information and belief,
                                                                                               1                                            23
                                                                                                                                                                            COMPLAINT
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                                                                                               1   Defendants did not obtain permission from the video creator to post the video prior
                                                                                               2   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                               3   post the video.
                                                                                               4            120. INFRINGEMENT #32: Jukin acquired the rights to “Girl Flips Off
                                                                                               5   Camera and Mom Gets Mad” on June 28, 2016, available at
                                                                                               6   https://www.youtube.com/watch?v=aGv3Y7nNwZE incorporated by reference
                                                                                               7   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                               8   also filed an application for copyright registration with the United States Copyright
                                                                                               9   Office for this video, application case number 1-3913754067, and is awaiting
                                                                                              10   issuance of the registration.
                                                                                              11            121. On June 24, 2016, Defendants posted a video entitled “Vine Comp Of
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                                                                                              12   The Week Part 171!” at
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   http://www.worldstarhiphop.com/videos/video.php?v=wshho1oEeW6r116C28X1
                                                                              310-229-9900




                                                                                              14   and incorporated by reference herein. “Vine Comp Of The Week Part 171!”
                                                                                              15   copies significant portions of the “Girl Flips Off Camera and Mom Gets Mad”
                                                                                              16   video. Upon information and belief, Defendants did not obtain permission from
                                                                                              17   the video creator to post the video prior to its acquisition by Jukin. Defendants
                                                                                              18   never obtained permission from Jukin to post the video.
                                                                                              19            122. INFRINGEMENT #33: Jukin acquired the rights to “Mother Rat
                                                                                              20   Saves Baby from Snake” on July 3, 2016, available at
                                                                                              21   https://www.youtube.com/watch?v=pG24RyFd2BI incorporated by reference
                                                                                              22   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              23   also filed an application for copyright registration with the United States Copyright
                                                                                              24   Office for this video, application case number 1-3913754002, and is awaiting
                                                                                              25   issuance of the registration.
                                                                                              26            123. On July 2, 2016, Defendants posted a video entitled “Rat Mom Saves
                                                                                              27   Baby Rat From Snake!” at
                                                                                              28   http://www.worldstarhiphop.com/videos/video.php?v=wshh0JQYfRtJ3n4b3dXv
                                                                                               1                                            24
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                                                                                               1   and incorporated by reference herein. “Rat Mom Saves Baby Rat From Snake!”
                                                                                               2   copies significant portions of the “Mother Rat Saves Baby from Snake” video.
                                                                                               3   Upon information and belief, Defendants did not obtain permission from the video
                                                                                               4   creator to post the video prior to its acquisition by Jukin. Defendants never
                                                                                               5   obtained permission from Jukin to post the video.
                                                                                               6            124. INFRINGEMENT #34: Jukin acquired the rights to “People
                                                                                               7   Stampede to Catch Pokemon in Central Park” on July 16, 2016, available at
                                                                                               8   https://www.youtube.com/watch?v=MLdWbwQJWI0 incorporated by reference
                                                                                               9   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              10   also filed an application for copyright registration with the United States Copyright
                                                                                              11   Office for this video, application case number 1-3913753867, and is awaiting
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   issuance of the registration.
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            125. On July 16, 2016, Defendants posted a video at the following links,
                                                                              310-229-9900




                                                                                              14   incorporated by reference herein:
                                                                                              15                     a. https://twitter.com/WORLDSTAR/status/75440008626884608
                                                                                              16                        0;
                                                                                              17                     b. https://www.instagram.com/p/BH7008agzYP.
                                                                                              18            126. Defendants’ video, at both links, copies significant portions of the
                                                                                              19   “People Stampede to Catch Pokemon in Central Park” video. Upon information
                                                                                              20   and belief, Defendants did not obtain permission from the video creator to post the
                                                                                              21   video prior to its acquisition by Jukin. Defendants never obtained permission from
                                                                                              22   Jukin to post the video.
                                                                                              23            127. INFRINGEMENT #35: Jukin acquired the rights to “Man Dances in
                                                                                              24   Alley for No Audience” on July 18, 2016, available at
                                                                                              25   https://www.youtube.com/watch?v=fJbomUpLia4 incorporated by reference
                                                                                              26   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              27   also filed an application for copyright registration with the United States Copyright
                                                                                              28   Office for this video, application case number 1-3899602109, and is awaiting
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                                                                                                                                                                             COMPLAINT
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                                                                                               1   issuance of the registration.
                                                                                               2            128. On July 18, 2016, Defendants posted a video entitled “Man Comes
                                                                                               3   Home To Find A Guy Jamming Out In His Driveway!” at
                                                                                               4   http://www.worldstarhiphop.com/videos/video.php?v=wshh543o1Ij11Qdd93p and
                                                                                               5   incorporated by reference herein. “Man Comes Home To Find A Guy Jamming
                                                                                               6   Out In His Driveway!” copies significant portions of the “Man Dances in Alley for
                                                                                               7   No Audience” video. Upon information and belief, Defendants did not obtain
                                                                                               8   permission from the video creator to post the video prior to its acquisition by Jukin.
                                                                                               9   Defendants never obtained permission from Jukin to post the video.
                                                                                              10            129. INFRINGEMENT #36: Jukin acquired the rights to “Skateboarder
                                                                                              11   Smashes Window of Expensive Car” on July 20, 2016, available at
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   https://www.youtube.com/watch?v=l7yt-VPYtOA incorporated by reference
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                              310-229-9900




                                                                                              14   also filed an application for copyright registration with the United States Copyright
                                                                                              15   Office for this video, application case number 1-3913626969, and is awaiting
                                                                                              16   issuance of the registration.
                                                                                              17            130. On July 20, 2016, Defendants posted a video entitled “Kid Smashes
                                                                                              18   The Windshield Of A $250K McLaren With His Skateboard!” at
                                                                                              19   http://www.worldstarhiphop.com/videos/video.php?v=wshh22vBdoGko45ykq52
                                                                                              20   and incorporated by reference herein. “Kid Smashes The Windshield Of A $250K
                                                                                              21   McLaren With His Skateboard!” copies significant portions of the “Skateboarder
                                                                                              22   Smashes Window of Expensive Car” video. Upon information and belief,
                                                                                              23   Defendants did not obtain permission from the video creator to post the video prior
                                                                                              24   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                              25   post the video.
                                                                                              26            131. INFRINGEMENT #37: Jukin acquired the rights to “Bears Breaks
                                                                                              27   into House” on July 31, 2016, available at
                                                                                              28   https://www.youtube.com/watch?v=_aFOt4I7SP8 incorporated by reference
                                                                                               1                                            26
                                                                                                                                                                            COMPLAINT
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                                                                                               1   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                               2   also filed an application for copyright registration with the United States Copyright
                                                                                               3   Office for this video, application case number 1-3956484032, and is awaiting
                                                                                               4   issuance of the registration.
                                                                                               5            132. On August 1, 2016, Defendants posted a video entitled “Scary Ish:
                                                                                               6   Man Wakes Up To Find A Bear Inside His House!” at
                                                                                               7   http://www.worldstarhiphop.com/videos/video.php?v=wshhgKsCxz7S8h7W4Z7R
                                                                                               8   and incorporated by reference herein. “Scary Ish: Man Wakes Up To Find A Bear
                                                                                               9   Inside His House!” copies significant portions of the “Bears Breaks into House”
                                                                                              10   video.
                                                                                              11            133. INFRINGEMENT #38: Jukin acquired the rights to “Teacher Dives
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   out of Window” on August 9, 2016, available at
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   https://www.youtube.com/watch?v=AbISpRkMayw incorporated by reference
                                                                              310-229-9900




                                                                                              14   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                              15   also filed an application for copyright registration with the United States Copyright
                                                                                              16   Office for this video, application case number 1-3916922659, and is awaiting
                                                                                              17   issuance of the registration.
                                                                                              18            134. On August 9, 2016, Defendants posted a video entitled “Teacher
                                                                                              19   Jumps Out Of A Window During Class!” at
                                                                                              20   http://www.worldstarhiphop.com/videos/video.php?v=wshh6hzmmeBQO79MJPt8
                                                                                              21   and incorporated by reference herein. “Teacher Jumps Out Of A Window During
                                                                                              22   Class!” copies significant portions of the “Teacher Dives out of Window” video.
                                                                                              23   Upon information and belief, Defendants did not obtain permission from the video
                                                                                              24   creator to post the video prior to its acquisition by Jukin. Defendants never
                                                                                              25   obtained permission from Jukin to post the video.
                                                                                              26            135. INFRINGEMENT #39: On February 24, 2015, Jukin published a
                                                                                              27   compilation on its own channel entitled “Ultimate Parkour Fails Compilation ||
                                                                                              28   FailArmy” available at https://www.youtube.com/watch?v=ZEs9zmF-Fwk and
                                                                                               1                                            27
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                                                                                               1   incorporated by reference herein. Jukin has also filed an application for copyright
                                                                                               2   registration with the United States Copyright Office for this video, application case
                                                                                               3   number 1-3972534172, and is awaiting issuance of the registration.
                                                                                               4            136. Jukin also owns U.S. Trademark Registration No. 4,604,845, a valid
                                                                                               5   and protectable federal trademark registration for FAILARMY for “Entertainment
                                                                                               6   services, namely, providing a web site featuring photographic, audio, video and
                                                                                               7   prose presentations featuring comedy.” Jukin’s FAILARMY trademark
                                                                                               8   prominently appears in its “Ultimate Parkour Fails Compilation || FailArmy” video.
                                                                                               9            137. On February 25, 2015, Defendants posted a video entitled “Ouchhh:
                                                                                              10   Ultimate Parkour Fails Compilation!” at
                                                                                              11   http://www.worldstarhiphop.com/videos/video.php?v=wshhpr7C64b8TjvyXF7j
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                                                                                              12   and incorporated by reference herein. “Ouchhh: Ultimate Parkour Fails
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   Compilation!” copies significant portions of the “Ultimate Parkour Fails
                                                                              310-229-9900




                                                                                              14   Compilation || FailArmy” video.
                                                                                              15            138. Defendants also reproduced Jukin’s FAILARMY trademark for use in
                                                                                              16   “Ouchhh: Ultimate Parkour Fails Compilation!” as shown in the following
                                                                                              17   comparison:
                                                                                              18

                                                                                              19   Ultimate Parkour Fails Compilation Ouchhh: Ultimate Parkour Fails
                                                                                              20   || FailArmy                               Compilation!
                                                                                              21

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                                                                                               2            139. Defendants’ use of an identical FAILARMY trademark, in connection
                                                                                               3   with an identical video, is likely to confuse consumers and make them believe
                                                                                               4   there is an affiliation, connection, or association, of Defendants with Jukin, or as to
                                                                                               5   the origin, sponsorship, or approval of Defendants’ websites and/or videos by
                                                                                               6   Jukin.
                                                                                               7            140. Defendants do not have any license, authorization, permission, or
                                                                                               8   consent from Jukin to use any of the Original Videos.
                                                                                               9            141. Defendants do not have any license, authorization, permission, or
                                                                                              10   consent from Jukin to use any of Jukin’s trademarks.
                                                                                              11            142. On information and belief, Defendants did not obtain any license,
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                                                                                              12   authorization, permission, or consent from the individual video creators to use the
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   Original Videos. Even if Defendants had obtained authorization from the
                                                                              310-229-9900




                                                                                              14   individual video creators, this authorization is invalid if it was obtained after Jukin
                                                                                              15   acquired the rights to the videos.
                                                                                              16            143. Defendants directly violated Jukin’s exclusive rights under the
                                                                                              17   Copyright Act.
                                                                                              18            144. Defendants enjoy no “safe harbor” protection under the DMCA
                                                                                              19   because upon information and belief (a) the transmission of the videos to
                                                                                              20   Worldstarhiphop.com and the Worldstar Social Media Accounts was initiated by or
                                                                                              21   at the direction of Defendants and/or Defendants’ agents and (b) the transmission
                                                                                              22   of the videos to Worldstarhiphop.com and the Worldstar Social Media Accounts is
                                                                                              23   carried out through Defendants’ or Defendants’ agents’ selection of the material.
                                                                                              24                                  Other Infringing Videos
                                                                                              25            145. In addition to Defendants’ infringement of the Original Videos
                                                                                              26   described above, Defendants also used the following Jukin Original Videos
                                                                                              27   without Jukin’s authorization. Upon information and belief, Defendants also did
                                                                                              28   not obtain permission from the video creator to post any of the videos prior to their
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                                                                                                                                                                             COMPLAINT
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                                                                                               1    acquisition by Jukin.
                                                                                               2             146. In each of the following cases, Defendants’ Infringing Videos copy a
                                                                                               3    significant portion or the entirety of the Original Video. Jukin reserves the right to
                                                                                               4    file copyright applications with respect to these videos and to amend this
                                                                                               5    Complaint to bring claims based on these videos.
                                                                                               6             JUKIN ORIGINAL VIDEO                  DEFENDANTS’ INFRINGING
                                                                                               7             AND ACQUISITION DATE                  VIDEO AND POST DATE
                                                                                               8   1.        “White Shirt Guy Falls Off Fence” “Vine Comp Of The Week Part 165!”
                                                                                               9             (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                              10             v=F_pXnd7Ln4A) – acquired             deos/video.php?v=wshh8vACgQnS9
                                                                                              11             Nov. 1, 2012                          5YxWa5y) – posted May 13, 2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   2.        “Baby Shark Bites Guy's               “Fail: Holding A Baby Shark Goes
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13             Shoulder”                             Wrong!”
                                                                              310-229-9900




                                                                                              14             (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                              15             v=7KODixXXnSQ) – acquired             deos/video.php?v=wshhM1dsMuhBT
                                                                                              16             Nov. 4, 2012                          9gidF36) – posted May 27, 2015
                                                                                              17   3.        “Puddle Jump Gone Wrong”              “Vine Comp Of The Week Part 151!”
                                                                                              18             (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                              19             v=0mVQ5fu6q8M) – acquired             deos/video.php?v=wshhVOvai6B1Ikj
                                                                                              20             Mar. 12, 2013                         er6mp) – posted Feb. 5, 2016
                                                                                              21   4.        “Guy Runs and Slides down             “Vine Comp Of The Week Part 122!”
                                                                                              22             Upwards Escalator”                    (http://www.worldstarhiphop.com/vi
                                                                                              23             (https://www.youtube.com/watch?       deos/video.php?v=wshhay3DWBLin
                                                                                              24             v=jK3OyXOMQYc) – acquired             Z7Q0pv9) – posted Jul. 10, 2015
                                                                                              25             Aug. 2, 2013
                                                                                              26   5.        “Man Falls Through Golf Shop          “Hey Ron”
                                                                                              27             Roof”                                 (https://www.instagram.com/p/-P-
                                                                                              28             (https://www.youtube.com/watch?       9pShZl4/?taken-by=realwshh) –
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                                                                                               1             v=vKdfnsXiO94) – acquired Jan.         posted Nov. 18, 2015
                                                                                               2             7, 2014
                                                                                               3   6.        “Little Girl Maestro Conducts          “If Young Metro Dont Trust You”
                                                                                               4             Choir”                                 (https://twitter.com/WORLDSTAR/st
                                                                                               5             (https://www.youtube.com/watch?        atus/703950589949042688) – posted
                                                                                               6             v=i7W3ICpONVs) – acquired              Feb. 28, 2016;
                                                                                               7             Mar. 6, 2014
                                                                                               8                                                    (https://www.instagram.com/p/BCV
                                                                                               9                                                    VdrsBZvi/) – posted Feb. 28, 2016
                                                                                              10   7.        “Drunk Woman Falls in Kebab            “Her ankles just said nah…”
                                                                                              11             Shop”                                  (https://www.instagram.com/p/BHbP
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12             (https://www.youtube.com/watch?        9pnAgU_) – posted Jul. 3, 2016
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13             v=JfUxxp0Cnjw) – acquired May
                                                                              310-229-9900




                                                                                              14             6, 2014
                                                                                              15   8.        “Bench Press Safety Bars Fail”         (https://www.instagram.com/p/BBps
                                                                                              16             (https://www.youtube.com/watch?        EFkhZsU) – posted Feb. 11, 2016;
                                                                                              17             v=y1zB-Bu6V44) – acquired Mar.
                                                                                              18             29, 2014                               “Vine Comp Of The Week Part 152!”
                                                                                              19                                                    (http://www.worldstarhiphop.com/vi
                                                                                              20                                                    deos/video.php?v=wshhPBk89aRzS6
                                                                                              21                                                    H2GhrP) – posted Feb. 12, 2016
                                                                                              22   9.        “Little Girl Freaks Out Getting Flu “LOL: Little Girls Reaction to
                                                                                              23             Shot”                                  Getting a Doctors Shot!”
                                                                                              24             (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                              25             v=MZIBz-9J1o4) – acquired Jul.         deos/video.php?v=wshh15QLwRc2J
                                                                                              26             16, 2014                               WqXcf9P) – posted Feb. 18, 2015
                                                                                              27   10.       “Shirtless Man Jumps on Cactus”        “Vine Comp Of The Week Part 142!”
                                                                                              28             (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                               1                                               31
                                                                                                                                                                               COMPLAINT
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                                                                                               1            v=PHSJCMkUa9Y) – acquired               deos/video.php?v=wshhk0Gm52617p
                                                                                               2            Feb. 18, 2013                           eH0820) – posted Dec. 4, 2015
                                                                                               3   11.      “Alzheimer's Patient Mom                (https://www.instagram.com/p/BBP8
                                                                                               4            Recognizes Her Daughter”                cZvhZrV) – posted Feb. 1, 2016
                                                                                               5            (https://www.youtube.com/watch?
                                                                                               6            v=IxDo0j6l2s8) – acquired Sept.
                                                                                               7            2, 2014
                                                                                               8   12.      “Bulldogs Use Teamwork to Get           “Vine Comp Of The Week Part 120!”
                                                                                               9            Tire Out of Pool”                       (http://www.worldstarhiphop.com/vi
                                                                                              10            (https://www.youtube.com/watch?         deos/video.php?v=wshh6yO5X57AD
                                                                                              11            v=4gqfl8Rr10Y) – acquired Sept.         XBo5IGA) – posted Jun. 25, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            2, 2014
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13   13.      “Shotgun Goes off inside House          “Vine Comp Of The Week Part 155!”
                                                                              310-229-9900




                                                                                              14            Accident”                               (http://www.worldstarhiphop.com/vi
                                                                                              15            (https://www.youtube.com/watch?         deos/video.php?v=wshhJN326MX08
                                                                                              16            v=rpeb4sqDu0k) – acquired Jun.          rpgVgKh) – posted Mar. 4, 2016
                                                                                              17            29, 2013
                                                                                              18   14.      “Student Puts Metal Compass in          “Vine Comp Of The Week Part 166!”
                                                                                              19            Light Socket”                           (http://www.worldstarhiphop.com/vi
                                                                                              20            (https://www.jukinmedia.com/lice        deos/video.php?v=wshh7Vsv5V1nkE
                                                                                              21            nsing/view/15099) – acquired Dec. TAR37v) – posted May 20, 2016;
                                                                                              22            5, 2014
                                                                                              23                                                    (https://www.instagram.com/p/BFxD
                                                                                              24                                                    UBpBZt0/) – posted May 23, 2016
                                                                                              25   15.      “Kid Makes People                       “Lol” How To Make People
                                                                                              26            Uncomfortable with Public Phone         Uncomfortable!”
                                                                                              27            Calls”                                  (http://www.worldstarhiphop.com/vi
                                                                                              28            (https://www.youtube.com/watch?         deos/video.php?v=wshh1PCa939b2F
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                                                                                               1            v=49p0snQwo0M) – acquired               OAJ41J) – posted Dec. 6, 2014
                                                                                               2            Dec. 7, 2014
                                                                                               3   16.      “The Grinch Steals Spotlight in         “School tomorrow”
                                                                                               4            Yoga Class”                             (https://instagram.com/p/6yj5iFhZhi/
                                                                                               5            (https://www.youtube.com/watch?         ?taken-by=realwshh) – posted Aug.
                                                                                               6            v=HsvyjePPFRs) – acquired Dec.          24, 2015
                                                                                               7            9, 2014
                                                                                               8   17.      “Megatron Street Performer Calls        “Megatron Goes In On A Chick
                                                                                               9            Out Selfie Seeker”                      Taking A Selfie!”
                                                                                              10            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              11            v=M5rpbCQlo6Q) – acquired Dec. deos/video.php?v=wshhbwERe3l3V
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            17, 2014                                UMiDhq3) – posted Dec. 16, 2014
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13   18.      “Woman Drives Police Boot off           “No F*cks Given: Woman Gets Her
                                                                              310-229-9900




                                                                                              14            Car at Bad Girls Club Audition”         BMW Booted At A Bad Girls Club
                                                                                              15            (https://www.youtube.com/watch?         Audition And Drives Off Anyway”
                                                                                              16            v=fC4uhOxHqk8) – acquired Dec. (http://www.worldstarhiphop.com/vi
                                                                                              17            21, 2014                                deos/video.php?v=wshhdaiZvdb51E
                                                                                              18                                                    A33F4c) – posted on or before April
                                                                                              19                                                    1, 2015.
                                                                                              20   19.      “Dad Reminds Daughter that She's “Good Parenting: Father Tells His
                                                                                              21            a Princess”                             Daughter How A Good Man Should
                                                                                              22            (https://www.youtube.com/watch?         Treat Her!”
                                                                                              23            v=lNpwinrIeYU) – acquired Jan.          (http://www.worldstarhiphop.com/vi
                                                                                              24            3, 2015                                 deos/video.php?v=wshhNAb7MmR0
                                                                                              25                                                    1e7f0tCt) – posted Dec. 29, 2014
                                                                                              26   20.      “Dog Gets Groomed in Hair               “Bruh: Dog Sits On Salon Chair Like
                                                                                              27            Salon”                                  A Human As Hairstylist Cuts His
                                                                                              28            (https://www.youtube.com/watch?         Hair!”
                                                                                               1                                               33
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                                                                                               1            v=dZE1IyNg75o) – acquired Jan.        (http://www.worldstarhiphop.com/vi
                                                                                               2            12, 2015                              deos/video.php?v=wshhZ9qBY70CR
                                                                                               3                                                  e58Yd34) – posted Jan. 12, 2015
                                                                                               4   21.      “Elephants on the Road in             “Hope Their Policies Cover This:
                                                                                               5            Thailand National Park”               Troll Elephant Sits On Cars In
                                                                                               6            (https://www.youtube.com/watch?       Traffic!”
                                                                                               7            v=GTmRfsob5z8) – acquired Jan.        (http://www.worldstarhiphop.com/vi
                                                                                               8            15, 2015                              deos/video.php?v=wshh01H89fa7ltlz
                                                                                               9                                                  026d) – posted Jan. 13, 2015
                                                                                              10   22.      “Squatter Steals Weight from          “Thug Life: No F*cks Given At the
                                                                                              11            Fellow Lifter”                        Gym!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            v=tZuIm8tdtzA) – acquired Jan.        deos/video.php?v=wshhd2G3Ct50Uh
                                                                              310-229-9900




                                                                                              14            19, 2015                              63Avpx) – posted Jan. 17, 2015
                                                                                              15   23.      “Guy Gets Stuck on Pole”              “Lol: Guy Stuck on Pole Trick!”
                                                                                              16            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                              17            v=sZC1Op7eKqg) – acquired Jan.        deos/video.php?v=wshh71rjEZd82zD
                                                                                              18            26, 2015                              1F9Qr) – posted Jan. 31, 2015
                                                                                              19   24.      “Guy Pops Champagne Bottle            “Who Needs A Bottle Opener When
                                                                                              20            with Butt”                            You Can Do This!”
                                                                                              21            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                              22            v=m1PnDWyAxRM) – acquired             deos/video.php?v=wshh1wfwvHaq2
                                                                                              23            Jan. 26, 2015                         wbM13EF) – posted Jan. 25, 2015
                                                                                              24   25.      “Overloaded Truck Topples Over” “Vine Comp Of The Week Part 108!”
                                                                                              25            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                              26            v=VHqHI4wHuQk) – acquired             deos/video.php?v=wshhnuG5kZpOH
                                                                                              27            Jan. 29, 2015                         k6j8N2I) – posted Mar. 24, 2015
                                                                                              28   26.      “Shopper Shows Security Guard         “No Shop Lifting On His Watch:
                                                                                               1                                             34
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                                                                                               1            Racially Profiling in Store”            Store Security Follows This Guy Into
                                                                                               2            (https://www.jukinmedia.com/lice        Every Single Isle!”
                                                                                               3            nsing/view/16032) – acquired Feb. (http://www.worldstarhiphop.com/vi
                                                                                               4            1, 2015                                 deos/video.php?v=wshhA4fFlPMF8x
                                                                                               5                                                    0kk97p) – posted Feb. 1, 2015
                                                                                               6   27.      “Man Plays Jenga with Mouse             “When Boredom Strikes: 2 Drunk
                                                                                               7            Trap, Loses”                            Men Playing Mousetrap Jenga!”
                                                                                               8            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                               9            v=EA5Z1761ImI) – acquired Feb.          deos/video.php?v=wshhSI5kn4x6Mp
                                                                                              10            2, 2015                                 uvf81k) – posted Feb. 1, 2015
                                                                                              11   28.      “Man and Young Boy Sucked into          “Crazy: Group of People Hanging
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            Drain”                                  Out In Shallow Water All Of A
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            (https://www.youtube.com/watch?         Sudden Get Sucked Underground!”
                                                                              310-229-9900




                                                                                              14            v=nTO5gD5th-0) – acquired Feb.          (http://www.worldstarhiphop.com/vi
                                                                                              15            5, 2015                                 deos/video.php?v=wshhoSb5GFVXx
                                                                                              16                                                    5fPFgh0) – posted Feb. 6, 2015
                                                                                              17   29.      “Cat Knocks Stuff off Table and         “Thug Life: This Cat Don’t Give A
                                                                                              18            Doesn't Care”                           F*ck!”
                                                                                              19            (https://www.jukinmedia.com/lice        (http://www.worldstarhiphop.com/vi
                                                                                              20            nsing/view/16268) – acquired Feb. deos/video.php?v=wshh0BOjRyT1Q
                                                                                              21            11, 2015                                Sky72K4) – posted Feb. 11, 2015
                                                                                              22   30.      “Man Gets Gun Pulled on Him on          “Black Man Records White Man
                                                                                              23            Neighborhood Street”                    Pulling A Gun On Him Because He
                                                                                              24            (https://www.youtube.com/watch?         Presumed He Was A Drug Dealer!”
                                                                                              25            v=9b1fa93clLI) – acquired Feb.          (http://www.worldstarhiphop.com/vi
                                                                                              26            14, 2015                                deos/video.php?v=wshhOS5y02z5IT
                                                                                              27                                                    d2r0nE) – posted Feb. 13, 2015
                                                                                              28   31.      “Ping Pong Player Throws Paddle         “growing up with siblings in 6
                                                                                               1                                               35
                                                                                                                                                                               COMPLAINT
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                                                                                               1            at Opponent”                            seconds” (https://instagram.com/p/7-
                                                                                               2            (https://www.youtube.com/watch?         m23kBZlp/?taken-by=realwshh) –
                                                                                               3            v=ApgrBSXnK5A) – acquired               posted Sept. 23, 2015
                                                                                               4            Feb. 17, 2015
                                                                                               5   32.      “Gymnastics Backbend Faceplant” “Vine Comp Of The Week Part 110!”
                                                                                               6            (https://www.jukinmedia.com/lice        (http://www.worldstarhiphop.com/vi
                                                                                               7            nsing/view/16359) – acquired Feb. deos/video.php?v=wshhS0N8A009X
                                                                                               8            17, 2015                                5f30nDI) – posted Apr. 9, 2015
                                                                                               9   33.      “Man Hangs onto Back of Car             “Parking Lot Altercation Quickly
                                                                                              10            after Fight”                            Escalates to Attempted Murder!”
                                                                                              11            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            v=W1D3SnPM3J0) – acquired               deos/video.php?v=wshh2i4Ul08w3O
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            Feb. 20, 2015                           S4tz4O) – posted Feb. 22, 2015;
                                                                              310-229-9900




                                                                                              14

                                                                                              15                                                    “Vine Comp Of The Week Part 137!”
                                                                                              16                                                    (http://www.worldstarhiphop.com/vi
                                                                                              17                                                    deos/video.php?v=wshhB7UnpqX4l9
                                                                                              18                                                    xE6255) – posted Oct. 23, 2015
                                                                                              19   34.      “Skateboard Jumps over Wall and         “Vine Comp Of The Week Part 114!”
                                                                                              20            Takes out Other Guy”                    (http://www.worldstarhiphop.com/vi
                                                                                              21            (https://www.youtube.com/watch?         deos/video.php?v=wshh0Ak5OSJL6
                                                                                              22            v=2N3zllI8USQ) – acquired Mar.          U47TYrR) – posted May 13, 2015
                                                                                              23            2, 2015
                                                                                              24   35.      “Dad Launches Kid from Airbed           “Vine Comp Of The Week Part 118!”
                                                                                              25            into Wall”                              (http://www.worldstarhiphop.com/vi
                                                                                              26            (https://www.youtube.com/watch?         deos/video.php?v=wshh8oulrc65s7ux
                                                                                              27            v=nM_WiiGqT74) – acquired               mR3q) – posted Jun. 10, 2015
                                                                                              28            Mar. 3, 2015
                                                                                               1                                               36
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                                                                                               1   36.      “Girl Sliding Down Escalator            “Vine Comp Of The Week Part 108!”
                                                                                               2            Smashes Face in Glass”                  (http://www.worldstarhiphop.com/vi
                                                                                               3            (https://www.youtube.com/watch?         deos/video.php?v=wshhnuG5kZpOH
                                                                                               4            v=NLPc_5_96GY) – acquired               k6j8N2I) – posted Mar. 24, 2015
                                                                                               5            Mar. 5, 2015
                                                                                               6   37.      “Amazing Moment When Father             “The Moment A Father Of Four
                                                                                               7            of Four Hears Silence for First         Hears Silence For The First Time”
                                                                                               8            Time”                                   (http://www.worldstarhiphop.com/vi
                                                                                               9            (https://www.youtube.com/watch?         deos/video.php?v=wshhvJ752ugY1u
                                                                                              10            v=18kqcczy6MQ) – acquired Mar. 0iM0x1) – posted Mar. 7, 2015
                                                                                              11            6, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   38.      “Funny Dog Sticks out Tongue”           “when bae bout to sit on yo face”
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            (https://www.youtube.com/watch?         (https://twitter.com/WORLDSTAR/st
                                                                              310-229-9900




                                                                                              14            v=vuTQKwcKyrQ) – acquired               atus/708711158480371712) – posted
                                                                                              15            Mar. 7, 2015                            Mar. 12, 2015;
                                                                                              16

                                                                                              17                                                    “when bae bout to sit on yo face”
                                                                                              18                                                    (https://www.instagram.com/p/BC3K
                                                                                              19                                                    HsUhZh4/) – posted Mar. 12, 2015
                                                                                              20   39.      “Cat Hides to Sneak Attack other        “Vine Comp Of The Week Part 149!”
                                                                                              21            Cat”                                    (http://www.worldstarhiphop.com/vi
                                                                                              22            (https://www.youtube.com/watch?         deos/video.php?v=wshhNr5J5pBUH
                                                                                              23            v=cvJ2BDkcLjE) – acquired Mar.          4Q4zJWF) – posted Jan. 22, 2016;
                                                                                              24            14, 2015
                                                                                              25                                                    “Thug Life”
                                                                                              26                                                    (https://twitter.com/WORLDSTAR/st
                                                                                              27                                                    atus/705166996304961536) – posted
                                                                                              28                                                    Mar. 2, 2016;
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                                                                                                                                                                               COMPLAINT
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                                                                                               2                                                  (https://www.instagram.com/p/BCd-
                                                                                               3                                                  m-1hZh8) – posted Mar. 2, 2016
                                                                                               4   40.      “Cop Stun Guns Naked Man in the “R.I.P. To His Love Life: Cop Tasers
                                                                                               5            Junk”                                 Naked Lunatic On His Penis!”
                                                                                               6            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                               7            v=TgQiTPkAwNQ) – acquired             deos/video.php?v=wshhG483pR443a
                                                                                               8            Mar. 16, 2015                         F9e1f7) – posted Mar. 17, 2015
                                                                                               9   41.      “Guy Serenades Ladies in              “Vine Comp Of The Week Part 109!”
                                                                                              10            Unconventional Way”                   (http://www.worldstarhiphop.com/vi
                                                                                              11            (https://www.youtube.com/watch?       deos/video.php?v=wshh5Z4dV3N9y
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            v=-Bc_y3g0Un4) – acquired Mar.        1Hb1ZcV) – posted Apr. 3, 2015;
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            22, 2015
                                                                              310-229-9900




                                                                                              14                                                  “Singing to bae on #ValentinesDay”
                                                                                              15                                                  (https://twitter.com/WORLDSTAR/st
                                                                                              16                                                  atus/695666130266886150) – posted
                                                                                              17                                                  Feb. 5, 2016;
                                                                                              18

                                                                                              19                                                  “Singing to bae on #ValentinesDay”
                                                                                              20                                                  (https://www.instagram.com/p/BBae
                                                                                              21                                                  BnWhZkS/) – posted Feb. 5, 2016
                                                                                              22   42.      “Girl Falls out of Golf Cart”         “She wasn’t ready”
                                                                                              23            (https://www.youtube.com/watch?       (https://twitter.com/WORLDSTAR/st
                                                                                              24            v=0kmUpTMIUd8) – acquired             atus/690010979741097984) – posted
                                                                                              25            Oct. 8, 2015                          Jan 20, 2016;
                                                                                              26
                                                                                              27                                                  (https://www.instagram.com/p/BAyS
                                                                                              28                                                  Y1JhZmf/) – posted Jan 20, 2016;
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                                                                                               2                                                    “Vine Comp Of The Week Part 149!”
                                                                                               3                                                    (http://www.worldstarhiphop.com/vi
                                                                                               4                                                    deos/video.php?v=wshhNr5J5pBUH
                                                                                               5                                                    4Q4zJWF) – posted Jan 22, 2016
                                                                                               6   43.      “Drunk Guy Gets Hurt Trying to          “Drunk Russian Tries To Fight A
                                                                                               7            Attack Woman at Bus Stop”               Woman At The Bus Stop But Knocks
                                                                                               8            (https://www.youtube.com/watch?         Himself Out!”
                                                                                               9            v=yMN38q5AYR4) – acquired               (http://www.worldstarhiphop.com/vi
                                                                                              10            Aug. 12, 2015                           deos/video.php?v=wshhSO54GXAdr
                                                                                              11                                                    4543sgP) – posted Sept. 3, 2015;
              2049 CENTURY PARK EAST, SUITE 2 300




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                                                    LOS ANG ELES, CA 900 67
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                                                                                              13                                                    “Vine Comp Of The Week Part 130!”
                                                                              310-229-9900




                                                                                              14                                                    (http://www.worldstarhiphop.com/vi
                                                                                              15                                                    deos/video.php?v=wshh1xn2gw1Wy
                                                                                              16                                                    X5904C4) – posted Sept. 10, 2015
                                                                                              17   44.      “Guy Sticks Head out of Plane”          “Vine Comp Of The Week Part 112!”
                                                                                              18            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              19            v=NEjFnAuBwDU) – acquired               deos/video.php?v=wshhMluVI72q9m
                                                                                              20            Apr. 1, 2015                            kIsbV4) – posted Apr. 23, 2015
                                                                                              21   45.      “Guy Falls Attempting to Swing          “Vine Comp Of The Week Part 115!”
                                                                                              22            on Stairwell”                           (http://www.worldstarhiphop.com/vi
                                                                                              23            (https://www.youtube.com/watch?         deos/video.php?v=wshhb42W2SAvzl
                                                                                              24            v=1bFoUXdwuMo) – acquired               LdtXlb) – posted May 19, 2015
                                                                                              25            May 11, 2015
                                                                                              26   46.      “Guy Flips off Crowd, Falls off         “Lol: When Acting Tough Goes
                                                                                              27            Truck”                                  Wrong!”
                                                                                              28            (https://www.jukinmedia.com/lice        (http://www.worldstarhiphop.com/vi
                                                                                               1                                               39
                                                                                                                                                                              COMPLAINT
                                                                                                   12968243-v4
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                                                                                               1            nsing/view/893187) – acquired          deos/video.php?v=wshh02NdgJlT3T
                                                                                               2            Mar. 26, 2015                          6AA1f0) – posted Mar. 26, 2015;
                                                                                               3

                                                                                               4                                                   “Vine Comp Of The Week Part 109!”
                                                                                               5                                                   (http://www.worldstarhiphop.com/vi
                                                                                               6                                                   deos/video.php?v=wshh5Z4dV3N9y
                                                                                               7                                                   1Hb1ZcV) – posted Apr. 3, 2015
                                                                                               8   47.      “Woman Asks For Cigarette”             “Vine Comp Of The Week Part 109!”
                                                                                               9            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                              10            v=h6oCNJ_AVGs) – acquired              deos/video.php?v=wshh5Z4dV3N9y
                                                                                              11            Mar. 30, 2015                          1Hb1ZcV) – posted Apr. 3, 2015;
              2049 CENTURY PARK EAST, SUITE 2 300




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                                                    LOS ANG ELES, CA 900 67
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                                                                                              13                                                   “ronda rousey 10years after getting
                                                                              310-229-9900




                                                                                              14                                                   knocked out by holly holm”
                                                                                              15                                                   (https://www.instagram.com/p/-
                                                                                              16                                                   KPW46BZlQ/?taken-by=realwshh) –
                                                                                              17                                                   posted Nov. 16, 2015
                                                                                              18   48.      “Kid Shoots Screen with Airsoft        “Kid Accidentally Shoots His Airsoft
                                                                                              19            Gun”                                   Gun At His Computer Monitor!”
                                                                                              20            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                              21            v=GXTLVQ1eiik) – acquired              deos/video.php?v=wshh3q4qY7Mfnn
                                                                                              22            Mar. 30, 2015                          601wvM) – posted Mar. 30, 2015
                                                                                              23   49.      “Elmo and Cookie Monster Share         “WTF: This Elmo And Cookie
                                                                                              24            Some Adult Fun”                        Monster Toy Is Just So Wrong!”
                                                                                              25            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                              26            v=-_49VS4nuao) – acquired Apr.         deos/video.php?v=wshhgrdoN78K65
                                                                                              27            6, 2015                                FT4wVI) – posted Jun. 27, 2015
                                                                                              28   50.      “School Fight Ends in Patty Cake” “Vine Comp Of The Week Part 110!”
                                                                                               1                                              40
                                                                                                                                                                              COMPLAINT
                                                                                                   12968243-v4
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                                                                                               1            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                               2            v=ioTiEZCGekA) – acquired Apr.        deos/video.php?v=wshhS0N8A009X
                                                                                               3            4, 2015                               5f30nDI) – posted Apr. 9, 2015
                                                                                               4   51.      “Pool Jumper Trips on Spiked          “Fail: Guy Jumps Over A Spoked
                                                                                               5            Fence”                                Fence And Fails Miserably!”
                                                                                               6            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                               7            v=h-Uyl3aPsGQ) – acquired Apr.        deos/video.php?v=wshhs2epgEyhWx
                                                                                               8            10, 2015                              yCP7J3) – posted Apr. 6, 2015
                                                                                               9   52.      “Kids Body Slamming Cars Get          “Teenagers Get Chased Down And
                                                                                              10            Arrested”                             Arrested For Doing ‘Put Em In A
                                                                                              11            (https://www.youtube.com/watch?       Coffin’ On People’s Cars!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            v=udBtfZMQkJU) – acquired Apr. (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            6, 2015                               deos/video.php?v=wshh1F2a2bjEnC
                                                                              310-229-9900




                                                                                              14                                                  gUotJs) – posted Apr. 5, 2015
                                                                                              15   53.      “Teacher Performs Liquid              “Vine Comp Of The Week Part 109!”
                                                                                              16            Methane Demo”                         (http://www.worldstarhiphop.com/vi
                                                                                              17            (https://www.youtube.com/watch?       deos/video.php?v=wshh5Z4dV3N9y
                                                                                              18            v=W_5m71oyNys) – acquired             1Hb1ZcV) – posted Apr. 3, 2015
                                                                                              19            Apr. 7, 2015
                                                                                              20   54.      “Two Girls Freak out on Slingshot     “Two Girls Freak Out On The
                                                                                              21            Ride”                                 Slingshot”
                                                                                              22            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                              23            v=ACOJbRV_k-k) – acquired             deos/video.php?v=wshh2UNS1Fj6D
                                                                                              24            Apr. 9, 2015                          47V7iAs) – posted Apr. 8, 2015;
                                                                                              25

                                                                                              26                                                  (https://www.instagram.com/p/-
                                                                                              27                                                  18wzHhZvl/?taken-by=realwshh) –
                                                                                              28                                                  posted Dec. 3, 2015
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                                                                                                                                                                               COMPLAINT
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                                                                                               1   55.      “Girl Terrified of Manatee”           “Girl Freaks Out When Manatee
                                                                                               2            (https://www.youtube.com/watch?       Comes Close To Her!”
                                                                                               3            v=yLmfgK8adXk) – acquired Apr. (http://www.worldstarhiphop.com/vi
                                                                                               4            10, 2015                              deos/video.php?v=wshhsU91tIETmG
                                                                                               5                                                  09eh79) – posted Apr. 10, 2015;
                                                                                               6

                                                                                               7                                                  “Vine Comp Of The Week Part 123!”
                                                                                               8                                                  (http://www.worldstarhiphop.com/vi
                                                                                               9                                                  deos/video.php?v=wshhX63TvSF4y8
                                                                                              10                                                  f5PwFS) – posted Jul. 17, 2015
                                                                                              11   56.      “Guy Gets Rear-Ended into             “Lucky To Be Alive: Dash Cam
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            Oncoming Truck”                       Captures Scary Truck Accident!”
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                              310-229-9900




                                                                                              14            v=tADvFcj7Cm4) – acquired Apr.        deos/video.php?v=wshhyL9teAww16
                                                                                              15            11, 2015                              K3rKI2) – posted Apr. 13, 2015
                                                                                              16   57.      “Man Makes Himself Appear and         “Vine Comp Of The Week Part 111!”
                                                                                              17            Disappear in the Dark”                (http://www.worldstarhiphop.com/vi
                                                                                              18            (https://www.youtube.com/watch?       deos/video.php?v=wshh1G9Cr7rzVtb
                                                                                              19            v=yb_PFwwlfS8) – acquired Apr.        9FXuL) – posted Apr. 15, 2015
                                                                                              20            12, 2015
                                                                                              21   58.      “Taco Mascot Skateboards into         “Vine Comp Of The Week Part 112!”
                                                                                              22            Car”                                  (http://www.worldstarhiphop.com/vi
                                                                                              23            (https://www.youtube.com/watch?       deos/video.php?v=wshhMluVI72q9m
                                                                                              24            v=r0XegA8eDvQ) – acquired Apr. kIsbV4) – posted Apr. 23, 2015
                                                                                              25            13, 2015
                                                                                              26   59.      “Drunk Guy at Festival Passes Out “Vine Comp Of The Week Part 117!”
                                                                                              27            after Wake Up Call”                   (http://www.worldstarhiphop.com/vi
                                                                                              28            (https://www.youtube.com/watch?       deos/video.php?v=wshhA8SuwSYJw
                                                                                               1                                             42
                                                                                                                                                                            COMPLAINT
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                                                                                               1            v=Wwy45984MB8) – acquired               07O7TBk) – posted Jun. 4, 2015
                                                                                               2            Apr. 20, 2015
                                                                                               3   60.      “Principal Refuses To Give Man's        “WTF Kinda Rule Is This: Principal
                                                                                               4            Daughter's iPhone Back”                 Refuses To Give Back His
                                                                                               5            (https://www.youtube.com/watch?         Daughter’s Iphone 6 & Offers Him A
                                                                                               6            v=tsTEV2AJ_Gg) – acquired Apr.          Flip Phone Instead!”
                                                                                               7            16, 2015                                (http://www.worldstarhiphop.com/vi
                                                                                               8                                                    deos/video.php?v=wshhUp2BJ545fhr
                                                                                               9                                                    3dbm2) – posted Apr. 15, 2015
                                                                                              10   61.      “Kid Makes a Gaffe Asking to Pet        “Toddler Problem: Can I Pet Your
                                                                                              11            Neighbor's Kitty”                       Titties?”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            v=Ndm0uXQX_Rk) – acquired               deos/video.php?v=wshha6A4655dst9
                                                                              310-229-9900




                                                                                              14            Apr. 18, 2015                           7022q) – posted Apr. 18, 2015
                                                                                              15   62.      “Stranger Surprises NYC Subway          “Amazing Moment of Kindness On
                                                                                              16            Vendor with $140”                       A NYC Train!”
                                                                                              17            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              18            v=yVzAC7mLxJw) – acquired               deos/video.php?v=wshh2veYTm8N
                                                                                              19            Apr. 20, 2015                           m5OledyU) – posted Apr. 20, 2015
                                                                                              20   63.      “Domesticated Bear Walks                “Bear Walks Around Like A
                                                                                              21            Upright like Humans”                    Human!”
                                                                                              22            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              23            v=9GBpeFJtka8) – acquired May           deos/video.php?v=wshhwAs15r541V
                                                                                              24            6, 2015                                 6rhLKl) – posted May 8, 2015
                                                                                              25   64.      “Nurse Technician Moved to              “Touching: Patient Who Was
                                                                                              26            Tears Seeing Paraplegic Walk”           Paralyzed For 11 Days Surprises Her
                                                                                              27            (https://www.youtube.com/watch?         Favorite Nurse By Walking!”
                                                                                              28            v=75odu9sxwEA) – acquired Apr.          (http://www.worldstarhiphop.com/vi
                                                                                               1                                               43
                                                                                                                                                                               COMPLAINT
                                                                                                   12968243-v4
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                                                                                               1            24, 2015                               deos/video.php?v=wshh9WdxmHCP
                                                                                               2                                                   Hr6585SU) – posted Apr. 22, 2015
                                                                                               3   65.      “Guy Solves 8 Rubik's Cubes            “Touching: Patient Who Was
                                                                                               4            Underwater for Guinness World          Paralyzed For 11 Days Surprises Her
                                                                                               5            Record”                                Favorite Nurse By Walking!”
                                                                                               6            (https://www.youtube.com/watch?        (https://www.instagram.com/p/BJaax
                                                                                               7            v=ianENTXpVmM) – acquired              nqgvK_/) – posted Aug. 22, 2016
                                                                                               8            Apr. 30, 2015
                                                                                               9   66.      “Alligator Bites Handler during        “Close Call: Man Almost Loses Arm
                                                                                              10            Demonstration”                         By Alligator Bite At Spring Crawfish
                                                                                              11            (https://www.youtube.com/watch?        Festival!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            v=JnTFvKt_7lI) – acquired Jun.         (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            22, 2015                               deos/video.php?v=wshhl4PxLu1AW
                                                                              310-229-9900




                                                                                              14                                                   31375HX) – posted Apr. 28, 2015
                                                                                              15   67.      “Puppy Tries to Bark Away the          “Too Cute: Puppy Doesn’t
                                                                                              16            Hiccups”                               Understand Hiccups!”
                                                                                              17            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                              18            v=WoCbrq3VHVw) – acquired              deos/video.php?v=wshhSXV5OkXvu
                                                                                              19            Apr. 29, 2015                          M2R6xvI) – posted Apr. 30, 2015
                                                                                              20   68.      “Girl Falls off Toy Bike While         “Vine Comp Of The Week Part 114!”
                                                                                              21            Singing”                               (http://www.worldstarhiphop.com/vi
                                                                                              22            (https://www.youtube.com/watch?        deos/video.php?v=wshh0Ak5OSJL6
                                                                                              23            v=YK2SJ2gLrcM) – acquired Apr. U47TYrR) – posted May 13, 2015
                                                                                              24            30, 2015
                                                                                              25   69.      “Guy Chases down Camel on Abu          “Vine Comp Of The Week Part 114!”
                                                                                              26            Dhabi Highway”                         (http://www.worldstarhiphop.com/vi
                                                                                              27            (https://www.youtube.com/watch?        deos/video.php?v=wshh0Ak5OSJL6
                                                                                              28            v=ZeQruJ0jz4o) – acquired Apr.         U47TYrR) – posted May 13, 2015
                                                                                               1                                              44
                                                                                                                                                                              COMPLAINT
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                                                                                               1            28, 2015
                                                                                               2   70.      “Worker Pranks Man on Slingshot         “Vine Comp Of The Week Part 113!”
                                                                                               3            Ride”                                   (http://www.worldstarhiphop.com/vi
                                                                                               4            (https://www.youtube.com/watch?         deos/video.php?v=wshh6TRwUe2VI
                                                                                               5            v=Wn8UqJCcV5w) – acquired               fkpUY1V) – posted May 8, 2015
                                                                                               6            May 1, 2015
                                                                                               7   71.      “Guy Falls Trying to Jump Over          “Vine Comp Of The Week Part 116!”
                                                                                               8            Roller Rink Wall”                       (http://www.worldstarhiphop.com/vi
                                                                                               9            (https://www.youtube.com/watch?         deos/video.php?v=wshh8UTEtmD3i
                                                                                              10            v=gU_aa9OG9jA) – acquired May Q4Spr8X) – posted May 28, 2015
                                                                                              11            4, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   72.      “Girl Tries The Kylie Jenner Lip        “Vine Comp Of The Week Part 113!”
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            Challenge”                              (http://www.worldstarhiphop.com/vi
                                                                              310-229-9900




                                                                                              14            (https://www.youtube.com/watch?         deos/video.php?v=wshh6TRwUe2VI
                                                                                              15            v=yMOex0oIkWk) – acquired               fkpUY1V) – posted May 8, 2015
                                                                                              16            May 6, 2015
                                                                                              17   73.      “Man Jumps Across Window                “Vine Comp Of The Week Part 114!”
                                                                                              18            Ledges 40 Stories High”                 (http://www.worldstarhiphop.com/vi
                                                                                              19            (https://www.youtube.com/watch?         deos/video.php?v=wshh0Ak5OSJL6
                                                                                              20            v=8AHgBX4VO_M) – acquired               U47TYrR) – posted May 13, 2015
                                                                                              21            May 7, 2015
                                                                                              22   74.      “Fish Tries to Eat Woman's Hand” (https://instagram.com/p/4FvuPfhZk6
                                                                                              23            (https://www.youtube.com/watch?         /?taken-by=realwshh) – posted Jun.
                                                                                              24            v=36SD8ERdBts) – acquired May           18, 2015
                                                                                              25            14, 2015
                                                                                              26   75.      “Coal Burning Stove Explodes in         “Experiments In Stupidity: German
                                                                                              27            Garage”                                 Guy Puts A Silicon Spray Can In An
                                                                                              28            (https://www.youtube.com/watch?         Oven!”
                                                                                               1                                               45
                                                                                                                                                                              COMPLAINT
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                                                                                               1            v=_bzv2Mm91HE) – acquired              (http://www.worldstarhiphop.com/vi
                                                                                               2            May 13, 2015                           deos/video.php?v=wshh5doVhXE0C
                                                                                               3                                                   L1HcD2f) – posted May 29, 2015
                                                                                               4   76.      “Little Boy Tells off Monkey on        “Vine Comp Of The Week Part 119!”
                                                                                               5            Car”                                   (http://www.worldstarhiphop.com/vi
                                                                                               6            (https://www.youtube.com/watch?        deos/video.php?v=wshhHO1bw3edn
                                                                                               7            v=_RW_fIWuG2c) – acquired              653FC4V) – posted Jun. 18, 2015
                                                                                               8            May 18, 2015
                                                                                               9   77.      “Cat Demonstrates Impressive           “Vine Comp Of The Week Part 115!”
                                                                                              10            Evasive Maneuver”                      (http://www.worldstarhiphop.com/vi
                                                                                              11            (https://www.youtube.com/watch?        deos/video.php?v=wshhb42W2SAvzl
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            v=01Ue7Dbf424) – acquired May          LdtXlb) – posted May 19, 2015
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            18, 2015
                                                                              310-229-9900




                                                                                              14   78.      “Gator Rips Off Car Bumper”            “Redneck Experiments: Gator Vs
                                                                                              15            (https://www.youtube.com/watch?        Pickup Truck!”
                                                                                              16            v=ynhumAumc8Q) – acquired              (http://www.worldstarhiphop.com/vi
                                                                                              17            May 22, 2015                           deos/video.php?v=wshhN1o6748sT2
                                                                                              18                                                   8nxo4Y) – posted May 21, 2015;
                                                                                              19
                                                                                              20                                                   “Vine Comp Of The Week Part 116!”
                                                                                              21                                                   (http://www.worldstarhiphop.com/vi
                                                                                              22                                                   deos/video.php?v=wshh8UTEtmD3i
                                                                                              23                                                   Q4Spr8X) – posted May 28, 2015
                                                                                              24   79.      “Drunk Uncle Faceplants Trying         “Vine Comp Of The Week Part 127!”
                                                                                              25            to Jump Rope”                          (http://www.worldstarhiphop.com/vi
                                                                                              26            (https://www.youtube.com/watch?        deos/video.php?v=wshh97dS71DR0J
                                                                                              27            v=P4pAf3jUeUE) – acquired Aug. cZ4ML2) – posted Aug. 13, 2015,
                                                                                              28            3, 2015                                2015
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                                                                                                                                                                            COMPLAINT
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                                                                                               1   80.      “Brand New Corvette Speeds off        “What A Waste: Guy Crashes His
                                                                                               2            Road”                                 Brand New $80K Corvette C7 Z06!”
                                                                                               3            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                               4            v=Wqtl7fXDKu4) – acquired May deos/video.php?v=wshhCFtL58byfiV
                                                                                               5            24, 2015                              E4pI0) – posted May 24, 2015
                                                                                               6   81.      “Man Shows off Animal                 “Skills: This Guy Can Make Any
                                                                                               7            Impressions”                          Animal Sound!”
                                                                                               8            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                               9            v=2Qa9YDgtcaM) – acquired May deos/video.php?v=wshhvYk9CFj6vE
                                                                                              10            26, 2015                              yY9vRS) – posted May 26, 2015
                                                                                              11   82.      “Guy Jumps from Bunk Bed into         “Vine Comp Of The Week Part 118!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            Pants”                                (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            (https://www.youtube.com/watch?       deos/video.php?v=wshh8oulrc65s7ux
                                                                              310-229-9900




                                                                                              14            v=0s_kn8FiYFo) – acquired Jun.        mR3q) – posted Jun. 10, 2015
                                                                                              15            2, 2015
                                                                                              16   83.      “Chicago Kids Have Roman              “4TH OF JULY IN CHICAGO”
                                                                                              17            Candle Fight”                         (https://www.instagram.com/p/BHdy
                                                                                              18            (https://www.youtube.com/watch?       uvpAu3N/) – posted Jul. 4, 2016
                                                                                              19            v=biAVdBLbZJM) – acquired
                                                                                              20            Jun. 3, 2015
                                                                                              21   84.      “Kid Gets Emotional About New         “Vine Comp Of The Week Part 118!”
                                                                                              22            Arm Cast”                             (http://www.worldstarhiphop.com/vi
                                                                                              23            (https://www.youtube.com/watch?       deos/video.php?v=wshh8oulrc65s7ux
                                                                                              24            v=5-NXguyFFko) – acquired Jun.        mR3q) – posted Jun. 10, 2015
                                                                                              25            5, 2015
                                                                                              26   85.      “Bear Piggyback Ride”                 “Vine Comp Of The Week Part 119!”
                                                                                              27            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                              28            v=uU5-zxDrhd0) – acquired Jun.        deos/video.php?v=wshhHO1bw3edn
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                                                                                                                                                                            COMPLAINT
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                                                                                               1            11, 2015                             653FC4V) – posted Jun. 18, 2015
                                                                                               2   86.      “Pit Bull Jumps up Record-           “Beast: This Pitt Bull Got Serious
                                                                                               3            Breaking 14 Feet”                    Hops!”
                                                                                               4            (https://www.youtube.com/watch?      (http://www.worldstarhiphop.com/vi
                                                                                               5            v=1u5FJ5caKAU) – acquired Jun.       deos/video.php?v=wshhfZLvZKQxz
                                                                                               6            12, 2015                             o54IvVK) – posted Jun. 6, 2015;
                                                                                               7

                                                                                               8                                                 (https://instagram.com/p/3zPBd_BZv
                                                                                               9                                                 F/?taken-by=realwshh) – posted Jun.
                                                                                              10                                                 11, 2015
                                                                                              11   87.      “Looney Tunes Mascots Do the         “Bugs Bunny Can Whip: Different
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            Whip and Nae Nae”                    Side Of Looney Tunes!”
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            (https://www.youtube.com/watch?      (http://www.worldstarhiphop.com/vi
                                                                              310-229-9900




                                                                                              14            v=cG5GY3hC-d8) – acquired            deos/video.php?v=wshhcFIZxW4VS
                                                                                              15            Jun.10, 2015                         25Gc71S) – posted Jun. 10, 2015;
                                                                                              16

                                                                                              17                                                 (https://instagram.com/p/3_xs8VhZr5
                                                                                              18                                                 /?taken-by=realwshh) – posted Jun.
                                                                                              19                                                 16, 2015
                                                                                              20   88.      “Man Demolishes Backyard Fence “Vine Comp Of The Week Part 137!”
                                                                                              21            with Diving Header”                  (http://www.worldstarhiphop.com/vi
                                                                                              22            (https://www.youtube.com/watch?      deos/video.php?v=wshhB7UnpqX4l9
                                                                                              23            v=1NzK1YOsw0U) – acquired            xE6255) – posted Oct. 23, 2015
                                                                                              24            Jun.11, 2015
                                                                                              25   89.      “Prankster Hides Hot Sauce in        “Got EM: Mcdonalds Hot Sauce
                                                                                              26            Friend's Drink”                      Prank!”
                                                                                              27            (https://www.youtube.com/watch?      (http://www.worldstarhiphop.com/vi
                                                                                              28            v=1OS16VDypkc) – acquired Jun. deos/video.php?v=wshh1ibJoiT50d8
                                                                                               1                                            48
                                                                                                                                                                            COMPLAINT
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                                                                                               1            12, 2015                               FWCtz) – posted Jun. 13, 2015
                                                                                               2   90.      “Crowd-Walking Singer Catches
                                                                                               3            Beer and Then Drinks It”               (https://www.instagram.com/p/BBVc
                                                                                               4            (https://www.youtube.com/watch?        yvFhZlX/) – posted Feb. 3, 2016
                                                                                               5            v=MTlFk-chSh4) – acquired Jun.
                                                                                               6            22, 2015
                                                                                               7   91.      “Queen's Guard Push Tourist Out        “Vine Comp Of The Week Part 120!”
                                                                                               8            of Their Way”                          (http://www.worldstarhiphop.com/vi
                                                                                               9            (https://www.youtube.com/watch?        deos/video.php?v=wshh6yO5X57AD
                                                                                              10            v=NTr50aHGDnI) – acquired Jun.         XBo5IGA) – posted Jun. 25, 2015
                                                                                              11            16, 2015
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                                                                                              12   92.      “19-Month-Old Boy Can Read”            “Impressive: Smart 19 Month Old
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            (https://youtu.be/5GrbxLa4CH4) – Boy Can Read Many Words!”
                                                                              310-229-9900




                                                                                              14            acquired Nov. 18, 2015                 (http://www.worldstarhiphop.com/vi
                                                                                              15                                                   deos/video.php?v=wshhAn0JMXRiK
                                                                                              16                                                   7QqTtxj) – posted Nov. 19, 2015
                                                                                              17   93.      “Guy Slices Nose of Friend with        “Drunk Fail: Man Chops Friends
                                                                                              18            Sword”                                 Nose Off While Attempting Sword
                                                                                              19            (https://youtu.be/5GrbxLa4CH4) – Trick!”
                                                                                              20            acquired Jun. 21, 2015                 (http://www.worldstarhiphop.com/vi
                                                                                              21                                                   deos/video.php?v=wshhftKc6yWns3
                                                                                              22                                                   Dcwn5N) – posted Jun. 22, 2015
                                                                                              23   94.      “Gym Goer Uses Machine                 “Vine Comp Of The Week Part 120!”
                                                                                              24            Incorrectly for Neck Exercise”         (http://www.worldstarhiphop.com/vi
                                                                                              25            (https://www.youtube.com/watch?        deos/video.php?v=wshh6yO5X57AD
                                                                                              26            v=W7RkFZMk_LE) – acquired              XBo5IGA) – posted Jun. 25, 2015
                                                                                              27            Jun. 23, 2015
                                                                                              28   95.      “Bear Goes for Swim in Pool”           “Bruiser Bear Cools Off In A
                                                                                               1                                              49
                                                                                                                                                                             COMPLAINT
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                                                                                               1            (https://www.youtube.com/watch?        Swimming Pool!”
                                                                                               2            v=I-yqvT8vKZc) – acquired Jun.         (http://www.worldstarhiphop.com/vi
                                                                                               3            26, 2015                               deos/video.php?v=wshhNpRTH3QdF
                                                                                               4                                                   2SRz8W6) – Jun. 24, 2015
                                                                                               5   96.      “Two Guys Collide While Trying         “Vine Comp Of The Week Part 122!”
                                                                                               6            to Jump Over Bonfire”                  (http://www.worldstarhiphop.com/vi
                                                                                               7            (https://www.youtube.com/watch?        deos/video.php?v=wshhay3DWBLin
                                                                                               8            v=rOBB5KDn60w) – acquired              Z7Q0pv9) – posted Jul. 10, 2015
                                                                                               9            Jun. 29, 2015
                                                                                              10   97.      “Guy Shatters Glass Table with         “Fail: Why Cutting A Watermelon
                                                                                              11            Sword”                                 On A Glass Table Is A Bad Idea!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            v=upb1XMwKTSI) – acquired              deos/video.php?v=wshhTf7AOF0671
                                                                              310-229-9900




                                                                                              14            Jun. 28, 2015                          wj2Kw2) – posted Jun. 30, 2015
                                                                                              15   98.      “Little Girl and Pregnant Mom          “Pregnant Mother & Her Daughter
                                                                                              16            Dance Together”                        Dance To “Watch Me (Whip / Nae
                                                                                              17            (www.youtube.com/watch?v=EG8 Nae)”
                                                                                              18            LD9-HdYs) – acquired Jul. 20,          (http://www.worldstarhiphop.com/vi
                                                                                              19            2015                                   deos/video.php?v=wshhSAtC26OE4a
                                                                                              20                                                   S0pgV7) – posted Jul. 1, 2015
                                                                                              21   99.      “Great White Sharks Attacks            “Scary Ish: Great White Shark
                                                                                              22            Metal Cage”                            Attacks Diving Cage With Divers
                                                                                              23            (https://www.youtube.com/watch?        Inside!”
                                                                                              24            v=bLGQPvRIA78) – acquired Jul.         (http://www.worldstarhiphop.com/vi
                                                                                              25            1, 2015                                deos/video.php?v=wshhgG3BhyELJz
                                                                                              26                                                   t1Pi64) – posted Jul. 2, 2015
                                                                                              27   100.     “Girl Backflops off Waterslide”        “Vine Comp Of The Week Part 122!”
                                                                                              28            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                               1                                              50
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                                                                                               1            v=_QkT9SftSko) – acquired Sept.        deos/video.php?v=wshhay3DWBLin
                                                                                               2            16, 2015                               Z7Q0pv9) – posted Jul. 10, 2015
                                                                                               3   101.     “Little Girl Fails at Hula Hooping” “Vine Comp Of The Week Part 123!”
                                                                                               4            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                               5            v=IvjENIw_hCk) – acquired Jul.         deos/video.php?v=wshhX63TvSF4y8
                                                                                               6            10, 2015                               f5PwFS) – posted Jul. 17, 2015;
                                                                                               7

                                                                                               8                                                   “Me dealing with my life right now”
                                                                                               9                                                   (https://instagram.com/p/6D4VN6hZ
                                                                                              10                                                   mZ/?taken-by=realwshh) – posted
                                                                                              11                                                   Aug. 6, 2015
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                                                                                              12   102.     “Parkour Daredevils Hang off           “Vine Comp Of The Week Part 125!”
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            Skyscraper”                            (http://www.worldstarhiphop.com/vi
                                                                              310-229-9900




                                                                                              14            (https://www.youtube.com/watch?        deos/video.php?v=wshhj0aaiPDUjU
                                                                                              15            v=xv-rdyCByaE) – acquired Jul.         w9Lc5I) – posted Jul. 30, 2015;
                                                                                              16            15, 2015
                                                                                              17                                                   “21 No F*CKS Given”
                                                                                              18                                                   (https://www.facebook.com/worldsta
                                                                                              19                                                   rhiphop/videos/vb.253968658003230
                                                                                              20                                                   /899882516745171/?type=2&theater)
                                                                                              21                                                   – posted Aug. 6, 2015
                                                                                              22   103.     “Firework Sparks Spray Man in
                                                                                              23            the Face”                              (https://www.instagram.com/p/BHdN
                                                                                              24            (https://www.youtube.com/watch?        dZnAv1e/) – posted Jul. 4, 2016
                                                                                              25            v=yPYYhXIFJiY) – acquired Jul.
                                                                                              26            20, 2015
                                                                                              27   104.     “Road Rage Against Motoryclist         “Road Rage: Man Gets Slammed On
                                                                                              28            Turns Physical”                        The Ground After Punching
                                                                                               1                                              51
                                                                                                                                                                             COMPLAINT
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                                                                                               1            (https://www.youtube.com/watch?       Morocylist In The Face!”
                                                                                               2            v=_ZueHaDP4hU) – acquired Jul.        (http://www.worldstarhiphop.com/vi
                                                                                               3            14, 2015                              deos/video.php?v=wshh58a8eJ6gCrU
                                                                                               4                                                  95I12) – posted Apr. 1, 2016
                                                                                               5   105.     “Mom Gives Birth to 10lb Baby in “Vine Comp Of The Week Part 159!”
                                                                                               6            Car”                                  (http://www.worldstarhiphop.com/vi
                                                                                               7            (https://www.youtube.com/watch?       deos/video.php?v=wshh0AW5WLxl9
                                                                                               8            v=WXEZ6g2WLoM) – acquired             I8g9tI7) – posted Apr. 1, 2016;
                                                                                               9            Jul. 17, 2015
                                                                                              10                                                  (https://twitter.com/WORLDSTAR/st
                                                                                              11                                                  atus/714622335190327296) – Mar.
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                                                                                              12                                                  28, 2019;
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




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                                                                              310-229-9900




                                                                                              14                                                  (https://www.instagram.com/p/BDhK
                                                                                              15                                                  KGNBZhE/) – Mar. 28, 2016
                                                                                              16   106.     “Man Shows Off Epic Roman             “Guy Builds Dual Roman Candle
                                                                                              17            Candle Guns”                          Machine Guns!”
                                                                                              18            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                              19            v=RzZefx6dE8M) – acquired Aug. deos/video.php?v=wshhlNr4bcFlnkur
                                                                                              20            14, 2015                              Vt8Y) – posted Aug. 17, 2015
                                                                                              21   107.     “Deer Screams like Human in           “how your girl act when u wanna
                                                                                              22            Japan”                                have a guys night”
                                                                                              23            (https://www.youtube.com/watch?       (https://instagram.com/p/52SvgThZm
                                                                                              24            v=qAVt1iRpvlc) – acquired Jul.        V/?taken-by=realwshh) – posted
                                                                                              25            23, 2015                              Aug. 1, 2015
                                                                                              26   108.     “Residents Receive Complaints         “SMH: Florida Man Gets Harassed
                                                                                              27            About BBQ Smoke”                      By A City Council Officer For
                                                                                              28            (www.youtube.com/watch?v=RlR- Allowing BBQ Smells To Leave His
                                                                                               1                                             52
                                                                                                                                                                             COMPLAINT
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                                                                                               1            81Ds-AM) – acquired Jul. 28,         Property!”
                                                                                               2            2015                                 (http://www.worldstarhiphop.com/vi
                                                                                               3                                                 deos/video.php?v=wshh0Th0Aj4T35
                                                                                               4                                                 QCO0Gc) – posted Jul. 25, 2015
                                                                                               5   109.     “Ear Stretch Rips Earlobe”           “Ouch: Girl Tries To Stretch Her Ear
                                                                                               6            (https://www.youtube.com/watch?      But It Doesn’t Go As Planned!”
                                                                                               7            v=YH7UQgDiwX8) – acquired            (http://www.worldstarhiphop.com/vi
                                                                                               8            Sept. 2, 2015                        deos/video.php?v=wshhy2mfc8fo6r4
                                                                                               9                                                 7n1lk) – posted Sept. 4, 2015
                                                                                              10   110.     “Man Crashes Porsche 918 Spyder “Epic Fail: Guy Crashes His Million
                                                                                              11            in Resort Parking Lot”               Dollar Porsche 918 Showing Off!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            (https://www.youtube.com/watch?      (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            v=2-U6sxmzjnw) – acquired Aug.       deos/video.php?v=wshhY2Mhf3s54J
                                                                              310-229-9900




                                                                                              14            1, 2015                              aqoV32) – posted Jul. 29, 2015
                                                                                              15   111.     “Twin Ghost Prank Ends in Hit        “Ghost Sisters Prank Goes Wrong!
                                                                                              16            and Run”                             (Gets Run Over)”
                                                                                              17            (https://www.youtube.com/watch?      (http://www.worldstarhiphop.com/vi
                                                                                              18            v=S3WQzB692wY) – acquired            deos/video.php?v=wshhWSXuqq79p
                                                                                              19            Aug. 1, 2015                         6jk97MK) – posted Aug. 3, 2015
                                                                                              20   112.     “Racist Lady Tells Hispanic          “Crazy Racist Old Lady Insults A
                                                                                              21            Woman to Speak English”              Woman For Speaking Spanish!”
                                                                                              22            (www.youtube.com/watch?v=LRJ         (http://www.worldstarhiphop.com/vi
                                                                                              23            Awwti_8k) – acquired Aug. 4,         deos/video.php?v=wshhqs2gIyOB7S
                                                                                              24            2015                                 01z4Sc) – posted Aug. 2, 2015
                                                                                              25   113.     “Dog Dressed as Shark Attacks        “Vine Comp Of The Week Part 127!”
                                                                                              26            Owner in Pool”                       (http://www.worldstarhiphop.com/vi
                                                                                              27            (https://www.youtube.com/watch?      deos/video.php?v=wshh97dS71DR0J
                                                                                              28            v=LtFHLdluyzM) – acquired Aug. cZ4ML2) – posted Aug. 13, 2015
                                                                                               1                                            53
                                                                                                                                                                            COMPLAINT
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                                                                                               1            5, 2015
                                                                                               2   114.     “Octopus Captures and Eats              “Octopus Catches A Seagull &
                                                                                               3            Seagull”                                Drown It!”
                                                                                               4            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                               5            v=2p2RR3g8UOM) – acquired               deos/video.php?v=wshhTEvIO04FIl0
                                                                                               6            Mar. 11, 2016                           lBwNZ) – posted Mar. 11, 201
                                                                                               7   115.     “Dog Poses for Selfie”                  “Vine Comp Of The Week Part 127!”
                                                                                               8            (www.youtube.com/watch?v=F09            (http://www.worldstarhiphop.com/vi
                                                                                               9            4wVN4sGs) – acquired Aug. 7,            deos/video.php?v=wshh97dS71DR0J
                                                                                              10            2015                                    cZ4ML2) – posted Aug. 13, 2015
                                                                                              11   116.     “3-Year-Old Tries to Break Board        “Little Boy Trying To Break In
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            in Taekwondo”                           Takwondo!”
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            (www.youtube.com/watch?v=lQbl (http://www.worldstarhiphop.com/vi
                                                                              310-229-9900




                                                                                              14            z-6u3MI) – acquired Aug. 9, 2015        deos/video.php?v=wshhl3p6Lw9UU
                                                                                              15                                                    74KC5aH) – posted Aug. 10, 2015
                                                                                              16   117.     “Bikers Crash into Support              “He need some milk”
                                                                                              17            Vehicles during Race”                   (https://instagram.com/p/7Qcs4xhZo
                                                                                              18            (https://www.youtube.com/watch?         H/?taken-by=realwshh) – posted
                                                                                              19            v=hRM3bFXlyNk) – acquired               Sept. 5, 2015;
                                                                                              20            Aug. 9, 2015
                                                                                              21                                                    “Ouch: Cyclist Crashes Into A
                                                                                              22                                                    Porsche At Full Speed!”
                                                                                              23                                                    (http://www.worldstarhiphop.com/vi
                                                                                              24                                                    deos/video.php?v=wshh5zsYVk9c6E
                                                                                              25                                                    lSE5pe) – posted Aug. 10, 2015;
                                                                                              26
                                                                                              27                                                    “Vine Comp Of The Week Part 130!”
                                                                                              28                                                    (http://www.worldstarhiphop.com/vi
                                                                                               1                                               54
                                                                                                                                                                              COMPLAINT
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                                                                                               1                                                   deos/video.php?v=wshh1xn2gw1Wy
                                                                                               2                                                   X5904C4) – posted Sept. 10, 2015;
                                                                                               3

                                                                                               4                                                   (https://instagram.com/p/7dxrDhhZm
                                                                                               5                                                   g/?taken-by=realwshh) – posted Sept.
                                                                                               6                                                   10, 2015
                                                                                               7   118.     “Kid Flips and Lands Head-First        “Never Give Up: Guy Recovers From
                                                                                               8            off Pole”                              An Epic Backflip Fail! (Rewind
                                                                                               9            (https://www.youtube.com/watch?        Clip)”
                                                                                              10            v=fRJgeWeHpHo) – acquired              (http://www.worldstarhiphop.com/vi
                                                                                              11            Aug. 13, 2015                          deos/video.php?v=wshhOnJl66eLh0I
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12                                                   25l4z) – posted Jul. 28, 2015
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   119.     “Baby Scowls at Parents Trying to      “P*ssed Off: That’s One Angry
                                                                              310-229-9900




                                                                                              14            Make Him Smile”                        Baby!”
                                                                                              15            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                              16            v=JIJ7b9YUduE) – acquired Aug.         deos/video.php?v=wshhuq2J3YwUu
                                                                                              17            17, 2015                               S7XyQPT) – posted Aug. 16, 2015;
                                                                                              18

                                                                                              19                                                   “Vine Comp Of The Week Part 128!”
                                                                                              20                                                   (http://www.worldstarhiphop.com/vi
                                                                                              21                                                   deos/video.php?v=wshh1OXeP2Yg1
                                                                                              22                                                   5W9mpGv) – posted Aug. 21, 2015;
                                                                                              23

                                                                                              24                                                   “Vine Comp Of The Week Part 128!”
                                                                                              25                                                   (https://www.facebook.com/worldsta
                                                                                              26                                                   rhiphop/videos/vb.253968658003230
                                                                                              27                                                   /916513141748775/?type=2&theater)
                                                                                              28                                                   - posted Aug. 24, 2015
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                                                                                               1   120.     “Cat Pole Dances with Man”               “Vine Comp Of The Week Part 133!”
                                                                                               2            (https://www.youtube.com/watch?          (http://www.worldstarhiphop.com/vi
                                                                                               3            v=GN4_ctWUGMI) – acquired                deos/video.php?v=wshhodXful8cYb
                                                                                               4            Aug. 17, 2015                            H3nxaG) – posted Sept. 25, 2015
                                                                                               5   121.     “Waitress Verbally Massacres             “Customers Go To A Chicago
                                                                                               6            Family Ordering at Restaurant”           Restaurant Where The Waitresses
                                                                                               7            (http://www.youtube.com/watch?v Are Purposely Rude!”
                                                                                               8            =NX-bsg4QmTo) – acquired Aug.            (http://www.worldstarhiphop.com/vi
                                                                                               9            19, 2015                                 deos/video.php?v=wshho9qs8p12pY
                                                                                              10                                                     729vQT) – posted Dec. 8, 2015
                                                                                              11   122.     “Good Samaritan Pulls Over               “Ohio Man Hailed A Hero After
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                                                                                              12            Intoxicated Driver”                      Stopping Reckless Female Driver
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            (www.youtube.com/watch?v=ErG             Swerving Across Several Lanes!”
                                                                              310-229-9900




                                                                                              14            dNh7R8-w) – acquired Aug. 23,            (http://www.worldstarhiphop.com/vi
                                                                                              15            2015                                     deos/video.php?v=wshhuCXXU7AN
                                                                                              16                                                     Q15m4sYc) – posted Aug. 23, 2015
                                                                                              17   123.     “Girl Passes Out Twice on                “Vine Comp Of The Week Part 165!”
                                                                                              18            Slingshot Ride”                          (http://www.worldstarhiphop.com/vi
                                                                                              19            (https://www.youtube.com/watch?          deos/video.php?v=wshh8vACgQnS9
                                                                                              20            v=URSj-Lk3vo4) – acquired Aug.           5YxWa5y) – posted May 13, 2016
                                                                                              21            31, 2015
                                                                                              22   124.     “Crocodile Bites Foot off Another        “Hungry Crocodile Rips Off & Eats
                                                                                              23            Crocodile”                               Other Crocodiles Arm During
                                                                                              24            (https://www.youtube.com/watch?          Feeding Time”
                                                                                              25            v=JLy-Iiy_Zp4) – acquired Aug.           (http://www.worldstarhiphop.com/vi
                                                                                              26            26, 2015                                 deos/video.php?v=wshh0U0sSdk82G
                                                                                              27                                                     PqH8TL) – posted Aug. 29, 2015
                                                                                              28   125.     “Toddler Grooves to Music in             “Vine Comp Of The Week Part 130!”
                                                                                               1                                                56
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                                                                                                   12968243-v4
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                                                                                               1            Car”                                  (http://www.worldstarhiphop.com/vi
                                                                                               2            (www.youtube.com/watch?v=v5-          deos/video.php?v=wshh1xn2gw1Wy
                                                                                               3            6jtkeRoA) – acquired Aug. 28,         X5904C4) – posted Sept. 10, 2015
                                                                                               4            2015
                                                                                               5   126.     “Girl Performs Breathtaking           “On Another Level: This Lady Bike
                                                                                               6            Bicycle Tricks”                       Skills Are On Point!”
                                                                                               7            (www.youtube.com/watch?v=48z          (http://www.worldstarhiphop.com/vi
                                                                                               8            C6jIT5aQ) – acquired Sept. 2,         deos/video.php?v=wshh0ZKkLbM6
                                                                                               9            2015                                  m3xIMpTQ) – posted Aug. 31, 2015
                                                                                              10   127.     “Crow Goes for Ride on                “Vine Comp Of The Week Part 137!”
                                                                                              11            Windshield Wipers”                    (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            (https://www.youtube.com/watch?       deos/video.php?v=wshhB7UnpqX4l9
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            v=pLJegq01S6A) – acquired Sept.       xE6255) – posted Oct. 23, 2015
                                                                              310-229-9900




                                                                                              14            2, 2015
                                                                                              15   128.     “Student Records Professor            “Vine Comp Of The Week Part 130!”
                                                                                              16            Walking into Class Every Day”         (http://www.worldstarhiphop.com/vi
                                                                                              17            (www.youtube.com/watch?v=Qfp          deos/video.php?v=wshh1xn2gw1Wy
                                                                                              18            7qWuJ4JY) – acquired Sept. 3,         X5904C4) – posted Sept. 10, 2015
                                                                                              19            2015
                                                                                              20   129.     “Guy Freaks Out as Boat               (https://www.instagram.com/p/BCBn
                                                                                              21            Approaches Edge”                      WWABZuK/) – posted Feb. 20,
                                                                                              22            (https://www.youtube.com/watch?       2016;
                                                                                              23            v=DYzT-Pk6Ogw) – acquired
                                                                                              24            Sept. 8, 2015                         (https://instagram.com/p/7JDvdKBZs
                                                                                              25                                                  R/?taken-by=realwshh) – posted
                                                                                              26                                                  Sept. 2, 2015
                                                                                              27   130.     “Guy Picks Up Car and Moves It        “Strength On 100: Man’s Car Is
                                                                                              28            Out of Parking Spot”                  Blocked So He Picks It Up &
                                                                                               1                                             57
                                                                                                                                                                           COMPLAINT
                                                                                                   12968243-v4
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                                                                                               1            (https://www.youtube.com/watch?      Moves”
                                                                                               2            v=SyItdXnYvFQ) – acquired Sept. (http://www.worldstarhiphop.com/vi
                                                                                               3            4, 2015                              deos/video.php?v=wshhL6o36bW7z8
                                                                                               4                                                 3f14kY) – posted Sept. 4, 2015;
                                                                                               5

                                                                                               6                                                 (https://instagram.com/p/7dwYQeBZ
                                                                                               7                                                 kY/?taken-by=realwshh) – posted
                                                                                               8                                                 Sept. 10, 2015
                                                                                               9   131.     “Man Waits for Wife with Flowers (https://instagram.com/p/7bYzmrhZk
                                                                                              10            and Chocolates”                      p/?taken-by=realwshh) – posted Sept.
                                                                                              11            (https://www.youtube.com/watch?      9, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            v=5sw_qUHx9vE) – acquired
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            Sept. 9, 2015
                                                                              310-229-9900




                                                                                              14   132.     “Baby Tries to Scare Dad When        “Too Cute: Baby Fake Cries Every
                                                                                              15            Cutting Her Nails”                   Time His Dad Tries To Cut His
                                                                                              16            (https://www.youtube.com/watch?      Fingernails!”
                                                                                              17            v=JZmSzXJvAs8) – acquired            (http://www.worldstarhiphop.com/vi
                                                                                              18            Sept. 16, 2015                       deos/video.php?v=wshh7TP5UQ1Fx
                                                                                              19                                                 GHay3YW) – posted Sept. 14, 2015;
                                                                                              20

                                                                                              21                                                 (https://instagram.com/p/7vRj1rhZm
                                                                                              22                                                 k/?taken-by=realwshh) – posted Sept.
                                                                                              23                                                 17, 2015
                                                                                              24   133.     “Man Catches Thief Stealing from     “Caught Red Handed: Woman
                                                                                              25            Car” (youtu.be/kjA0WPTwHeM)          Caught Stealing From A Man’s Car
                                                                                              26            – acquired Sept. 14, 2015            And She Had No Idea He Was
                                                                                              27                                                 Behind Her Recording The Whole
                                                                                              28                                                 Thing!”
                                                                                               1                                            58
                                                                                                                                                                           COMPLAINT
                                                                                                   12968243-v4
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                                                                                               1                                                   (http://www.worldstarhiphop.com/vi
                                                                                               2                                                   deos/video.php?v=wshh5Jb04yk924k
                                                                                               3                                                   MJadS) – posted Sept. 12, 2015
                                                                                               4   134.     “Dog Covers Sleeping Baby with         “Vine Comp Of The Week 135!”
                                                                                               5            Blanket”                               (http://www.worldstarhiphop.com/vi
                                                                                               6            (https://www.youtube.com/watch?        deos/video.php?v=wshhM45qzuH6m
                                                                                               7            v=FGproEvedkI) – acquired Sept.        8V25LIC) – posted Oct. 9, 2015
                                                                                               8            26, 2015
                                                                                               9   135.     “Dog Doesn't Care if Owner             “Vine Comp Of The Week 138!”
                                                                                              10            Passes Out”                            (http://www.worldstarhiphop.com/vi
                                                                                              11            (www.youtube.com/watch?v=2za           deos/video.php?v=wshh3em459G5XI
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            HZzqe32c) – acquired Sept. 21,         j2d8GO) – posted Oct. 30, 2015
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




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                                                                                              14   136.     “Skateboarder Wipes Out Hard on        “Vine Comp Of The Week 133!”
                                                                                              15            Half-Pipe”                             (http://www.worldstarhiphop.com/vi
                                                                                              16            (www.youtube.com/watch?v=vzW deos/video.php?v=wshhodXful8cYb
                                                                                              17            DQnYnH1I) – acquired Sept. 22,         H3nxaG) – posted Sept. 25, 2015;
                                                                                              18            2015
                                                                                              19                                                   “Dog Knocks Out Skateboarder By
                                                                                              20                                                   Snagging His Board During A
                                                                                              21                                                   Trick!”
                                                                                              22                                                   (http://www.worldstarhiphop.com/vi
                                                                                              23                                                   deos/video.php?v=wshhZ1rxgWqN1
                                                                                              24                                                   065Eyuv) – posted Sept. 26, 2015
                                                                                              25   137.     “Dog Begs to Have Strawberry”          “Vine Comp Of The Week 132!”
                                                                                              26            (https://youtu.be/NoVHmEsWuLw (http://www.worldstarhiphop.com/vi
                                                                                              27            ) – acquired Sept. 20, 2015            deos/video.php?v=wshhgYyGiky15V
                                                                                              28                                                   Dy2067) – posted Sept. 22, 2015
                                                                                               1                                              59
                                                                                                                                                                            COMPLAINT
                                                                                                   12968243-v4
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                                                                                               1   138.     “Man Sings to Dying Wife”              (https://instagram.com/p/8G3OQkhZ
                                                                                               2            (https://www.youtube.com/watch?        nq/?taken-by=realwshh) – posted
                                                                                               3            v=wWPOG_hxkTE) – acquired              Sept. 26, 2015
                                                                                               4            Sept. 21, 2015
                                                                                               5   139.     “Rat Takes Pizza Home On The           “Rat Tries To Carry An Entire Slice
                                                                                               6            Subway”                                Of Pizza Down NYC Subway
                                                                                               7            (https://www.youtube.com/watch?        Stairs!”
                                                                                               8            v=UPXUG8q4jKU) – acquired              (http://www.worldstarhiphop.com/vi
                                                                                               9            Sept. 21, 2015                         deos/video.php?v=wshhAs4t8K4rcTo
                                                                                              10                                                   i8NHt) – posted Sept. 21, 2015;
                                                                                              11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12                                                   (https://instagram.com/p/76IS97hZjU
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13                                                   /?taken-by=realwshh) – posted Sept.
                                                                              310-229-9900




                                                                                              14                                                   21, 2015;
                                                                                              15

                                                                                              16                                                   (https://www.instagram.com/p/BEjEJ
                                                                                              17                                                   bMBZms/) – posted Apr. 23, 2016
                                                                                              18   140.     “Angry Jogger Yells at Man with        “Enraged White Guy Who Claims He
                                                                                              19            Stroller”                              ‘Settled’ Downtown Brooklyn
                                                                                              20            (https://www.youtube.com/watch?        Accuses Stroller Pusher Of ‘White
                                                                                              21            v=KdkW577cCCI) – acquired              Privilege’!”
                                                                                              22            Sept. 22, 2015                         (http://www.worldstarhiphop.com/vi
                                                                                              23                                                   deos/video.php?v=wshhlJ4z0Dk202u
                                                                                              24                                                   STt7W) – posted Sept. 24, 2015
                                                                                              25   141.     “Young Jamaican Boy also               “When they are born serious”
                                                                                              26            Motivational Trainer”                  (https://instagram.com/p/78sndUBZl
                                                                                              27            (https://www.youtube.com/watch?        X/?taken-by=realwshh) – posted
                                                                                              28            v=xADR05UfhGQ) – acquired              Sept. 22, 2015
                                                                                               1                                              60
                                                                                                                                                                             COMPLAINT
                                                                                                   12968243-v4
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                                                                                             Case 2:16-cv-06800-JFW-SS Document 1 Filed 09/09/16 Page 62 of 92 Page ID #:62



                                                                                               1            Sept. 25, 2015
                                                                                               2   142.     “How to Ruin a Beautiful Car”         “Show-off Fail: Man Ruins His
                                                                                               3            (https://www.youtube.com/watch?       $400K Lamborghini By Over
                                                                                               4            v=KNsjvZk8nT0) – acquired Oct.        Revving His Engine & It Catches On
                                                                                               5            5, 2015                               Fire!”
                                                                                               6                                                  (http://www.worldstarhiphop.com/vi
                                                                                               7                                                  deos/video.php?v=wshhJK0yUO51fl
                                                                                               8                                                  6ka72g) – posted Oct. 6, 2015
                                                                                               9   143.     “Guilty Dogs Won't Admit To           “Proof That Dogs Understand Our
                                                                                              10            Tearing Up Sweatpants”                Language!”
                                                                                              11            (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            v=SGdbPXR97lY) – acquired             deos/video.php?v=wshhMsNO0L0Q
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            Sept. 30, 2015                        pbGNo9ko) – posted Sept. 30, 2015
                                                                              310-229-9900




                                                                                              14   144.     “Wheel Gets Launched by Airbags “Vine Comp Of The Week 134!”
                                                                                              15            and Smashes Car Window”               (http://www.worldstarhiphop.com/vi
                                                                                              16            (https://www.youtube.com/watch?       deos/video.php?v=wshh3TNVw6Zp7
                                                                                              17            v=hfgxAL3t2Tw) – acquired Sept. PIqbMMf) – posted Oct. 2, 2015;
                                                                                              18            28, 2015;
                                                                                              19                                                  (https://www.instagram.com/p/BIUN
                                                                                              20                                                  BP5Atfd/) – posted Jul. 26, 2016
                                                                                              21   145.     “Black Bear Chews On Girl's           “He Gives 0 F*cks: Woman Starts
                                                                                              22            Kayak”                                Crying After Bear Starts Destroying
                                                                                              23            (https://www.youtube.com/watch?       Her Kayak Right In Front Of Her!”
                                                                                              24            v=nU5cMZymSr0) – acquired             (http://www.worldstarhiphop.com/vi
                                                                                              25            Sept. 30, 2015                        deos/video.php?v=wshh78868BJ94Ig
                                                                                              26                                                  z6Dm8) – posted Sept. 30, 2015
                                                                                              27   146.     “Dog Takes Care of Passed Out         “Vine Comp Of The Week Part 125!”
                                                                                              28            Friend”                               (http://www.worldstarhiphop.com/vi
                                                                                               1                                             61
                                                                                                                                                                            COMPLAINT
                                                                                                   12968243-v4
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                                                                                             Case 2:16-cv-06800-JFW-SS Document 1 Filed 09/09/16 Page 63 of 92 Page ID #:63



                                                                                               1            (https://www.youtube.com/watch?          deos/video.php?v=wshhj0aaiPDUjU
                                                                                               2            v=rj13_j3-tsk) – acquired Oct. 5,        w9Lc5I) – posted Jul. 30, 2015
                                                                                               3            2015
                                                                                               4   147.     “Semi Truck Drives through               “This Truck Driver Gives 0 F*cks
                                                                                               5            Flooded Highway”                         About A Flooded Road!”
                                                                                               6            (https://www.youtube.com/watch?          (http://www.worldstarhiphop.com/vi
                                                                                               7            v=Xl2rCWGgyog) – acquired Oct. deos/video.php?v=wshhuF519D4FJ6
                                                                                               8            5, 2015                                  704f0I) – posted Oct. 5, 2015
                                                                                               9   148.     “Little Thug Does a Magic Trick”         “Thug Life: Little Girl Performs A
                                                                                              10            (https://www.youtube.com/watch?          Magic Trick!”
                                                                                              11            v=6Xw--nJ1c7k) – acquired Oct.           (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            10, 2015                                 deos/video.php?v=wshh94YLdoA3L
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13                                                     Nw5YKJI) – posted Oct. 9, 2015;
                                                                              310-229-9900




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                                                                                              15                                                     (https://instagram.com/p/8qmiHqBZt
                                                                                              16                                                     U/?taken-by=realwshh) – posted Oct.
                                                                                              17                                                     10, 2015
                                                                                              18   149.     “Two Rats Fight Over Pizza”              “Two Rats Fight Over A Slice Of
                                                                                              19            (https://youtu.be/ggrHnYd_S30) –         Pizza In The NYC Subway!”
                                                                                              20            acquired Oct. 9, 2015                    (http://www.worldstarhiphop.com/vi
                                                                                              21                                                     deos/video.php?v=wshhtfi7TZE2oe8
                                                                                              22                                                     dvLd8) – posted Oct. 10, 2015
                                                                                              23   150.     “Kid Tries to Buy Mom Maxi               “Lol: Little Boy Holding A Pack Of
                                                                                              24            Pads”                                    Maxi Pads Asks His Mother “Don’t
                                                                                              25            (https://www.youtube.com/watch?          You Use These For Your Butt”
                                                                                              26            v=imZ_3tbxNpE) – acquired Oct.           (http://www.worldstarhiphop.com/vi
                                                                                              27            15, 2015                                 deos/video.php?v=wshhv223rd69sIC
                                                                                              28                                                     8HW8R);
                                                                                               1                                                62
                                                                                                                                                                                COMPLAINT
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                                                                                               2                                                     (https://www.instagram.com/p/9mIo
                                                                                               3                                                     Q9hZrP/?taken-by=realwshh) –
                                                                                               4                                                     posted Nov. 2, 2015
                                                                                               5   151.     “Jaguar Dives into River to Catch        “Vine Comp Of The Week Part 137!”
                                                                                               6            Alligator”                               (http://www.worldstarhiphop.com/vi
                                                                                               7            (https://www.youtube.com/watch?          deos/video.php?v=wshhB7UnpqX4l9
                                                                                               8            v=7ExKqRuO-hs) – acquired Oct.           xE6255) – posted Oct. 23, 2015;
                                                                                               9            14, 2015
                                                                                              10                                                     “Jaguar Dives Into A River To Catch
                                                                                              11                                                     A Caiman!
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12                                                     (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13                                                     deos/video.php?v=wshhu0JqP23I5W
                                                                              310-229-9900




                                                                                              14                                                     K35pSV) – posted Oct. 15, 2015
                                                                                              15   152.     “Woman Gives Birth on Airplane” “Chinese Woman Gives Birth On
                                                                                              16            (https://www.youtube.com/watch?          Airplane!”
                                                                                              17            v=nP4hr1pxFNM) – acquired                (http://www.worldstarhiphop.com/vi
                                                                                              18            Oct.14, 2015                             deos/video.php?v=wshhVF0RAJJ93s
                                                                                              19                                                     LS1EzZ) – posted Oct. 13, 2015
                                                                                              20   153.     “Gun Safety 101”                         “Vine Comp Of The Week Part 137!”
                                                                                              21            (https://www.youtube.com/watch?          (http://www.worldstarhiphop.com/vi
                                                                                              22            v=X7iQalpsAVU) – acquired Oct.           deos/video.php?v=wshhB7UnpqX4l9
                                                                                              23            18, 2015                                 xE6255) – posted Oct. 23, 2015
                                                                                              24   154.     “Man with Machete Gets Hit by            “Wild Scene: Crazy Guy Swinging
                                                                                              25            Car”                                     His Machete At Cars Gets Taken
                                                                                              26            (https://www.youtube.com/watch?          Out!”
                                                                                              27            v=6WwD8gXQ-4Y) – acquired                (http://www.worldstarhiphop.com/vi
                                                                                              28            Oct.19, 2015                             deos/video.php?v=wshh5V35I9KrSe
                                                                                               1                                                63
                                                                                                                                                                               COMPLAINT
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                                                                                               1                                                   MPm1Ge) – posted Oct. 20, 2015
                                                                                               2   155.     “Baby Motorboats Mom”                  “Vine Comp Of The Week Part 138!”
                                                                                               3            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                               4            v=rFsiFj10iiM) – acquired Oct.         deos/video.php?v=wshh3em459G5XI
                                                                                               5            23, 2015                               j2d8GO) – posted Oct. 30, 2015
                                                                                               6

                                                                                               7   156.     “Deer Scores Goal during Soccer        “Vine Comp Of The Week Part 138!”
                                                                                               8            Game”                                  (http://www.worldstarhiphop.com/vi
                                                                                               9            (https://www.youtube.com/watch?        deos/video.php?v=wshh3em459G5XI
                                                                                              10            v=MWWkN6MScKI) – acquired              j2d8GO) – posted Oct. 30, 2015
                                                                                              11            Oct. 24, 2015
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                                                                                              12   157.     “Kid in T-Rex Costume Running          (https://instagram.com/p/9R0geoBZj
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            Around”                                N/?taken-by=realwshh) – posted Oct.
                                                                              310-229-9900




                                                                                              14            (www.youtube.com/watch?v=m3rr 25, 2015
                                                                                              15            LCFEXZM) – acquired Oct. 26,
                                                                                              16            2015
                                                                                              17   158.     “Police Arrest Chewbacca”              “Man Dressed Up As Chewbacca
                                                                                              18            (https://www.youtube.com/watch?        Arrested While Campaigning For
                                                                                              19            v=bi-qVKFZ1vM) – acquired Oct. Darth Vader!”
                                                                                              20            27, 2015                               (http://www.worldstarhiphop.com/vi
                                                                                              21                                                   deos/video.php?v=wshh1q6ba99d48F
                                                                                              22                                                   q20Im) – posted Oct. 27, 2015
                                                                                              23   159.     “Grandma Advises Grandson              “Grandma Freaks Out Because She
                                                                                              24            Against Smirnoff Ice”                  Thinks Grandson’s ‘Smirnoff Ice’
                                                                                              25            (https://www.youtube.com/watch?        Has Crystal Meth In It!”
                                                                                              26            v=2Qh7LSb1h_I) – acquired Oct.         (http://www.worldstarhiphop.com/vi
                                                                                              27            29, 2015                               deos/video.php?v=wshh8mMZzpjYk
                                                                                              28                                                   aoVh96S) – posted Oct. 28, 2015
                                                                                               1                                              64
                                                                                                                                                                              COMPLAINT
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                                                                                               1   160.     “2nd Story Beer Pong Dunk Fail”         “Fail: Dude Attempts A Second Story
                                                                                               2            (https://www.youtube.com/watch?         Beer Pong Dunk!”
                                                                                               3            v=vvfq4EgwJBc) – acquired Oct.          (http://www.worldstarhiphop.com/vi
                                                                                               4            27, 2015                                deos/video.php?v=wshh6K1ixfRfXH
                                                                                               5                                                    n52d5k) – posted Oct. 27, 2015
                                                                                               6   161.     “Guy Charges into Phone Booth”          “Fail: When Headbutting Your Best
                                                                                               7            (https://www.youtube.com/watch?         Friend Goes Wrong!”
                                                                                               8            v=rGr__7j6eJQ) – acquired Oct.          (http://www.worldstarhiphop.com/vi
                                                                                               9            29, 2015                                deos/video.php?v=wshh49fs84M0o0
                                                                                              10                                                    L7scw9) – posted Oct. 29, 2015
                                                                                              11   162.     “Darth Vader Crashes on Segway” “Vine Comp Of The Week Part 139!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            v=0IQy2SRfgKM) – acquired Oct. deos/video.php?v=wshhaX1RtNtBsB
                                                                              310-229-9900




                                                                                              14            29, 2015                                heQcqT) – posted Nov. 11, 2015
                                                                                              15   163.     “Instant Life Jacket Using              “Marine Shows A Creative Way On
                                                                                              16            Trousers”                               How To Survive From Drowning!”
                                                                                              17            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              18            v=dyfLHD3mRVY) – acquired               deos/video.php?v=wshhaX1RtNtBsB
                                                                                              19            Nov. 11, 2015                           heQcqT) – posted Nov. 1, 2015
                                                                                              20   164.     “Kitten Rides Box Down Stairs”          (https://www.instagram.com/p/9ogN
                                                                                              21            (https://www.youtube.com/watch?         kxBZnh/?taken-by=realwshh) –
                                                                                              22            v=nTZQ9Ntq71c) – acquired Oct.          posted Nov. 3, 2015
                                                                                              23            31, 2015
                                                                                              24   165.     “Subway Station Singer Belts Out        “Subway Singer Moves People To
                                                                                              25            Soulful Tune”                           Tears With his Incredible Platform
                                                                                              26            (https://youtu.be/fc7PZWY30Ko)          Performance!”
                                                                                              27            – acquired Nov. 2, 2015                 (http://www.worldstarhiphop.com/vi
                                                                                              28                                                    deos/video.php?v=wshhh49s99g5w0
                                                                                               1                                               65
                                                                                                                                                                              COMPLAINT
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                                                                                               1                                                    TbfivS) – posted Nov. 7, 2015
                                                                                               2   166.     “Don't Wheelie Inside the House”        “Vince Comp Of The Week Part
                                                                                               3            (https://www.youtube.com/watch?         150!”
                                                                                               4            v=YUN5q9vVIqY) – acquired               (http://www.worldstarhiphop.com/vi
                                                                                               5            Nov. 2, 2015                            deos/video.php?v=wshhsh6yF1e97f6
                                                                                               6                                                    7gf46) – posted Jan. 29, 2016;
                                                                                               7

                                                                                               8                                                    “Vince Comp Of The Week Part
                                                                                               9                                                    150!”
                                                                                              10                                                    (https://www.facebook.com/worldsta
                                                                                              11                                                    rhiphop/videos/1001631216570300/)
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12                                                    – posted Jan. 29, 2016
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13   167.     “Big Brother Knocks Younger             “Vine Comp Of The Week Part 159!”
                                                                              310-229-9900




                                                                                              14            Brother Down”                           (http://www.worldstarhiphop.com/vi
                                                                                              15            (https://www.facebook.com/ronda. deos/video.php?v=wshh0AW5WLxl9
                                                                                              16            foxverret/videos/10153374636439         I8g9tI7) – posted Apr. 1, 2016
                                                                                              17            615/) – acquired Nov. 11, 2015
                                                                                              18   168.     “Cat and Owner Vibe Out to              “Feeling It: Hotline Bling Cat!”
                                                                                              19            Music”                                  (http://www.worldstarhiphop.com/vi
                                                                                              20            (www.youtube.com/watch?v=ShR            deos/video.php?v=wshhR73upg9oE
                                                                                              21            yNfse29c) – acquired Nov. 7, 2015 mu5R2l9) – posted Nov.7, 2015
                                                                                              22   169.     “Kid Gets Hit by Bowling Ball in        “Vine Comp Of The Week Part 161!”
                                                                                              23            Class”                                  (http://www.worldstarhiphop.com/vi
                                                                                              24            (https://www.youtube.com/watch?         deos/video.php?v=wshhyBKZ789440
                                                                                              25            v=5QNlrBtuszE) – acquired Mar.          qUQmXD) – posted Apr.15, 2016
                                                                                              26            11, 2016
                                                                                              27   170.     “Cockatiel Sings Addam's Family         “Vine Comp Of The Week Part 140!”
                                                                                              28            Theme Song”                             (http://www.worldstarhiphop.com/vi
                                                                                               1                                               66
                                                                                                                                                                               COMPLAINT
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                                                                                               1            (www.youtube.com/watch?v=bQ1            deos/video.php?v=wshhzLl73cSUrN
                                                                                               2            JUzcNLTM) – acquired Nov. 6,            BEjCRS) – posted Nov. 20, 2015
                                                                                               3            2015
                                                                                               4   171.     “Little Boy Responds to Adele's         “Vine Comp Of The Week Part 139!”
                                                                                               5            "Hello"”                                (http://www.worldstarhiphop.com/vi
                                                                                               6            (https://www.youtube.com/watch?         deos/video.php?v=wshh9gl0AHLBv8
                                                                                               7            v=pasDRF4VW4s) – acquired               Qwsvwf) – posted Nov. 11, 2015
                                                                                               8            Nov. 6, 2015
                                                                                               9                                                    (https://www.instagram.com/p/BBoK
                                                                                              10                                                    MpxhZjB/) – posted Feb. 10, 2016
                                                                                              11   172.     “Jet Skier Performs Amazing             “Skills: Freestyle Jet Ski World
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                                                                                              12            Freestyle Tricks”                       Champion “Ant Burgess” Shows Off
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            (https://www.jukinmedia.com/lice        his Incredible Moves!”
                                                                              310-229-9900




                                                                                              14            nsing/view/914908) – acquired           (http://www.worldstarhiphop.com/vi
                                                                                              15            Nov. 17, 2015                           deos/video.php?v=wshh6WH90tMB1
                                                                                              16                                                    4A7J0Rx) – posted May 31, 2015
                                                                                              17   173.     “Man Plays with Toy Snowmen”            “Vine Comp Of The Week Part 140!”
                                                                                              18            (https://youtu.be/gC1FAcP5TU4)          (http://www.worldstarhiphop.com/vi
                                                                                              19            – acquired Nov. 19, 2015                deos/video.php?v=wshhzLl73cSUrN
                                                                                              20                                                    BEjCRS) – posted Nov. 20, 2015
                                                                                              21   174.     “Guy Drops Condom Filled with           “LMFAO ASIANS ARE LIT”
                                                                                              22            Water on Friend's Head”                 (https://www.instagram.com/p/-
                                                                                              23            (https://youtu.be/XsEZ-f47VG0) – Kz58xhZjI/?taken-by=realwshh) –
                                                                                              24            acquired Dec. 2, 2015                   posted Nov. 16, 2015;
                                                                                              25

                                                                                              26                                                    “The Condom Challenge!”
                                                                                              27                                                    (http://www.worldstarhiphop.com/vi
                                                                                              28                                                    deos/video.php?v=wshhGCztGZ0uy
                                                                                               1                                               67
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                                                                                               1                                                    X3fJ0Gy) – posted Nov. 28, 2015
                                                                                               2

                                                                                               3   175.     “Raven Talks like a Human”              “Ravens Can Talk Just Like People!”
                                                                                               4            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                               5            v=AfsnHVaScjg) – acquired Nov.          deos/video.php?v=wshh9K0ZCEhM5
                                                                                               6            25, 2015                                6M78MwH) – posted Nov. 22, 2015
                                                                                               7

                                                                                               8   176.     “Little Man Slips and Falls”            “Little Man Has Hops”
                                                                                               9            (https://www.jukinmedia.com/lice        (https://www.instagram.com/p/-
                                                                                              10            nsing/view/915877) – acquired           uAw_KBZkS/?taken-by=realwshh) –
                                                                                              11            Nov. 30, 2015                           posted Nov. 30, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12   177.     “Father Goes Crazy when Song            (https://www.instagram.com/p/-
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            Comes On”                               w6tD7BZqS/?taken-by=realwshh) –
                                                                              310-229-9900




                                                                                              14            (https://www.youtube.com/watch?         posted Dec. 1, 2015
                                                                                              15            v=SW9dHOhqCJc) – acquired
                                                                                              16            Dec. 5, 2015
                                                                                              17   178.     “Man Slaps Dog's Butt”                  (https://www.instagram.com/p/_DCq
                                                                                              18            (https://youtu.be/JhX_aib-mkA) –        X7hZlH/?taken-by=realwshh) –
                                                                                              19            acquired Dec. 10, 2015                  posted Dec. 8, 2015;
                                                                                              20

                                                                                              21                                                    “Vine Comp Of The Week Part 143!”
                                                                                              22                                                    (http://www.worldstarhiphop.com/vi
                                                                                              23                                                    deos/video.php?v=wshhx84Kxo1hx2
                                                                                              24                                                    cvFunT) – posted Dec. 11, 2015;
                                                                                              25

                                                                                              26                                                    “Vine Comp Of The Week”
                                                                                              27                                                    (https://www.facebook.com/worldsta
                                                                                              28                                                    rhiphop/videos/974006909332731/) –
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                                                                                               1                                                    posted Dec. 11, 2015
                                                                                               2   179.     “Groom Cries When He Sees               “True Love: Groom Has A Priceless
                                                                                               3            Bride”                                  Reaction When Seeing His Bride
                                                                                               4            (https://youtu.be/vbzbMPOW7y0)          Walk Down The Aisle!”
                                                                                               5            – acquired Dec. 10, 2015                (http://www.worldstarhiphop.com/vi
                                                                                               6                                                    deos/video.php?v=wshhr8516pjWcX
                                                                                               7                                                    O291b5) – posted Dec. 11, 2015
                                                                                               8

                                                                                               9   180.     “Muscular Man Plays Game with           (https://www.instagram.com/p/_r59
                                                                                              10            Other Men”                              WFhZh0/) – posted Dec. 24, 2015;
                                                                                              11            (https://youtu.be/i5jiHKibktg) –
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            acquired Dec. 15, 2015                  “Vine Comp Of The Week Pt. 145!”
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13                                                    (http://www.worldstarhiphop.com/vi
                                                                              310-229-9900




                                                                                              14                                                    deos/video.php?v=wshh5BR7d6k2lH
                                                                                              15                                                    58vhgV) – posted Dec. 26, 2015
                                                                                              16   181.     “Little Boy Smirks at Woman”            (https://www.instagram.com/p/_VlK
                                                                                              17            (https://www.youtube.com/watch?         RtBZpD/) – posted Dec. 15, 2015;
                                                                                              18            v=WKMg528DMh4) – acquired
                                                                                              19            Dec. 17, 2015                           “Vine Comp Of The Week Part 144!”
                                                                                              20                                                    (http://www.worldstarhiphop.com/vi
                                                                                              21                                                    deos/video.php?v=wshhVIRIZHw2X
                                                                                              22                                                    pQJzs77) – posted Dec. 18, 2015;
                                                                                              23

                                                                                              24                                                    “Vine Comp Of The Week #144”
                                                                                              25                                                    (https://www.facebook.com/worldsta
                                                                                              26                                                    rhiphop/videos/978692075530881/) –
                                                                                              27                                                    posted Dec. 20, 2015
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                                                                                               1   182.     “Dad Walks Around House in              “Vine Comp Of The Week Pt. 145!”
                                                                                               2            Gnome Costume”                          (http://www.worldstarhiphop.com/vi
                                                                                               3            (https://youtu.be/oLUvEe-VRWI)          deos/video.php?v=wshh5BR7d6k2lH
                                                                                               4            – acquired Dec. 22, 2015                58vhgV) – posted Dec. 26, 2015
                                                                                               5

                                                                                               6   183.     “Dog Puts Zero Effort into              (https://www.instagram.com/p/BDB6
                                                                                               7            Workout”                                OtbhZq_/) – posted Mar. 16, 2016;
                                                                                               8            (https://www.facebook.com/valork
                                                                                               9            9academy/videos/6591494608534           “Vine Comp Of The Week Part
                                                                                              10            24/) – acquired Dec. 22, 2015           157!”
                                                                                              11                                                    (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12                                                    deos/video.php?v=wshhCfV4dAiMb
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13                                                    o8eRU40) – posted Mar. 23, 2016
                                                                              310-229-9900




                                                                                              14

                                                                                              15   184.     “Girl Crashes into Christmas            “Vine Comp Of The Week Pt. 145!”
                                                                                              16            Tree”                                   (http://www.worldstarhiphop.com/vi
                                                                                              17            (https://youtu.be/IHtl9b5la6s) –        deos/video.php?v=wshh5BR7d6k2lH
                                                                                              18            acquired Dec. 27, 2015                  58vhgV) – posted Dec. 26, 2015
                                                                                              19
                                                                                              20                                                    (https://www.instagram.com/p/_w7y
                                                                                              21                                                    3ehZhV/) – posted Dec. 26, 2015
                                                                                              22

                                                                                              23   185.     “Couple Falls into Wall at Movie        (https://www.instagram.com/p/_0qRy
                                                                                              24            Theater”                                DBZij/) – posted Dec. 27, 2015
                                                                                              25            (https://youtu.be/ashRbzuB0JU) –
                                                                                              26            acquired Jan. 8, 2016
                                                                                              27   186.     “Segway Explodes on Sidewalk”           “Man Calls Fire Department After
                                                                                              28            (https://www.youtube.com/watch?         His Hoverboard Bursts Into Flames!
                                                                                               1                                               70
                                                                                                                                                                              COMPLAINT
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                                                                                               1            v=9bAZfe7b9uw) – acquired Jan.          ‘$600 Down the Drain’”
                                                                                               2            3, 2016                                 (http://www.worldstarhiphop.com/vi
                                                                                               3                                                    deos/video.php?v=wshhW5jJ86M7pk
                                                                                               4                                                    ApRl1q) – posted Dec. 31, 2015
                                                                                               5   187.     “Man Meets Plastic Chair”               “Fail: Old Guy Tries To Stand On An
                                                                                               6            (www.youtube.com/watch?v=yxB            Egg & It Doesn’t Go Well!”
                                                                                               7            4iID9XaY) – acquired Jan. 12,           (http://www.worldstarhiphop.com/vi
                                                                                               8            2016                                    deos/video.php?v=wshh0Mo0k7s9gK
                                                                                               9                                                    7p9J8d) – posted Jan. 8, 2016;
                                                                                              10

                                                                                              11                                                    “vine comp part 147”
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                                                                                              12                                                    (https://www.facebook.com/worldsta
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13                                                    rhiphop/videos/989415437791878/) –
                                                                              310-229-9900




                                                                                              14                                                    posted Jan. 8, 2016
                                                                                              15   188.     “Raccoons Invade Restaurant”            “Chinese Restaurant Worker Tries To
                                                                                              16            (https://youtu.be/lrIXoXrS5RU) –        Get Rid Of 2 Huge Raccoons!”
                                                                                              17            acquired Jan. 8, 2016                   (http://www.worldstarhiphop.com/vi
                                                                                              18                                                    deos/video.php?v=wshhbqenYn55XT
                                                                                              19                                                    4A11cs) – posted Jan. 8, 2016
                                                                                              20   189.     “Dog Chases after Darts on TV”          “Vine Comp Of The Week Part 148!”
                                                                                              21            (www.youtube.com/watch?v=A45            (http://www.worldstarhiphop.com/vi
                                                                                              22            dPHHtlC8) – acquired Jan. 9, 2016 deos/video.php?v=wshhfQ9gWHVBt
                                                                                              23                                                    27h5RsW) – posted Jan. 15, 2016;
                                                                                              24

                                                                                              25                                                    “Vine Comp Part 148”
                                                                                              26                                                    (https://www.facebook.com/worldsta
                                                                                              27                                                    rhiphop/videos/993274664072622/) –
                                                                                              28                                                    posted Jan. 16, 2016
                                                                                               1                                               71
                                                                                                                                                                               COMPLAINT
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                                                                                               1   190.     “Man on Subway Gives Homeless           “Act Of Kindness: Guy Gives His
                                                                                               2            Man Shirt Off his Back”                 Clothes To A Homeless Man On A
                                                                                               3            (https://youtu.be/ubBIyTz8bf0) –        NYC Train!”
                                                                                               4            acquired Jan.10, 2016                   (http://www.worldstarhiphop.com/vi
                                                                                               5                                                    deos/video.php?v=wshhN4h3QZ3szz
                                                                                               6                                                    9882Sg) – posted Jan. 9, 2016;
                                                                                               7

                                                                                               8                                                    (https://www.instagram.com/p/BAaH
                                                                                               9                                                    8YxBZuC/) – posted Jan. 11, 2016
                                                                                              10   191.     “Construction Worker Breaks             “Lol: These Construction Workers
                                                                                              11            through Wall”                           Acting A Fool!”
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                                                                                              12            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            v=XE1XE6Thp9E) – acquired               deos/video.php?v=wshhD39QYLx51
                                                                              310-229-9900




                                                                                              14            Mar. 4, 2016                            5M640J6) – posted Mar. 7, 2016
                                                                                              15

                                                                                              16                                                    “Vine Comp Of The Week Part 162!”
                                                                                              17                                                    (http://www.worldstarhiphop.com/vi
                                                                                              18                                                    deos/video.php?v=wshh3723DhdYNI
                                                                                              19                                                    df0x8N) – posted Apr. 22, 2016
                                                                                              20

                                                                                              21   192.     “Train Passenger Aggressively           “Act Of Kindness: Guy Gives His
                                                                                              22            Pokes Phone”                            Clothes To A Homeless Man On A
                                                                                              23            (https://www.youtube.com/watch?         NYC Train!”
                                                                                              24            v=s_Ulutv65eg) – acquired Jan.          (https://www.instagram.com/p/BBc9
                                                                                              25            13, 2016                                FinhZtD/) – posted Feb. 6, 2016;
                                                                                              26
                                                                                              27                                                    (https://www.facebook.com/worldsta
                                                                                              28                                                    rhiphop/videos/1005781209488634/)
                                                                                               1                                               72
                                                                                                                                                                              COMPLAINT
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                                                                                               1                                                    – posted Feb. 6, 2016
                                                                                               2

                                                                                               3                                                    “Vine Comp Of The Week Episode
                                                                                               4                                                    152!”
                                                                                               5                                                    (http://www.worldstarhiphop.com/vi
                                                                                               6                                                    deos/video.php?v=wshhPBk89aRzS6
                                                                                               7                                                    H2GhrP) – posted Feb. 12, 2016
                                                                                               8   193.     “Little Boy Jumps on Top of             “Vine Comp Of The Week Part 151!”
                                                                                               9            Weights”                                (http://www.worldstarhiphop.com/vi
                                                                                              10            (www.youtube.com/watch?v=Nie            deos/video.php?v=wshhVOvai6B1Ikj
                                                                                              11            SK_cF0vo) – acquired Jan. 13,           er6mp) – posted Feb. 5, 2016
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                                                    LOS ANG ELES, CA 900 67
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                                                                                              13   194.     “Little Girl Demonstrates How to        “Vine Comp Of The Week Part 166!”
                                                                              310-229-9900




                                                                                              14            Cut Hair”                               (http://www.worldstarhiphop.com/vi
                                                                                              15            (https://www.youtube.com/watch?         deos/video.php?v=wshh7Vsv5V1nkE
                                                                                              16            v=MlW8Z1Sc7po) – acquired Jan. TAR37v) – posted May 20, 2016
                                                                                              17            20, 2016
                                                                                              18   195.     “Man Dances and Performs Tricks “Dope: Indoor Skydiving Dance!”
                                                                                              19            in Wind Tunnel”                         (http://www.worldstarhiphop.com/vi
                                                                                              20            (https://www.youtube.com/watch?         deos/video.php?v=wshhdvt70B2W61
                                                                                              21            v=lI0unfK7FPo&feature=youtu.be cw3hwj) – posted Jan. 25, 2016
                                                                                              22            ) – acquired Jan. 27, 2016
                                                                                              23   196.     “Austin Road Rage”                      “Road Rage: Two Drivers Attack
                                                                                              24            (https://www.youtube.com/watch?         Each Other With A Bat & Stick!”
                                                                                              25            v=oytNiLHwljg) – acquired Jan.          (http://www.worldstarhiphop.com/vi
                                                                                              26            26, 2016                                deos/video.php?v=wshhbqenYn55XT
                                                                                              27                                                    4A11cs) – posted Jan. 26, 2016
                                                                                              28   197.     “Garbage Truck Explodes in              “Vine Comp Of The Week Part 151!”
                                                                                               1                                               73
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                                                                                               1            Neighborhood”                           (http://www.worldstarhiphop.com/vi
                                                                                               2            (https://youtu.be/y7gmJwHkfvg) – deos/video.php?v=wshhVOvai6B1Ikj
                                                                                               3            acquired Jan. 27, 2016                  er6mp) – posted Feb. 5, 2016
                                                                                               4   198.     “Kid Whacks Balancing iPad with         (https://www.facebook.com/worldsta
                                                                                               5            Hockey Stick”                           rhiphop/videos/1007149286018493/)
                                                                                               6            (https://www.youtube.com/watch?         – posted Feb. 8, 2016;
                                                                                               7            v=bOacuYsMTB8) – acquired
                                                                                               8            Feb. 5, 2016                            “This baby is a straight savage”
                                                                                               9                                                    (https://twitter.com/WORLDSTAR/st
                                                                                              10                                                    atus/703697784394932228) – posted
                                                                                              11                                                    Feb. 27, 2016
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                                                                                              12   199.     “Weightlifting Vomit Incident”          (https://www.facebook.com/worldsta
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            (https://www.facebook.com/jordan rhiphop/videos/1008913709175384/)
                                                                              310-229-9900




                                                                                              14            .wong.1420/videos/101547016370 – posted Feb. 11, 2016
                                                                                              15            53438/) – acquired Feb. 11, 2016
                                                                                              16   200.     “Woman Crushes Watermelon               (https://www.instagram.com/p/BBlu9
                                                                                              17            with Legs”                              xqhZtp/) – posted Feb. 9, 2016
                                                                                              18            (https://www.facebook.com/Konfi
                                                                                              19            denceByKortney/videos/11135849
                                                                                              20            75341230/) – acquired Feb. 10,
                                                                                              21            2016
                                                                                              22   201.     “Driver with Road Rage Gets             “Idiot of the day!”
                                                                                              23            Instant Karma”                          (https://www.instagram.com/p/BI-0v-
                                                                                              24            (https://www.youtube.com/watch?         DgO0N/) – posted Aug. 11, 2016
                                                                                              25            v=nA2I86GHPiU) – acquired Feb.
                                                                                              26            11, 2016
                                                                                              27   202.     “Baby Flips off Mom Asking for          “When someone tries to eat your
                                                                                              28            Cake”                                   food”
                                                                                               1                                               74
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                                                                                               1            (https://www.youtube.com/watch?         (https://www.instagram.com/p/BB4Q
                                                                                               2            v=uMaI1QrvjFs) – acquired Feb.          aWtBZli/) – posted Feb. 16, 2016
                                                                                               3            16, 2016
                                                                                               4   203.     “Guy Fails at Parkour”                  “Vine Comp Of The Week Part 111!”
                                                                                               5            (https://www.jukinmedia.com/lice        (http://www.worldstarhiphop.com/vi
                                                                                               6            nsing/view/927495) – acquired           deos/video.php?v=wshh1G9Cr7rzVtb
                                                                                               7            Mar. 5, 2016                            9FXuL) – posted Apr. 15, 2016
                                                                                               8

                                                                                               9   204.     “Basking Shark Sighting off             “Vine Comp Of The Week Part 156!”
                                                                                              10            Panama City Beach Pier”                 (http://www.worldstarhiphop.com/vi
                                                                                              11            (https://www.youtube.com/watch?         deos/video.php?v=wshhM4mK9US8
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                                                                                              12            v=6POpa3r_KA8) – acquired Feb.          e01VIqnv) – posted Mar. 11, 2016
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            19, 2016
                                                                              310-229-9900




                                                                                              14   205.     “Rat Tirelessly Tries to Get Inside     “It’s So Cold In Chicago A Rat
                                                                                              15            Building”                               Refuses To Stay Outside!”
                                                                                              16            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              17            v=bhQjX6oIVOM) – acquired               deos/video.php?v=wshh2p54y9RoB
                                                                                              18            Mar. 2, 2016                            Q1ac4CF)– posted Mar. 8, 2016
                                                                                              19   206.     “Son Pretends to Cut Mom's Hair” “did her dirty”
                                                                                              20            (https://youtu.be/JKpj4z-ddJs) –        (https://www.facebook.com/worldsta
                                                                                              21            acquired Mar. 4, 2016                   rhiphop/videos/1015850651815023/)
                                                                                              22                                                    – posted Feb. 22, 2016
                                                                                              23   207.     “Guy Rides Skateboard in                “Slide in Shorty DM’s Like…”
                                                                                              24            Trashcan”                               (https://www.instagram.com/p/BC8z
                                                                                              25            (https://instagram.com/p/BCguMG TKjBZgV/) – posted Mar. 14, 2016
                                                                                              26            PtZ67/) – acquired Mar. 9, 2016
                                                                                              27   208.     “Baby Balances on Side of Crib”         “Real Or Fake? Baby Balancing On
                                                                                              28            (https://www.youtube.com/watch?         the Railing Of His Crib!”
                                                                                               1                                               75
                                                                                                                                                                                COMPLAINT
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                                                                                               1            v=AHwj2oGxdL4) – acquired              (http://www.worldstarhiphop.com/vi
                                                                                               2            Apr. 5, 2016                           deos/video.php?v=wshh7BrBEFY0y
                                                                                               3                                                   H5a2WG7) – posted Apr. 3, 2016
                                                                                               4   209.     “Dad Scares Daughter with              “Father Pranks His Daughter Into
                                                                                               5            Chucky Doll”                           Thinking Chucky Killed Him!”
                                                                                               6            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                               7            v=mVn4lGO_3rw) – acquired              deos/video.php?v=wshh9m72mgCy7
                                                                                               8            Mar. 18, 2016                          28Amc54) – posted Mar. 19, 2016
                                                                                               9   210.     “Woman Receives Cochlear               “Deaf Woman Hears For the First
                                                                                              10            Implant and Marriage Proposal”         Time & Her Boyfriends Proposes To
                                                                                              11            (https://www.youtube.com/watch?        Her!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            v=M9z5O5RP2SU) – acquired              (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            Mar. 17, 2016                          deos/video.php?v=wshh3TrDDDJaE
                                                                              310-229-9900




                                                                                              14                                                   VrHzJrp) – posted Mar. 18, 2016
                                                                                              15   211.     “Girl Has Rough Start on Track”        (https://www.instagram.com/p/BDM
                                                                                              16            (https://www.youtube.com/watch?        zeEkhZvS/) – posted Mar. 20, 2016;
                                                                                              17            v=UdyiU4nPw_I) – acquired Mar.
                                                                                              18            21, 2016                               “Vine Comp of the Week Part 157!”
                                                                                              19                                                   (http://www.worldstarhiphop.com/vi
                                                                                              20                                                   deos/video.php?v=wshhCfV4dAiMb
                                                                                              21                                                   o8eRU40) – posted Mar. 23, 2016;
                                                                                              22

                                                                                              23                                                   (https://twitter.com/WORLDSTAR/st
                                                                                              24                                                   atus/711757732680863744) – posted
                                                                                              25                                                   Mar. 20, 2016;
                                                                                              26
                                                                                              27                                                   “Are You Okay, Honey?”
                                                                                              28                                                   (https://www.facebook.com/worldsta
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                                                                                               1                                                    rhiphop/videos/1034095246657230/)
                                                                                               2                                                    – posted Mar. 21, 2016
                                                                                               3   212.     “Guy Slips on Banana Peel”              “Vine Comp Of The Week 159!”
                                                                                               4            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                               5            v=8MZs28-AAOU) – acquired               deos/video.php?v=wshh0AW5WLxl9
                                                                                               6            Mar. 28, 2016                           I8g9tI7) – posted Apr. 1, 2016;
                                                                                               7

                                                                                               8                                                    (https://twitter.com/WORLDSTAR/st
                                                                                               9                                                    atus/716492525599588355) – posted
                                                                                              10                                                    Apr. 3, 2016;
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              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12                                                    (https://www.instagram.com/p/BDucI
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13                                                    gABZlN/) – posted Apr. 2, 2016
                                                                              310-229-9900




                                                                                              14   213.     “Guy Suplexes Friend’s Face into        “Vine Comp Of The Week Part 160!”
                                                                                              15            Pool Deck”                              (http://www.worldstarhiphop.com/vi
                                                                                              16            (https://www.youtube.com/watch?         deos/video.php?v=wshhH545B2C2e6
                                                                                              17            v=6BWY-nMU8hk) – acquired               UOZD1c) – posted Apr. 8, 2016
                                                                                              18            Apr. 8, 2016
                                                                                              19   214.     “Southern Mom Shoots Kids’ Cell         “Took It To Another Level: Southern
                                                                                              20            Phones”                                 Mother Sick of Social Media!”
                                                                                              21            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              22            v=6BWY-nMU8hk) – acquired               deos/video.php?v=wshhPf2tJYurB5w
                                                                                              23            Apr. 9, 2016                            L91ZK) – posted Apr. 9, 2016
                                                                                              24   215.     “Guy Sings while Cooking Steak          “This Guy Makes A Parody Of A
                                                                                              25            and Eggs”                               Disney Song About Steak & Eggs!”
                                                                                              26            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              27            v=Wpjk0oGjiME) – acquired Apr. deos/video.php?v=wshhcLXtWR5Ty
                                                                                              28            13, 2016                                VsZfBaN) – posted Apr. 13, 2016
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                                                                                               1   216.     “Pregnant Woman’s Baby Moves        “Vine Comp Of The Week Part 176!”
                                                                                               2            in Stomach”                         (http://www.worldstarhiphop.com/vi
                                                                                               3            (https://www.youtube.com/watch?     deos/video.php?v=wshh8o2zxG2d26
                                                                                               4            v=urx8kA2YGDA) – acquired           NE2qz4) – posted Jul. 29, 2016
                                                                                               5            Apr. 28, 2016
                                                                                               6   217.     “Baby Dances Along to Dad’s         “Cute: Little Girl Jams To Her Dad
                                                                                               7            Rapping”                            Rapping!”
                                                                                               8            (https://www.youtube.com/watch?     (http://www.worldstarhiphop.com/vi
                                                                                               9            v=x1cXM7ftl-0) – acquired           deos/video.php?v=wshhSR9UP87524
                                                                                              10            Apr.18, 2016                        6uNuPA) – posted Apr. 20, 2016
                                                                                              11   218.     “Daredevil Rides Swegway on         (https://www.instagram.com/p/BEy1s
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            Edge of Rooftop”                    N0hZv6/?taken-by=worldstar) –
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            (https://www.youtube.com/watch?     posted Apr. 29, 2016;
                                                                              310-229-9900




                                                                                              14            v=mzoymq_Wx0Q) – acquired
                                                                                              15            Apr. 18, 2016                       “Fearless: Man Rides His
                                                                                              16                                                Hoverboard On The Edge Of A
                                                                                              17                                                Skyscraper!”
                                                                                              18                                                (http://www.worldstarhiphop.com/vi
                                                                                              19                                                deos/video.php?v=wshh7q9keFkiuu7
                                                                                              20                                                XedSg) – posted Apr. 19, 2016;
                                                                                              21

                                                                                              22                                                “Vine Comp Of The Week Part 162!”
                                                                                              23                                                (http://www.worldstarhiphop.com/vi
                                                                                              24                                                deos/video.php?v=wshh3723DhdYNI
                                                                                              25                                                df0x8N) – posted Apr. 22, 2016;
                                                                                              26
                                                                                              27                                                “Vine Comp Of The Week Part 163”
                                                                                              28                                                (http://www.worldstarhiphop.com/vi
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                                                                                               2                                                    1BcWG1) – posted Apr. 29, 2016;
                                                                                               3

                                                                                               4                                                    (https://www.instagram.com/p/BEbt
                                                                                               5                                                    RfJhZoN/) – posted Apr. 20, 2016;
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                                                                                               8                                                    mA4Rt/) – posted Jul. 30, 2016
                                                                                               9
                                                                                              10   219.     “Woman Can't Read ‘Hotel                “Woman Can’t Read ‘Hotel
                                                                                              11            Receptionist’”                          Receptionist’!”(http://www.worldstar
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            https://www.youtube.com/watch?v hiphop.com/videos/video.php?v=wsh
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            =Q2XJoa4OvOk – acquired Apr.            hVQ9qrv57mYr8fFwr) – posted Apr.
                                                                              310-229-9900




                                                                                              14            27, 2016                                30, 2016
                                                                                              15   220.     “Biking Cliffside in Moab”              “Fearless: Dudes Ride Their Bikes At
                                                                                              16            (https://www.jukinmedia.com/lice        The Edge Of A Cliff!”
                                                                                              17            nsing/view/933157) – acquired           (http://www.worldstarhiphop.com/vi
                                                                                              18            May 10, 2016                            deos/video.php?v=wshhr575RzX49S
                                                                                              19                                                    9nLR8t) – posted May 7, 2016
                                                                                              20   221.     “Dildo Airport                          “Bachelor Party Surprise: Guys
                                                                                              21            Prank”(https://twitter.com/WillBur Humiliate Their Friend During His
                                                                                              22            ge/status/728314719249915904) – First Time Flying”
                                                                                              23            acquired May 11, 2016                   (http://www.worldstarhiphop.com/vi
                                                                                              24                                                    deos/video.php?v=wshh02sz8Gs5cE
                                                                                              25                                                    VI6a0x) – posted May 11, 2016
                                                                                              26   222.     “Teen Gets Hit with Basketball”         “Vine Comp Of The Week Part 166!”
                                                                                              27            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              28            v=84cqW5RmEXs) – acquired               deos/video.php?v=wshh7Vsv5V1nkE
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                                                                                               1            May 18, 2016                            TAR37v) – posted May 20, 2016
                                                                                               2   223.     “Guy Eats Pizza with Brawl in           “Vine Comp Of The Week Part 166!”
                                                                                               3            Front of Him”                           (http://www.worldstarhiphop.com/vi
                                                                                               4            (https://www.youtube.com/watch?         deos/video.php?v=wshh7Vsv5V1nkE
                                                                                               5            v=Ts-d3gP39ws) – acquired May           TAR37v) – posted May 20, 2016
                                                                                               6            18, 2016
                                                                                               7   224.     “Car Crushes Guy's Skateboard”          “Vine Comp Of The Week Part 166!”
                                                                                               8            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                               9            v=UcC5ulNDxaE) – acquired May deos/video.php?v=wshh7Vsv5V1nkE
                                                                                              10            19, 2016                                TAR37v) – posted May 20, 2016;
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              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12                                                    https://www.instagram.com/p/BFkH3
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




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                                                                              310-229-9900




                                                                                              14   225.     “Fridge Falls on Top of Thief”          (https://www.instagram.com/p/BFuQ
                                                                                              15            (https://www.youtube.com/watch?         nUOhZkl/) – posted May 22, 2016
                                                                                              16            v=Vd708evWsIE) – acquired May
                                                                                              17            30, 2016
                                                                                              18   226.     “Little Boy Freaks out on Roller        “Lol: Kid Freaks Out On A Roller
                                                                                              19            Coaster”                                Coaster!”
                                                                                              20            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              21            v=SsFkBFKtunM) – acquired Jun.          deos/video.php?v=wshh2rxk9Z6Qa3
                                                                                              22            1, 2016                                 4ja46k) – posted Jun. 2, 2016
                                                                                              23   227.     “Driver Sleeps in Car while in          “Man Gets Caught Sleeping At The
                                                                                              24            Traffic”                                Wheel While His Tesla Model S Is
                                                                                              25            (https://www.youtube.com/watch?         On Autopilot!”
                                                                                              26            v=ocK1IMiluM4) – acquired May           (http://www.worldstarhiphop.com/vi
                                                                                              27            25, 2016                                deos/video.php?v=wshh5oJ1K8T4L8
                                                                                              28                                                    ZWfAqO) – posted May 24, 2016
                                                                                               1                                               80
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                                                                                               1   228.     “Hotel Gives Master Key to             “This Motel Has An Interesting Key
                                                                                               2            Patron”                                Policy!”
                                                                                               3            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                               4            v=HbQauX2LOFI) – acquired Jun. deos/video.php?v=wshhrYcD83QW
                                                                                               5            4, 2016                                N1n0665g) – posted Jun. 5, 2016
                                                                                               6   229.     “Search Results Differ Based on        (https://www.instagram.com/p/BGZu
                                                                                               7            Race”                                  8dzBZoW/) – posted Jun. 8, 2016;
                                                                                               8            (https://www.youtube.com/watch?
                                                                                               9            v=w4WZpkdbd3I) – acquired Jun.         “Messed Up: What Happens When
                                                                                              10            8, 2016                                You Search ‘Three Black Teenagers’
                                                                                              11                                                   On Google!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12                                                   (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13                                                   deos/video.php?v=wshhb6i5Vl4n4vn
                                                                              310-229-9900




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                                                                                              15

                                                                                              16                                                   (https://www.facebook.com/worldsta
                                                                                              17                                                   rhiphop/videos/1086765691390185/)
                                                                                              18                                                   – posted Jun. 8, 2016
                                                                                              19   230.     “Swing Burpees Fail”                   (https://www.instagram.com/p/BI3o3
                                                                                              20            (https://www.youtube.com/watch?        CXAPgd/) – posted Aug. 8, 2016
                                                                                              21            v=gWFW-FNJLPk) – acquired
                                                                                              22            Jun. 20, 2016
                                                                                              23

                                                                                              24   231.     “Man Gets Overly Excited at            “Lol: Proud Father Falls Out The
                                                                                              25            Graduation Ceremony”                   Stands After Hearing His Son’s
                                                                                              26            (https://www.youtube.com/watch?        Name During Graduation!”
                                                                                              27            v=VY2IqVCG5pA) – acquired              (http://www.worldstarhiphop.com/vi
                                                                                              28            Jun. 19, 2016                          deos/video.php?v=wshhY657n0YaN
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                                                                                               1                                                    nH6A1zT) – posted Jun. 20, 2016;
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                                                                                               3                                                    (https://www.instagram.com/p/BG0D
                                                                                               4                                                    NeNhZlL/) – posted Jun. 18, 2016
                                                                                               5   232.     “Finding an ATM Skimmer in              “Scammers Worldwide: Man Finds
                                                                                               6            Vienna”                                 An ATM Skimmer While On
                                                                                               7            (https://www.youtube.com/watch?         Vacation in Vienna, Austria!”
                                                                                               8            v=ll4f0Wim4pM) – acquired Jun.          (http://www.worldstarhiphop.com/vi
                                                                                               9            24, 2016                                deos/video.php?v=wshhs512VJ3HuJ
                                                                                              10                                                    x7G5Ck) – posted Jun. 24, 2016
                                                                                              11   233.     “Airplane Engine Bursts into            “Scary: Singapore Airlines Flight
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                                                                                              12            Flames after Making Emergency           SQ368 Catches Fire After Emergency
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            Landing”                                Landing!”
                                                                              310-229-9900




                                                                                              14            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              15            v=YZyrEvxiccQ) – acquired Jun.          deos/video.php?v=wshh1E52i9uQ36
                                                                                              16            28, 2016                                WI2qu6) – posted Jun. 28, 2016
                                                                                              17   234.     “Iguanas Feed on Piece of Bread”        “Vine Comp Of The Week Part 173!”
                                                                                              18            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                              19            v=Ls-EuSXYCdM) – acquired               deos/video.php?v=wshhrXulwBJeN8
                                                                                              20            Jun. 30, 2016                           0OtGxd) – posted Jul. 8, 2016
                                                                                              21   235.     “Girl Gets Attacked by Peacock          “Vine Comp Of The Week Part
                                                                                              22            during Selfie”                          173!”(http://www.worldstarhiphop.co
                                                                                              23            (https://www.youtube.com/watch?         m/videos/video.php?v=wshhrXulwBJ
                                                                                              24            v=YvHvZlvuGwI) – acquired Jun.          eN80OtGxd) – posted Jul. 8, 2016
                                                                                              25            30, 2016
                                                                                              26   236.     “Police Officer Participates in         (https://www.instagram.com/p/BHng
                                                                                              27            Dance Party”                            fHUgxVv/) – posted Jul. 8, 2016
                                                                                              28            (https://www.youtube.com/watch?
                                                                                               1                                               82
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                                                                                               1            v=nJMS7DBQjvo) – acquired Jul.
                                                                                               2            4, 2016
                                                                                               3   237.     “Runner Smashes Nuts into Pole”         “Fail: Runner Smashes His Nuts Into
                                                                                               4            (https://www.jukinmedia.com/lice        A Pole!”
                                                                                               5            nsing/view/936984) – acquired           (http://www.worldstarhiphop.com/vi
                                                                                               6            Jul.17, 2016                            deos/video.php?v=wshh67mJF8VkzP
                                                                                               7                                                    kKaK8w) – posted Jul. 19, 2016
                                                                                               8   238.     “Guy Watches People Playing             “Guy Playing Pokemon GO Realizes
                                                                                               9            Popular App on their Phones”            Everyone In His Neighborhood Is
                                                                                              10            (https://www.youtube.com/watch?         Playing It Too!”
                                                                                              11            v=BN6Q9dynAcY) – acquired Jul. (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            14, 2016                                deos/video.php?v=wshhdH2xvTKT1
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13                                                    H3BRDJ1) – posted Jul. 9, 2016
                                                                              310-229-9900




                                                                                              14   239.     “Two New Friends Won’t Stop             “Beautiful: White & Black Toddler
                                                                                              15            Hugging”                                Meet For The First Time & Don’t
                                                                                              16            (https://www.youtube.com/watch?         Want To Let Go Of Each Other!”
                                                                                              17            v=zcP-AWy6Db8) – acquired Jul.          (http://www.worldstarhiphop.com/vi
                                                                                              18            12, 2016                                deos/video.php?v=wshhFG4eCHG4
                                                                                              19                                                    U4g7PP56) – posted Jul. 9, 2016
                                                                                              20   240.     “French Bulldog Dances to               (https://www.instagram.com/p/BILh
                                                                                              21            Music”                                  HVgA1-M/) – posted Jul. 22, 2016
                                                                                              22            (https://www.youtube.com/watch?
                                                                                              23            v=heZjxGCDsWk) – acquired Jul.
                                                                                              24            11, 2016
                                                                                              25   241.     “Lasergirl Performs Light Show”         “Girl In Lingerie Puts On An
                                                                                              26            (https://www.youtube.com/watch?         Amazing Laser Show!”
                                                                                              27            v=qOyGEJQyVEg) – acquired Jul. (http://www.worldstarhiphop.com/vi
                                                                                              28            16, 2016                                deos/video.php?v=wshhVcr6f7nJR5d
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                                                                                               1                                                   KY315) – posted Jul. 13, 2016
                                                                                               2   242.     “Beachgoers Confronted by Wild         “A Wild Boar Emerges From The
                                                                                               3            Boar”                                  Sea On A Beach In Poland”
                                                                                               4            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                               5            v=tlzFovpnrpg) – acquired Jul. 20, deos/video.php?v=wshh7q204QTq3P
                                                                                               6            2016                                   LPr7rG) – posted Jul. 27, 2016
                                                                                               7   243.     “Bridge Jump Bellyflop”                “Vine Comp Of The Week Part 175!”
                                                                                               8            (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                               9            v=ltPIOXHWHfQ) – acquired Jul.         deos/video.php?v=wshhS4S605zGeb
                                                                                              10            21, 2016                               gT6894) – posted Jul. 22, 2016
                                                                                              11   244.     “Skater Whacks McLaren's               “Different Angle Of The Kid
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                              12            Windshield”                            Smashing The Windshield Of A
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                              13            (https://www.youtube.com/watch?        McLaren With His Skateboard!”
                                                                              310-229-9900




                                                                                              14            v=9NLzlSaU4Qk) – acquired Jul.         (http://www.worldstarhiphop.com/vi
                                                                                              15            22, 2016                               deos/video.php?v=wshhtWbz4B67A
                                                                                              16                                                   R5moU74) – posted Jul. 23, 2016
                                                                                              17   245.     “Man Reunited with Mom after 10 “Emotional Moment: Dude Reunites
                                                                                              18            Years”                                 With His Mom After Not Seeing Her
                                                                                              19            (https://www.youtube.com/watch?        For 10 Years!”
                                                                                              20            v=JcBl4XIjwxc) – acquired Aug.         (http://www.worldstarhiphop.com/vi
                                                                                              21            1, 2016                                deos/video.php?v=wshh68X77cqMe
                                                                                              22                                                   N4HotXk) – posted Aug. 3, 2016;
                                                                                              23

                                                                                              24                                                   (https://www.instagram.com/p/BIux1
                                                                                              25                                                   iKAkhU/) – posted Aug. 5, 2016
                                                                                              26   246.     “Passerby Witnesses Crazy Head-        “Vine Comp Of The Week Part 178!”
                                                                                              27            On Collision”                          (http://www.worldstarhiphop.com/vi
                                                                                              28            (https://www.youtube.com/watch?        deos/video.php?v=wshh78pQ2aeXU
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                                                                                               1            v=y_Jqemj6hfA) – acquired Aug.          5Ytq9w3) – posted Aug. 12, 2016
                                                                                               2            8, 2016
                                                                                               3   247.     “Woman with Prosthetic Leg              (https://www.instagram.com/p/BJLG
                                                                                               4            Climbs Rock Wall”                       Oeigt1m/) – posted Aug. 16, 2016
                                                                                               5            (https://www.youtube.com/watch?
                                                                                               6            v=uWdo8lDVISg) – acquired
                                                                                               7            Aug. 18, 2016
                                                                                               8   248.     “Asian Dude Is Feeling Real Nice        “Asian Dude Is Feeling Real Nice
                                                                                               9            After Surgery & Busts Out The           After Surgery & Busts Out The
                                                                                              10            Dance Moves!”                           Dance Moves!”
                                                                                              11            (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
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                                                                                              12            v=Pas39gThRBw) – acquired               deos/video.php?v=wshhTEb8Rp6f2O
                                                    LOS ANG ELES, CA 900 67
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                                                                                              13            Aug. 20, 2016                           3z2Dad) – posted Aug. 20, 2016;
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                                                                                              14

                                                                                              15                                                    (https://www.instagram.com/p/BJVn
                                                                                              16                                                    q2JA4JJ/) – posted Aug. 20, 2016
                                                                                              17   249.     “Guilty Pitbull Puppy Hides His         (http://www.worldstarhiphop.com/vi
                                                                                              18            Face In Shame After Being               deos/video.php?v=wshhkzGCpe1506
                                                                                              19            Busted!”                                0if6j8) – posted Aug. 25, 2016
                                                                                              20            (https://www.youtube.com/watch?
                                                                                              21            v=xEbfFgAZ9H4) – acquired
                                                                                              22            Aug. 25, 2016
                                                                                              23   250.     “Dad Pulverizes Red Car”                “Angry Father Destroys His
                                                                                              24            (https://www.youtube.com/watch?         Daughter's Customized Audi A4
                                                                                              25            v=2Eje6pJdWWo) – acquired               With A Digger After Catching Her
                                                                                              26            Aug. 26, 2016                           Fooling Around With A Boy Inside!”
                                                                                              27                                                    (http://www.worldstarhiphop.com/vi
                                                                                              28                                                    deos/video.php?v=wshhQ0DZcw99i
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                                                                                               1                                                   C7253Co) – posted Aug. 29, 2016
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                                                                                               3                            Harm Caused by the Infringement;
                                                                                               4                    Jukin’s Efforts to Stop Defendants’ Infringement
                                                                                               5            147. As described above, Defendants have engaged in at least 300
                                                                                               6   instances of infringement of Jukin’s Original Videos.
                                                                                               7            148. Both Jukin and the individual video creators are harmed by
                                                                                               8   Defendants’ infringement. For example, the infringement causes them to lose
                                                                                               9   license fees that Defendants should have paid for use of the videos, as well as
                                                                                              10   losing the ability to monetize the videos through ad placement and the revenue
                                                                                              11   derived from the network effects of viewers coming to Jukin-owned and managed
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                                                                                              12   properties to view the Jukin content (e.g., repeated viewing within Jukin’s
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                                                                                              13   channels, conversion of single-time viewers to long-term subscribers, etc.).
                                                                              310-229-9900




                                                                                              14            149. Since Defendants are either using the entire Jukin videos or are using
                                                                                              15   the most significant and valuable portions of Jukin’s videos, after viewers watch
                                                                                              16   the Infringing Videos on Worldstarhiphop.com, and the Worldstar Social Media
                                                                                              17   Accounts, they are unlikely to go to Jukin’s channels to watch the Original Videos.
                                                                                              18   As such, Jukin is losing views on its own channels and is missing out on capturing
                                                                                              19   potential new viewers who otherwise may have watched the videos on Jukin’s
                                                                                              20   channels and become repeat viewers. While Jukin derives significant market value
                                                                                              21   from its licenses, Defendants’ actions produce an adverse effect to the licensing
                                                                                              22   market by exposing the material to a significant number of viewers who no longer
                                                                                              23   have a need to view the video from Jukin or Jukin licensee.
                                                                                              24            150. Jukin has undertaken various efforts to stop Defendants’ infringement,
                                                                                              25   such as takedown notices with Worldstarhiphop.com. Despite these efforts,
                                                                                              26   Defendants not only continue to regularly and willfully infringe Jukin’s videos, but
                                                                                              27   the instances of infringement have increased exponentially and require more action
                                                                                              28   by Jukin and involvement of the Court to adjudicate this dispute.
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                                                                                               1                               FIRST CLAIM FOR RELIEF
                                                                                               2                 COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 106 and 501)
                                                                                               3            151. Jukin incorporates and references the allegations asserted in each of
                                                                                               4   the preceding paragraphs, as if fully set forth herein.
                                                                                               5            152. Defendants have infringed Jukin’s copyright in the Original Videos in
                                                                                               6   violation of at least Sections 106 and 501 of the Copyright Act, 17 U.S.C. by
                                                                                               7   copying videos owned or exclusively licensed by Jukin without a license or
                                                                                               8   permission.
                                                                                               9            153. Defendants’ acts of infringement are willful, intentional, continuous,
                                                                                              10   and purposeful, in disregard of and with indifference to Jukin’s rights.
                                                                                              11            154. As a direct and proximate result of said infringement by Defendants,
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                                                                                              12   Jukin is entitled to damages in an amount to be proven at trial.
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                                                                                              13            155. Jukin is also entitled to Defendants’ profits attributable to the
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                                                                                              14   infringement, pursuant to 17 U.S.C. § 504 and otherwise according to law.
                                                                                              15            156. Jukin is also entitled to its costs and fees pursuant to 17 U.S.C. § 505
                                                                                              16   and otherwise according to law.
                                                                                              17            157. Jukin is entitled to injunctive relief and redress for Defendants’
                                                                                              18   willful, intentional, and purposeful use and exploitation of the Jukin Original
                                                                                              19   Videos for their own financial benefit with full knowledge that such use
                                                                                              20   constituted infringement of, and was in disregard of, Jukin’s rights. Defendants’
                                                                                              21   conduct is causing and, unless immediately enjoined, will continue to cause
                                                                                              22   enormous and irreparable harm to Jukin. Jukin is suffering lost revenue from loss
                                                                                              23   of licensing fees, decreased monetization because viewers are diverted to
                                                                                              24   Defendants’ site, and reputational harm. Defendants may not continue to exploit
                                                                                              25   Jukin’s video compositions without authorization. Defendants’ conduct must
                                                                                              26   immediately be stopped and Jukin must be compensated for their willful acts of
                                                                                              27   infringement.
                                                                                              28            158. As a direct and proximate result of the foregoing acts and conduct,
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                                                                                               1   Jukin has sustained and will continue to sustain substantial, immediate, and
                                                                                               2   irreparable injury, for which there is no adequate remedy at law. Jukin is informed
                                                                                               3   and believes, and on that basis avers, that unless enjoined and restrained by this
                                                                                               4   Court, Defendants will continue to infringe Jukin’s rights in Jukin’s videos. Jukin
                                                                                               5   Media is entitled to preliminary and permanent injunctive relief to restrain and
                                                                                               6   enjoin Defendants’ continuing infringing conduct.
                                                                                               7                             SECOND CLAIM FOR RELIEF
                                                                                               8             FEDERAL TRADEMARK INFRINGEMENT (15 U.S.C. § 1114)
                                                                                               9            159. Jukin incorporates and references the allegations asserted in each of
                                                                                              10   the preceding paragraphs, as if fully set forth herein.
                                                                                              11            160. Jukin owns Registration No. 4,604,845, a valid and protectable federal
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                                                                                              12   trademark registration for FAILARMY for “Entertainment services, namely,
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                                                                                              13   providing a web site featuring photographic, audio, video and prose presentations
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                                                                                              14   featuring comedy.”
                                                                                              15            161. Defendants used Jukin’s FAILARMY trademark on their website,
                                                                                              16   www.worldstarhiphop.com, including but not limited to Defendants’ wholesale
                                                                                              17   reproduction of Jukin’s FAILARMY trademark as part of Defendants reproduction
                                                                                              18   of “Ouchhh: Ultimate Parkour Fails Compilation!” at
                                                                                              19   http://www.worldstarhiphop.com/videos/video.php?v=wshhpr7C64b8TjvyXF7j.
                                                                                              20            162. Defendants’ use of Jukin’s FAILARMY trademark creates a
                                                                                              21   likelihood of confusion, mistake, or deception as to the affiliation, connection, or
                                                                                              22   association, of Defendants with Jukin, or as to the origin, sponsorship, or approval
                                                                                              23   of Defendants’ websites and/or videos by Jukin.
                                                                                              24            163. Defendants’ conduct is likely to induce consumers to believe, contrary
                                                                                              25   to the fact, that its website or videos are approved, sponsored, endorsed, approved
                                                                                              26   by, or connected with Jukin.
                                                                                              27            164. Defendants’ conduct is without Jukin’s permission or authority. Upon
                                                                                              28   information and belief, Defendants willfully, deliberately and maliciously engaged
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                                                                                               1   in the described act with an intent to injure Jukin and to deceive the public.
                                                                                               2            165. Defendants’ use of the FAILARMY trademark that is confusingly
                                                                                               3   similar, and in fact identical, to Plaintiff’s FAILARMY trademark constitutes
                                                                                               4   trademark infringement in violation of 15 U.S.C. § 1114. Upon information and
                                                                                               5   belief, Defendants has profited from this infringement.
                                                                                               6            166. This is an exceptional case under 15. U.S.C. § 1117(a).
                                                                                               7            167. Defendants’ conduct has caused damage to Jukin in an amount to be
                                                                                               8   determined at trial, and unless restrained, will continue to seriously and irreparably
                                                                                               9   impair further the value of the FAILARMY trademark, for which there is no
                                                                                              10   adequate remedy at law.
                                                                                              11            168. In light of the foregoing, Jukin is entitled to injunctive relief
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                                                                                              12   prohibiting Defendants from using the FAILARMY trademark, or any mark
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                                                                                              13   confusingly similar to the FAILARMY trademark for any purpose, and to recover
                                                                              310-229-9900




                                                                                              14   from Defendants all damages, including attorneys’ fees, that Jukin has sustained
                                                                                              15   and will sustain as a result thereof, in an amount not yet known, but which
                                                                                              16   circumstances warrant trebling pursuant to 15 U.S.C. § 1117(b), as well as the
                                                                                              17   costs of this action.
                                                                                              18                                   PRAYER FOR RELIEF
                                                                                              19            WHEREFORE, Jukin prays for judgment against Defendants as follows:
                                                                                              20            A.    For damages, or statutory damages, in amount to be determined at
                                                                                              21   trial;
                                                                                              22            B.    For an accounting of Defendants’ profits attributable to its
                                                                                              23   infringements of Jukin’s copyright in the Original Videos;
                                                                                              24            C.    For a preliminary and permanent injunction prohibiting Defendants,
                                                                                              25   and their respective agents, servants, employees, officers, successors, licensees and
                                                                                              26   assigns, and all persons acting in concert or participation with them, from
                                                                                              27   continuing to infringe Jukin’s copyrights in the Original Videos;
                                                                                              28            D.    For prejudgment interest according to law;
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                                                                                               1            E.   For Jukin’s reasonable attorneys’ fees and costs incurred in this
                                                                                               2   action; and
                                                                                               3            F.   For such other and further relief as the Court may deem just and
                                                                                               4   proper.
                                                                                               5
                                                                                                   Dated: September 9, 2016                  VENABLE LLP
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                                                                                               7                                             By: /s/ Tamany Vinson Bentz
                                                                                                                                                Douglas C. Emhoff
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                                                                                                                                                Tamany Vinson Bentz
                                                                                               9                                                Matthew J. Busch
                                                                                              10
                                                                                                                                                Attorneys for Plaintiff Jukin Media,
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                                                                                               1                               DEMAND FOR JURY TRIAL
                                                                                               2            Plaintiff Jukin Media, Inc. hereby demands a trial by jury for all issues to
                                                                                               3   which it is so entitled.
                                                                                               4
                                                                                                   Dated: September 9, 2015                    VENABLE LLP
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                                                                                               6                                               By: /s/ Tamany Vinson Bentz
                                                                                                                                                  Douglas C. Emhoff
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                                                                                                                                                  Tamany Vinson Bentz
                                                                                               8                                                  Matthew J. Busch
                                                                                               9
                                                                                                                                                  Attorneys for Plaintiff Jukin Media,
                                                                                                                                                  Inc.
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